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                                                                                       OUR FILE NUMBER
  July 2, 2012                                                                              905,900-321

  VIA E-MAIL                                                                        WRITER’S DIRECT DIAL
                                                                                         (310) 246-6850
  Marc Toberoff
                                                                                 WRITER’S E-MAIL ADDRESS
  Toberoff & Associates, P.C.
                                                                              dpetrocelli@omm.com
  22631 Pacific Coast Highway #348
  Malibu, CA 90265

  Richard Kendall
  Kendall Brill & Klieger LLP
  10110 Santa Monica Blvd., Suite 1725
  Los Angeles, California 90067

                  Re:   DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Counsel:

          We are in receipt of defendants’ production of documents pursuant to Judge Zarefsky’s
  June 21, 2012, order, as well as your correspondence of the last two weeks in which you both
  claimed that defendants and their counsel are meeting their respective discovery obligations.
  Defendants’ recent production, like their discovery conduct of the past two years, proves this is
  not the case. DC requests a Rule 37 conference to discuss the issues below, and to discuss using
  a special master to manage discovery and the role of defense counsel going forward:

         1. October 2, 2002, Letter. After conducting an in camera review and rejecting
  defendants’ claims of privilege, Judge Zarefsky ordered defendants to produce a November 2,
  2002, letter from Laura Siegel Larson to Michael Siegel. Docket No. 451 at 6. The first
  paragraph of the November 2002 letter references a “letter of October 2nd.” The October 2 letter
  has never been logged or produced by defendants, and there is no basis for withholding it.
  Defendants’ claims of privilege over this chain of communication repeatedly have been rejected.
  Moreover, any privilege that may have otherwise applied—and none did —was waived by
  defendants’ failure to timely log this document. DC demands that the referenced October 2,
  2002, letter be produced no later than July 6, 2012.1


      1
      In her November 2002 letter, Laura also writes: “Enclosed you will find a copy of a letter
  my mother and I have sent to Lillian Laserson….” No enclosure is included in defendants’



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          2. Obligations Of The Kendall Brill Firm. We have discussed Kendall Brill’s obligation
  meaningfully to participate in this case repeatedly, and have provided you with the relevant
  authority that requires the Kendall Brill firm to ensure the Toberoff defendants’ compliance with
  discovery. What is most odd about Dick’s recent response to these issues, see June 25, 2012
  Email, is that, while the Kendall Brill firm now purports to defend Mr. Toberoff’s discovery
  conduct, the Kendall Brill firm has repeatedly professed in recent weeks to be ignorant of any
  discovery responses he has prepared other than those DC directed at the Kendall Brill firm.

         a. On the discovery issues in which the Kendall Brill firm has been directly involved, it
  knows from its own experiences and court rulings that Mr. Toberoff cannot be trusted to manage
  discovery. Take the USAO and Timeline documents as an example. Mr. Toberoff’s initial
  production of these documents, as the Kendall Brill firm well knows, was deficient, and only
  when the Kendall Brill firm became involved did new documents that Mr. Toberoff previously
  withheld emerge. As it stands, the Kendall Brill firm still refuses to answer the basic question
  DC has asked about the reasons for the omissions in defendants’ productions, but without the
  Kendall Brill firm’s involvement, important relevant documents would not have been produced.

          b. The Ninth Circuit also has put the Kendall Brill firm on clear notice about its need to
  play a more direct role. Not only did the court rightly and openly question Mr. Toberoff’s ethics
  and professionalism, In re Pacific Pictures Corp., 679 F.3d 1121, 1124 (9th Cir. 2012), it called
  him out for failing to produce non-privileged business documents that he falsely claimed were
  protected by privilege, id. at 1129 (“most of these [Timeline] documents are not covered by the
  attorney-client privilege because they do not represent communications between a lawyer and his
  client for the purpose of obtaining legal advice”); 1127 n.4.

          c. This repeatedly has proven to be the case, and the Kendall Brill firm along with Mr.
  Toberoff have made one irresponsible argument after another to the courts in these cases that are
  belied by non-privileged documents that the Kendall Brill firm has allowed Mr. Toberoff to
  suppress. Take the November 2, 2002, letter as an example. Mr. Toberoff initially represented it
  did not exist; then falsely claimed it was privileged. Docket Nos. 267-1 at 2; 267-2 ¶¶ 4-5; 267-9
  at 187; 267-7 at 18; 362-2 at 311 (Entry 399); 395-1 at 97. All the while the Kendall Brill firm
  and Mr. Toberoff made factual assertions in briefs that the November 2, 2002, letter directly
  contradicted. In urging the courts to dismiss DC’s claims, defendants’ claimed that DC’s
  “billionaire investor” claim was a “mockery,” “contrary to all the evidence,” “based entirely on
  the untrustworthy, inadmissible [Toberoff] Timeline,” and that no “further discovery” would
  help establish this claim.2




  production. Defendants are not permitted to strip out enclosures from documents they produce.
  This enclosure (as it exists in the form Laura sent it) must be produced by July 6, as well.
     2
       Docket No. 196 at 1-5, 10:
         • “DC contends that Mr. Toberoff defrauded the Siegels in 2002 by stating that he had a
         ‘billionaire’ investor and would help the Siegels produce a competing Superman film ….


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          Yet in the long-suppressed November 2, 2002, letter, Laura herself writes: “My mother
  and I have had extensive meetings with Toberoff and Emmanuel in the past few weeks. We
  learned that due to the delays and the misinformation Kevin [Marks] has given them that there
  was a deal with DC, the billionaire investor who was offering $15 million up front plus
  participation thought it was a hopeless situation and invested his money elsewhere.” (Emphases
  added.) These are Laura Siegel Larson’s words—“billionaire investor”—that she used in a letter
  distinguishing among Mr. Toberoff, Mr. Emanuel, and the billionaire investor as a third person.
  She says it was the “billionaire investor” who made the $15 million offer, not Mr. Emanuel—
  even though Mr. Toberoff and the Kendall Brill firm now falsely claim that Mr. Emanuel was the
  unnamed “investor.” See infra. Clearly, the “further discovery” the Kendall Brill firm and
  Mr. Toberoff sought to deny DC through incendiary rhetoric and false claims about DC’s
  complaint, supra n.2, was needed. This further discovery has not only verified DC’s claims, but
  has shown how both the Kendall Brill firm and Mr. Toberoff have falsely misrepresented key
  facts to the courts and engaged in rampant discovery abuse in aid of this improper scheme.

         Defense counsel have violated their duty of candor repeatedly, and their
  misrepresentations of fact have been repeated over and over in briefing, correspondence, and
  even defendants’ depositions. Included among the many examples:

          October 4, 2010, SLAPP Reply

          2. “Billionaire Investor” and Fraud. DC relies on the Timeline, an obviously
          inadmissible screed penned by a thief who violated fundamental duties of professional
          ethics and had absolutely no percipient knowledge of the events he purports to describe.
          DC’s allegation that Toberoff misled the Siegels by representing that he had a
          “billionaire” investor or that he would help produce a Superman film, the sole allegations
          of “wrongfulness” required for DC’s Fifth Claim, is based entirely on this untrustworthy,
          inadmissible Timeline, and is contradicted by the sworn testimony of all percipient

          Each of these allegations has been conclusively disproven by documents and sworn
          depositions provided in 2006, and none can be cured by further discovery.”
          • “DC’s allegation that Toberoff misled the Siegels by representing that he had a
          ‘billionaire’ investor or that he would help produce a Superman film, the sole allegations
          of ‘wrongfulness’ required for DC’s Fifth Claim, is based entirely on this untrustworthy,
          inadmissible Timeline, and is contradicted by the sworn testimony of all percipient
          witnesses …. DC knows all this, yet conceals it from the Court.”
          • “DC’s assertion of the requisite ‘wrongful act’ reduce to its allegations … that Toberoff
          misled the Siegels by stating (1) that a ‘billionaire’ investor was interested in acquiring
          their rights; and (2) that he was interested in making a movie based on Superman. FAC ¶
          78, 185. First, the Timeline does not even state that Toberoff spoke with the Siegels
          about a billionaire. The Timeline says he discussed the billionaire with their then-
          attorney, Kevin Marks, on August 8, 2002. FAC Ex. A 63. But Kevin Marks testified
          about this conversation four years ago, and his testimony shows what a mockery DC’s
          accusations of fraud really are….”


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          witnesses. First, even the Timeline does not assert that Toberoff ever told the Siegels that
          he had a “billionaire” investor. Its anonymous author claims, without percipient
          knowledge, that Toberoff told this to Kevin Marks on August 8, 2002. FAC, Ex. A 63.
          Second, each participant in this conversation has been examined in deposition. Indeed,
          Marks, who has no interest in this dispute, described this entire conversation at length in
          his 2006 deposition. Ex. H (KM Depo 166:6-170:24); see also Ex. E (MT Depo 98:25-
          104:14). There was absolutely no mention of a “billionaire” investor or that Toberoff
          would help produce a Superman film. Id. DC knows all this, yet conceals it from the
          Court.

  Docket No. 98 at 2-3.

          October 4, 2010, SLAPP Evidentiary Objections

          Remarkably, the Declaration includes not a single piece of admissible evidence to
          support the key factual allegations of the complaint against the Siegels’ and Shusters’
          long-time counsel, Marc Toberoff, i.e., that he misrepresented that there was a
          “billionaire” investor for the Siegels or that he offered to produce a competing Superman
          movie based on the Siegels’ recaptured copyrights. As Declarant well knows, the sworn
          testimony of percipient witnesses in the six-year old Siegel litigation is entirely to the
          contrary. See Reply in Support of Anti-SLAPP motion, at 5-6. Yet the Declarant, without
          any evidence, has repeatedly accused Mr. Toberoff of fraud and larded the Declaration
          and DC’s oppositions with unseemly ad hominem attacks on Mr. Toberoff based on
          irrelevant hearsay. This tactical character assassination of Mr. Toberoff repeated
          throughout the Declaration and opposition papers should be given no credence
          whatsoever. It is not proper to bring a lawsuit for the purpose of destroying the reputation
          of a lawyer due to his effective advocacy. That virtually everything in the Declaration is
          objectionable and inadmissible and/or attacks Mr. Toberoff based on total irrelevancies is
          noteworthy for one purpose only: it shows that this vicious suit is a pure act of retaliation
          covered by California’s Anti-SLAPP statute, as its purpose is to attack Mr. Toberoff in
          connection with his successful representation of the Siegels and Shusters.

  Docket No. 99 at 2-3.

          October 7, 2010, Letter from Laura Brill

          The lack of civility you have shown, not just to Mr. Toberoff, but also to attorneys at this
          firm, has occurred again and again. The chart below illustrates just some of the many
          instances of unprofessional conduct that defendants have endured since the outset of this
          case. …

          Falsely alleging, without adequate inquiry or particularity, that Mr. Toberoff “falsely
          represented to the Siegels that if they repudiated their agreement with DC Comics and
          entered into an agreement with him instead, a ‘billionaire investor’ ‘was prepared


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          immediately to pay the Siegels $15 million for their Superman rights, plus a generous
          back-end profit participation in any future exploitations of the Superman Property.’”

          October 14, 2010, Defendants’ Objection to Sur-Reply

          The Kevin Marks Declaration: Kevin Marks’ very brief declaration was also permissible
          rebuttal evidence. DC based the “bad act” required for its Fifth Claim solely on the
          demonstrably false fraud allegation that Mr. Toberoff misled the Siegels by supposedly
          representing that he had a “billionaire investor” and would produce a competing
          Superman movie.

  Docket No. 108 at 2-3.

          May 2, 2011, Defendants’ Opposition to Motion for Review

          Second, there was no mention of a “billionaire investor” in Mr. Toberoff’s August 2002
          Conversation with Mr. Marks, in which the talent agent, Ari Emanuel [not a mysterious
          “billionaire”] offered to purchase the Siegel Heirs’ rights (Docket No. 196-2, Ex. H at
          166:6-170:24 (testimony of Kevin Marks), Ex. E at 98:25-104:14 (testimony of Marc
          Toberoff); Docket No. 196-3 (further testimony of Kevin Marks)).

  Docket No. 231 at 17.

          May 31, 2011, Defendants’ Opposition to Motion for Reconsideration

          There was no mention of a “billionaire investor” in Mr. Toberoff’s August 2002
          conversation with Mr. Marks, in which the talent agent, Ari Emanuel offered to purchase
          the Siegel Heirs’ rights for $15 million plus a participation. See Docket No. 196-2, Ex. H
          at 166:6-170:24 (testimony of Kevin Marks), Ex. E at 98:25-104:14 (testimony of Marc
          Toberoff); Docket No. 196-3 (further testimony of Kevin Marks). …

          Defendants addressed DC’s trumped-up mysterious “billionaire” claim in opposition to
          DC’s original motion to compel, and noted that DC itself had long ago identified the
          “investor” as Mr. Emanuel. Docket No. 160 at 70:2-71:3. Defendants likewise pointed
          out in their anti-SLAPP motion that the August 2002 offer was made by Mr. Emanuel,
          not a mysterious “billionaire,” as consistently testified to by Mssrs. Marks and Toberoff
          in 2006. See Docket No. 145 at 8:12-28; No. 196-2, Ex. E at 103:8-9, Docket No. 145-6,
          Ex. R at 168:2-169:5. …

          Certain words that appear in the May 13 Letter unsurprisingly appear in DC’s complaint
          (e.g., “billionaire,” FAC ¶ 7-8, 66-85) because the complaint is based on the inadmissible
          rant in the anonymous Timeline, which, in turn, clearly riffed off Michael Siegel’s
          speculations in his inadmissible May 13 Letter. DC cherry-picks these repeated words to
          somehow validate its baseless complaint and to falsely accuse Defendants of


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          misrepresenting to the Court. DC specious arguments ignore the innocuous actual
          content of the May 13 Letter.

  Docket No. 269 at 8, 9, 10-11.

          Deposition of Laura Siegel Larson 7/23/11

          Q. -- it starts out “I really wish to discuss Marc Toberoff.” And it says in the third
          sentence: “I told you when he first contacted me, he wanted to buy my share of the
          copyright. Marc had a mysterious billionaire who wanted to invest in the Superman
          copyright, put 15 million dollars up front plus participation. When you signed with Marc
          the billionaire invested elsewhere.” Do you know where he got that information?
          A. I have no idea.
          Q. You don't think he made it up, do you?
          A. You know, Michael was a very confused guy, on a lot of medication, and when he
          would write things to me, such as asking me did I know that Marc was the attorney for
          the Shusters, well, of course I did, and, you know --
          Q. He’s telling you that Marc Toberoff contacted him and said he had a mysterious
          billionaire.
          A. Yeah. Well, I don't know where that came from.
          Q. Did you think your brother – your stepbrother was lying?
          A. I don’t -- I don’t know that he came up with the wording himself. You know, I mean
          it -- I had never heard this referred to in any way other than in this letter, “mysterious
          billionaire.” I don't know what that means.
          Q. Put $15 million up front, plus participation, that happened to be exactly the same
          number that Mr. Emanuel had offered you; correct?
          A. That was interesting, and that caught my eye.
          Q. Mr. Toberoff had told you that he knew billionaire investors; correct?
          A. No, he never used that term. …
          Q. By the way, when you wrote your stepbrother back, did you straighten him out on
          things that you think he had wrong in his letter to you of May 13?
          A. I did my best to.
          Q. Can you explain to me as best as you can, for example, what you said about the
          billionaire, the mysterious billionaire?
          A. You know, I don't remember how I put it to him, but I, you know, I tried to in as
          simple a manner as possible explain what he had wrong in this letter. Regarding
          specifically the billionaire, I really don’t recall what I said.
          Q. Did you type the letter yourself?
          A. Yes, I did.

  Docket No. 305-24 at 1018:18-1020:4, 1024:24-1025:12.

          August 29, 2011, SLAPP Reply



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          After extensive discovery, DC unsurprisingly has no admissible evidence to support the
          frivolous allegations in its Fifth Claim that, in August 2002, “Toberoff and his partner
          [Ari Emanuel, now head of the William Morris Endeavor Agency] [mis]represented to
          Marks that they had a wealthy or ‘billionaire’ investor who would pay the Siegels $15
          million cash for their Superman rights … [and would produce] a new Superman movie.”
          Opp. at 10; see also FAC ¶¶ 77-78. DC has long been aware that Mr. Emanuel was the
          investor. See, e.g., Docket No. 196-2, Ex. H at 166:6-170:24 (testimony of Kevin Marks),
          Ex. E at 98:25-104:14 (testimony of Marc Toberoff). As Mr. Marks also clearly testified,
          there was no mention of a “billionaire investor” or producing a Superman movie. See
          Declaration of Kevin Marks, ¶¶ 2-5.

  Docket No. 312 at 3.

          April 24, 2012 SLAPP Appeal

          4. DC Has Shown No “Wrongful Act”

          Claims for “interference with a prospective economic advantage,” also require a
          “wrongful act.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1154
          (2003). The sole such allegation in the Fifth Claim is that purportedly in August 2002,
          “Toberoff falsely misrepresent[ed] to the Siegel heirs that he had a billionaire investor
          ready to purchase their Superman rights” for $15 million and “falsely represent[ed] to the
          Siegels he would help them produce a competing Superman motion picture.” ER 1043
          ¶185.

          This squarely contradicts the record evidence, and after two years of discovery DC has no
          evidence to support such allegations, or that Mr. Toberoff had anything to do with the
          failure of DC’s protracted negotiations.

          As DC is aware, Emanuel, who made the $15 million offer, was the wealthy “investor.”
          ER 332:6-335:25. DC offered no evidence that the highly successful Emanuel (who DC
          has not bothered to depose herein) was not sincere in offering $15 million for the Siegels’
          valuable Superman copyrights. As Marks testified, there was no mention of a “billionaire
          investor” or of producing a Superman movie. ER 164-65 ¶¶2-5. Nor can DC show that
          the Siegels relied on Emanuel’s offer, or that it caused them to end their already
          moribund negotiations with DC. Simply put, there is no “wrongful act” to support DC’s
          interference claim.

  Appeal No. 11-56934, Docket No. 8 at 53-54.

          Defendants and their counsel have no excuse for failing to produce the November 2, 2002
  letter months—if not years—ago. Their withholding of the letter and related correspondence is
  gravely prejudicial to DC, given its importance to refuting key assertions defendants have made
  to the district court and the Ninth Circuit—and continue to make and press despite their duty of


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  candor to the courts. It also once again proves that, Mr. Toberoff’s protestations
  notwithstanding, he is not complying with his discovery duties and obligations, and by either
  knowingly endorsing this misconduct or turning a blind eye to it, the Kendall Brill firm is
  engaging in the same misconduct as well.

         d. And to be clear, the November 2, 2002, letter is just latest example of this pattern of
  discovery misconduct—all of which is chronicled by the courts’ orders and is apparent when one
  compares the documents that have been obtained in litigation the false and misleading privilege
  logs and related declarations that Mr. Toberoff has served on the Kendall Brill firm’s watch.
  Among the many examples:

          •        DC requested that defendants produce Laura Siegel Larson’s May 13, 2003, letter
                   to Michael, which is identified in the Toberoff Timeline, but had never been
                   produced or logged by defendants. Docket No. 160 at 37-38. Defendants refused
                   for weeks and months to produce the document or even disclose whether it
                   existed. Id. It was not until the Court ordered defendants to (a) produce it to DC;
                   or (b) submit a verified further response to DC indicating that it does not exist,
                   Docket No. 209 at 12, that defendants finally produced the letter. Defendants, by
                   their own admission, Docket No. 412 at 10, never claimed any privilege over the
                   letter, and it was clearly responsive to numerous of DC’s requests. Docket Nos.
                   49, Ex. A at 65-66; 160 at 37-38; 162-9 at 577 ¶ 10; 162-10 at 581-82 ¶ 10; 162-
                   11 at 584 ¶ 10; 162-12 at 588-89 ¶ 10; 225 at 13-17. Exactly like the November
                   2, 2002, letter, the May 13 letter exposed direct misrepresentations made by
                   defendants to the courts in their SLAPP and other briefing, including that
                   Toberoff used false promises of a “mysterious billionaire” “investor” to induce
                   the Siegels to end their business relationship with DC and transfer to Toberoff and
                   his companies their putative Superman copyrights. Docket No. 225-4 at 3; see
                   also Docket Nos. 181 at 23-24; 201 at 3-7; 205 at 17-20; 215 at 8-10.

          •        DC similarly requested that defendants produce Michael’s July 2003 response to
                   Laura, also identified in the Timeline and never produced or listed in defendants’
                   privilege logs. Docket No. 160 at 30-33. Defendants first misleadingly suggested
                   that no such letter existed, and that the Timeline was an inaccurate “hit piece.”
                   Docket Nos. 160 at 70-71; 162-9 at 577-78; 162-10 at 580-82; 162-11 at 584;
                   162-12 at 588-89. Defendants then claimed the letter was privileged, but refused
                   to identify the privilege log entry where it was listed. Docket No. 231 at 19-20.
                   Defendants finally conceded in September 2011, in response to DC’s motion to
                   compel, the July 2003 letter appears at Privilege Log Entry No. 82 in the Siegel
                   case. Docket Nos. 316 at 21-24; 317 at 1-5. Entry No. 82, however, does not
                   identify the letter. Entry No. 82 logs a “Facsimile” from “Laura Siegel” to “Marc
                   Toberoff.” Docket No. 317-2 at 8. Defendants then claimed for the first time that
                   the document was subject to a common-interest privilege. Docket No. 316 at 24-
                   26. Judge Wright rejected that argument and ordered defendants to produce the
                   July 2003 letter, Docket No. 336, and its production fully revealed, once again,


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                   that defendants had lied to the courts about its contents. Among many other non-
                   privileged portions of the document, it confirms: (1) Kevin Marks, the Siegels’
                   prior attorney who negotiated the October 2001 settlement between DC and the
                   heirs, believed the Siegels “had a deal with DC” and stated he would “testify” to
                   that effect; (2) Mr. Marks told Mr. Toberoff the Siegels “had a deal with Time
                   Warner/DC”; (3) Mr. Toberoff did not plan to produce a Superman movie to
                   exploit the Siegels’ putative copyrights; and (4) Laura was seeking to convince
                   her brother Michael to sell his 25% interest in the Siegels’ putative Superman
                   rights to another of Mr. Toberoff’s “investors,” while concealing that the investor
                   was, in fact, Mr. Emanuel—Mr. Toberoff’s and Laura’s business partner. Docket
                   No. 362-2 at 286-90.

               •   Defendants have also failed to list on their privilege logs the names of all
                   recipients of withheld correspondence, thus concealing potential privilege waivers
                   and preventing discovery of essential evidence by DC. To avoid discovery of
                   their concealment, defendants have intervened where third parties have been
                   subpoenaed and prepared privilege logs on their behalves—controlling how
                   withheld documents are identified in the logs. By way of example, defendants
                   listed the Marks Memo in the Siegels’ July 19, 2006, Privilege Log in Siegel as an
                   August 9, 2002, letter from Marks to Joanne and Laura—listing no other
                   recipients—withheld on “Atty/Client” grounds. (Entry 325.) In 2006, DC issued
                   a subpoena to Mr. Bulson for the production of documents in Siegel. Mr.
                   Toberoff refused to allow Bulson to produce documents or prepare a privilege log
                   in response to DC’s subpoena. Instead, Mr. Toberoff provided a privilege log to
                   DC that, among other things, did not list the Marks Memo. See Docket No. 317-3
                   at 41. Defendants finally produced the Marks Memo to DC, as part of the
                   Timeline documents provided to the USAO, and it is, in fact, an August 9, 2002,
                   letter from Mr. Marks to Joanne, Laura, and Mr. Bulson, with a copy to Bruce
                   Ramer. Docket No. 427-3 at 333-34. By omitting Mr. Bulson—Michael’s
                   attorney, neither of whom had an attorney-client relationship with Mr. Marks—
                   defendants prevented DC from challenging their assertion of “Atty/Client”
                   privilege over the Marks Memo. Like Michael’s May 2003 letter and Laura’s
                   July 2003 letter, the Marks Memo exposes direct misrepresentations made by
                   defendants to the courts in its SLAPP and other briefing. It confirms that Mr.
                   Marks told Mr. Toberoff in August 2002 that the Siegels had an existing
                   agreement with DC; that Mr. Toberoff and Mr. Emanuel made a competing offer,
                   nonetheless; that if the Siegels accepted the offer, they and Mr. Toberoff would
                   likely be sued, and Mr. Marks would have to testify against them; and that the
                   “right thing to do” was to finalize documenting the agreement with DC in “good
                   faith.” Id. Discovery in this case has shown the promises Mr. Toberoff and Mr.
                   Emanuel made were empty ones. On the other hand, third parties who have not
                   been co-opted by Mr. Toberoff have provided to DC complete and accurate logs
                   that contradict defendants’ logs. Gang Tyre—who did not allow Mr. Toberoff to
                   impede their discovery obligations—provided to DC a privilege log on September


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                   21, 2006, in Siegel that accurately listed the Marks Memo as an August 9, 2002
                   “Memorandum” from “Atty Kevin Marks” to “Joanne Siegel; Laura Siegel
                   Larson; Atty Don Bulson; Atty Bruce Ramer,” withheld on grounds of “ac; ac-
                   common interest; wp.” (Entry 713.) The Kendall Brill firm should have
                   performed an independent review of the documents withheld and/or redacted by
                   Mr. Toberoff.

               •   The Timeline and USAO documents show that Mr. Toberoff continues to omit
                   from defendants’ privilege logs the names of all recipients of correspondence to
                   conceal privilege waivers. For example, Entries 3158 and 3159 in Toberoff’s
                   privilege log in this case list an August 16, 2010, email from Toberoff to the
                   USAO and an email response from the USAO that same day, respectively.
                   Docket No. 163-17 at 1038. Both entries assert a “Joint Interest Privilege” as the
                   basis for withholding. Id. When the communications were finally produced by
                   defendants to DC, the documents showed that Mr. Emanuel was copied on both
                   emails. Docket No. 427-11 at 1139-41. There is no basis for asserting Mr.
                   Emanuel had a “joint” interest with the USAO; defendants have never made that
                   claim; and, therefore the communications never should have been withheld.

               •   The USAO documents also confirm that defendants made misrepresentations to
                   Judge Zarefsky and the Ninth Circuit concerning the contents of the withheld
                   documents. Counsel represented to the Ninth Circuit there was no evidence the
                   Siegels consented to Mr. Toberoff’s disclosure of the Timeline documents to the
                   USAO. Docket No. 387-2 at 6:22-8:3 (“There is no evidence that the client
                   waived … Your Honor, I think it is pointed out that the client has never waived
                   ….”). The USAO documents directly refute this assertion. Counsel wrote to the
                   USAO: “You have requested that I confirm that Mr. Toberoff’s clients have
                   authorized Mr. Toberoff’s disclosure to the [USAO] of the documents enclosed
                   with my letter to you dated September 27, 2010, pursuant to the Grand Jury
                   Subpoena dated September 13, 2010 and the terms of my September 27, 2010
                   letter. I so confirm.” Docket No. 427-11 at 1149 (emphasis added). Mr.
                   Toberoff similarly represented to Judge Zarefsky in moving for a protective order
                   that the USAO communications included his “frank assessment of potential
                   suspects” for who authored the Toberoff Timeline. Docket No. 420 at 11
                   (emphasis added). The USAO documents establish David Michaels was the only
                   suspect Mr. Toberoff identified and Mr. Toberoff’s accusations were unqualified.
                   Docket No. 427-11 at 1075 (“The Firm has proof positive as to the identity of the
                   perpetrator….”).

               •   Along the same lines, the Timeline documents include evidence that directly
                   refutes claims made by defendants in their SLAPP briefing. Defendants have
                   claimed that Mr. Toberoff represented the Siegels as a lawyer—and not as a
                   business advisor—since the inception of their relationship. E.g., Docket No. 145-
                   1. The Timeline documents show that as late as October 2004, the Siegels were


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                   involved in contentious negotiations with Toberoff regarding his legal
                   representation of the heirs. See SD00172-75 (Oct. 2, 2004, Laura Email to
                   Toberoff). In her October 2 email, Laura makes clear to Mr. Toberoff that the
                   Siegels object to many of the legal representation terms proposed by Mr.
                   Toberoff; that the heirs are familiar with legal retainer agreements and how they
                   are entered into; and that the legal retainer agreements needs to be finalized for
                   Mr. Toberoff to move forward. Id. Also included in the Timeline documents is a
                   draft retainer agreement from October 2004, confirming that the terms of Mr.
                   Toberoff representing the Siegels as a lawyer were unsettled well into 2004. See
                   SD00166-71.

          e. As Dick recently said, courts follow the general principle that litigants may divide
  among co-counsel the “duties of conducting” a case. Cole v. Patricia A. Meyer & Assocs., APC,
  2012 WL 2106364, at *14 (Cal. Ct. App. June 8, 2012). “This does not mean, however, that an
  associated attorney whose name appears on all filings in a case and who is served with all
  documents filed by the other side need not know anything about the case with which he or she is
  associated.” Id. The “general rule” does not allow the Kendall Brill firm to escape responsibility
  and liability for its clients and co-counsel’s discovery misconduct. It is the Kendall Brill firm’s
  duty and obligation as the only attorneys of record for the Toberoff defendants to ensure that
  their responses and disclosures are complete and accurate—which is something the Kendall Brill
  firm now expressly says it declines to do. See Hawkins v. Fulton Cnty., 96 F.R.D. 416, 420-21
  (N.D. Ga. 1982) (“[E]ven if another attorney is now responsible for all discovery matters, [the
  defense attorney] is still attorney of record for the Defendant and is responsible as such . . . for
  any failure to provide discovery.”).

          Whether Mr. Toberoff has acted like he was representing himself and his business entities
  is beside the point. Mr. Toberoff has never appeared pro per in this case, and while we believed
  your firm was monitoring his discovery responses and conduct, you disclosed to us, for the first
  time, a few weeks ago, when pressed, that your firm was not doing so, despite being the only
  counsel of record for the Toberoff defendants.

           f. In light of this disclosure and the discovery misconduct only briefly addressed above,
  it is clear that several forms of relief are required. First, a special master should review
  defendants’ files and privilege logs to identify additional documents improperly withheld on
  grounds of privilege, responsiveness, or otherwise. Second, the Kendall Brill firm must ensure
  and verify the accuracy and completeness of all of the Toberoff defendants’ discovery responses
  pursuant to their professional obligations and the Federal Rules, including going through their
  clients’ files and the privilege logs to ensure all required documents have been produced.
  Mr. Toberoff and the Kendall Brill firm may also need to be sanctioned for all the cost and
  deception their misconduct has caused. Indeed, as the Kendall Brill firm has known from the
  outset of this case, and from the first major motion that your firm helped Mr. Toberoff prepare,
  he cannot be trusted to represent facts accurately, fully, or completely. And as his document
  productions have shown, he is sitting on responsive, non-privileged documents that only get
  produced when the courts or your firm intervenes. This must be brought to an end.


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          3. Missing Pages of Renner Otto Bills. Page 723 of the Renner Otto bills, which should
  appear between EOMS 00185 and EOMS 00186, is missing from the documents defendants
  produced to DC. The missing page appears to reflect billing entries for the time period between
  July 30, 2002, and September 24, 2002—a critical time period at issue in this case during which
  Mr. Bulson received a copy of the August 9, 2002, Marks Memo discussing Mr. Toberoff’s offer
  to acquire the Siegels’ putative Superman interests, including Michael’s interest. DC demands
  that page 723 of the Renner Otto bills (redacted, if need be) also be produced no later than July
  6, 2012.

                                          *       *       *

         Please let us know when you are available to meet and confer on these issues, pursuant to
  Rule 37. We propose the afternoons of July 6 or 9.

          All of DC’s rights and remedies are reserved.

                                                  Very truly yours,

                                                  /s/ Daniel M. Petrocelli

                                                  Daniel M. Petrocelli
                                                  of O’MELVENY & MYERS LLP

  cc:     Matthew T. Kline, Esq.
          Defense Counsel
  OMM_US:70757040




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                                          ID #:31572
                                                                                     writer's direct:
                                                                                     310.272.7922
                                                                                     lbrill@kbkfirm.com




  July 11, 2012

  Daniel Petrocelli
  Partner
  O’Melveny & Myers LLP
  1999 Avenue of the Stars, 7th Floor
  Los Angeles, CA 90067


  Re:    DC Comics v. Pacific Pictures Corporation, et al. Case No. CV 10-3633 ODW(RZx)

  Dear Dan:

  I write in response to your July 2, 2012 letter. Let us be clear about your letter and its place in
  the lawsuit you filed on behalf of DC Comics. Superman’s co-creators and their heirs have been
  in litigation with DC over the original Superman copyrights, off and on, for more than half a
  century, and now the heirs are finally at the precipice of recapturing those rights under the
  Copyright Act’s termination provisions. DC is at a loss to find any legitimate legal or factual
  argument that would save it from losing these valuable rights. Unable to win on the merits, DC
  has authorized its counsel to engage in a relentless smear campaign against the heirs and their
  counsel, Mr. Toberoff. This campaign began with the filing of this frivolous lawsuit and has
  since found its way into nearly every motion, brief, letter, email and conference among counsel.
  In pursuing this campaign, DC and its counsel have unashamedly twisted and distorted the well-
  established factual record in an effort to: (i) interfere with the attorney-client relationship
  between the heirs and their counsel; (ii) elicit bias against the heirs and their counsel; (iii)
  artificially drive up litigation costs to force the heirs to settle; and (iv) obfuscate the
  straightforward merits of the heirs’ termination notices.

  Despite DC’s campaign, the heirs remain entirely satisfied with Mr. Toberoff’s longstanding
  representation of them. Moreover, as a result of DC’s appalling tactics, the heirs have become
  even more steadfast in their desire to enforce their rights under the Copyright Act. Nothing in
  DC’s smear campaign can or will change the facts or the heirs’ confidence that they will
  ultimately prevail on the merits of their copyright dispute with DC. Neither DC’s unfounded
  attacks nor the unjustified costs such tactics impose will dissuade them from seeking a just
  resolution in the Courts.

  Perhaps realizing that DC’s strategy is failing, your letter now seeks to expand DC’s smear
  campaign to falsely attack Mr. Toberoff’s counsel, Kendall, Brill & Klieger (“KBK”). In
  keeping with DC’s repeated practices in this case, your letter is filled with mischaracterizations
  and outright misrepresentations of the record. For fourteen pages, it distorts the few discovery
  disputes in which DC has prevailed, while ignoring that DC has brought motions on
  approximately 37 purported discovery issues, each accompanied by the same type of accusations
  as made in your letter, and DC has lost on approximately 29 of those issues. Your letter




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  conflates and confuses issues, distorts rulings in this case and the Siegel case beyond recognition
  and ignores the real issues in this case and the facts which demonstrate that DC’s allegations are
  meritless. Your letter departs from standards of professionalism, while wrongly questioning the
  professionalism of not one, but two separate law firms and their respective attorneys.

  Ironically, while we were drafting this response to your fictional account of our supposed
  discovery misconduct, your partner, Matt Kline, suddenly turned over two responsive documents
  that DC had never produced in nearly eight years of litigation. Although Mr. Kline had
  personally dedicated substantial time to harassing Mr. Kendall about this firm having initially
  missed turning over an e-mail that had already been produced to DC by Mr. Toberoff, Mr. Kline
  casually sent over these two new documents without explanation, and subsequently stated only
  that “The two documents in question were found as we finalized the motion for summary
  judgment DC will file Monday.” Of course, that is no explanation at all. It seems obvious that
  the only reason these long overdue documents are finally coming to light is because your firm
  intends to use them in DC’s upcoming motion for partial summary judgment, which you have
  said you will file in less than one week. This sort of selective withholding of discoverable
  material until it is deemed useful to one’s side raises serious questions as to what other
  responsive materials are being withheld by DC and your firm.

  The withholding and calculated last-minute production of these new documents is only the latest
  example of DC eschewing its own discovery obligations while attaching the basest of motives to
  its opposing counsels’ efforts to comply with their obligations. In over two years of litigation in
  this case, DC and its counsel have still not provided a single privilege log, while vehemently
  attacking inconsequential details about Defendants’ logs. Similarly, DC has refused to
  meaningfully respond to defendants’ targeted requests for production and interrogatories
  regarding specific passages from DC’s complaints. Instead, DC points to nearly the entire
  production and record in both this action and in Siegel, rendering their answers meaningless and
  making it impossible for defendants’ to know the evidence that DC relies upon. DC’s counsel
  have also asserted that the three witnesses Paul Levitz, Lillian Laserson and Martin Payson, upon
  whom it intends to rely in its upcoming motion for partial summary judgment, are conveniently
  unavailable for deposition until just after defendants’ opposition to DC’s motion would be due.

  The Court and Magistrate Judge Zarefsky have already commented on numerous occasions about
  the improper discovery conduct of DC’s counsel, expressing bewilderment at your unwillingness
  to pursue this case in a more professional manner or to cooperate with opposing counsel on
  easily resolvable issues. You have been reminded that the “parties have a responsibility to make
  sure that discovery is …proportional to the issues in the lawsuit and does not create undue
  burden or harassment.” Docket No. 439 (emphasis added). You have been called out for
  mischaracterizing court opinions and casting those mischaracterizations as fact. See, e.g.,
  Docket No. 378 at 4 (“Plaintiff also asserts, as if it were fact, that in July 2003 Ms. Siegel and
  Mr. Larson had no community interest. The Ohio Court that Plaintiff references as support for
  this proposition did not rule so broadly.”) You have been questioned for your practice of quoting
  our communications with you “out of context” in your declarations. See, e.g., Docket No 323 at



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  2 (denying DC’s motion to reconsider and noting that defendants’ “caution is not misplaced”).
  You have been chastised for your unwillingness to agree to even the most reasonable
  accommodations. See, e.g., Docket Nos. 209 at 13 (ruling in defendants favor and noting “[t]he
  Court does not understand why this portion of the dispute could not have been resolved out of
  court.”); 323 at 2. And you have been told that your motions are “head[ing] in the wrong
  direction,” resulting in increasing conflict instead of resolving issues. Docket No. 323 at 2
  (noting “the direction of the lawsuit needs to be forward, not backward”).

  We will be bringing your continued unprofessionalism, ongoing harassment, relentless refusal to
  cooperate, lack of candor in Court filings, and discovery misconduct to the Court’s attention and
  reserve the right to seek sanctions for your contemplated motion and other improper conduct.

  In the meantime, here are our point-by-point responses to your latest communication:

                     1. Alleged October 2, 2002 Letter from Michael Siegel to Laura Siegel
  Defendants are not in possession of this letter. Ms. Larson did not keep a copy of the letter, and
  was under no obligation to do so at the time. She did not provide it to her former counsel at the
  Gang, Tyre firm. This letter was also not included in the Renner Otto electronic archive
  discussed in more detail below. Accordingly, defendants, after an exhaustive search, have not
  found this letter.

                     2. Obligations of the Kendall Brill Firm
                         a.     Defendants will not permit DC to interfere with the attorney-client
  relationship between Mr. Toberoff and his counsel, or allow the incendiary and improper
  remarks made by DC to pass without comment. KBK rejects the suggestion that Mr. Toberoff
  “cannot be trusted.” To the contrary, it is DC’s and its counsel’s assertions that cannot be trusted
  due to their misrepresentations of the record in their Court filings and correspondence.

  One such assertion is the false claim that “important relevant documents” were supposedly
  missing from Mr. Toberoff’s production of documents provided by Toberoff to the USAO.
  While KBK did promptly provide a supplemental production, no document produced was by any
  stretch “important” and, indeed, the overwhelming majority of documents produced to DC after
  the initial production were copies of documents already in DC’s possession, including various
  email attachments of court filings originally served directly on DC in this action. Aside from
  email attachments consisting of copies of pleadings and other documents already in DC’s
  possession, the other documents produced included such obviously inconsequential items as a
  cover sheet to a facsimile already in DC’s possession, and copies of a transmittal email for a
  document already in DC’s possession. Nothing in this discovery process was prejudicial to DC,
  or otherwise a cause for DC’s baseless accusations.




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                  b.      Your mischaracterization of the Ninth Circuit’s writ decision is unfaithful
  to the opinion you purport to describe. The Ninth Circuit did not “put the Kendall Brill firm on
  clear notice” regarding its representation of Mr. Toberoff. The writ of mandamus before the
  Ninth Circuit concerned a discovery order, which was stayed, and a privilege waiver issue, no
  more, no less. As you know, the issue was whether defendants’ disclosure to the USAO of their
  stolen privileged documents, pursuant to a grand jury subpoena and common
  interest/confidentiality agreement, to aid in the investigation and potential prosecution of the
  theft, waived privilege. That was the only issue before the Court in the writ petition; and that is
  all that the appellate court ruled on. Defendants’ position before the Ninth Circuit, was entirely
  reasonable, was consistent with the holdings of other Circuits, and nothing in the Ninth Circuit’s
  decision or in any of the Magistrate Judge’s or District Court’s rulings leading up to the writ
  decision suggests otherwise.

  As to Mr. Toberoff’s “ethics and professionalism,” the Ninth Circuit made it abundantly clear
  that the purported “concerns” DC sought to raise and that defendants vigorously disputed were
  “not before this court.” In re Pacific Pictures Corp., 679 F.3d 1121, 1124 (9th Cir. 2012). Nor
  did the Ninth Circuit “call out” Mr. Toberoff for failing to produce non-privileged documents.
  Rather, the Ninth Circuit noted the undisputed fact that the thief stole non-privileged documents,
  along with other documents as to which the courts had repeatedly upheld defendants’ claims of
  privilege. 679 F.3d at 1129. Earlier in its decision the Court had expressly noted that DC was
  not disputing the privileged nature of documents at issue in the writ petition and that the court
  was assuming the documents at issue were in fact privileged. Id. at 1127 n.4 (“Because no one
  challenges whether these communications would have been privileged absent waiver, we do not
  address that issue. For example, we assume but do not decide that these communications were
  all made for the purpose of obtaining legal as opposed to business advice.”) (emphasis added).
  None of this remotely suggests that the Ninth Circuit ruled that the documents were not
  privileged –indeed, the Ninth Circuit clearly stated that it assumed that the documents were
  privileged and emphasized that “we do not address that issue” – and nothing remotely suggests
  that the court “called out” Mr. Toberoff as to this issue.

                    c.      It is important to examine in detail the facts of the November 2, 2002
  letter, as it serves as the cornerstone of your false and irresponsible accusations.

  First, there was no effort to “suppress” the November 2, 2002 letter. After DC inquired about the
  letter in April–May, 2011, Mr. Toberoff and his associates checked and re-checked their relevant
  case files and could not find a November 2, 2002 letter. Docket Nos. 267-16 at 1-2; 395-1 at 96-
  97. Mr. Toberoff also asked his client Laura Siegel Larson to look for a copy of the November
  2, 2002 letter, and she too was unable to find such letter. Docket No. 395-1 at 97. That Mr.
  Toberoff did not have and could not find the letter was duly communicated to DC. Docket Nos.
  267-2 at 2; 267-7 at 18; 267-16 at 1-2. Mr. Toberoff did not obtain a copy of the November 2,
  2002 letter until Mr. Toberoff became aware of, and the Renner Otto firm furnished – for the
  first time in the litigation – an electronic archive of Michael Siegel’s legal file. There is no basis
  to believe that Mr. Toberoff is in any way responsible for the Renner Otto firm not disclosing or



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  producing its electronic archive earlier. Upon its discovery in the electronic archive, Mr.
  Toberoff listed the November 2, 2002 letter on a privilege log pertaining to the archive, which
  was promptly provided to DC in November 2011. Docket No. 412 at 10. There was nothing
  improper about this conduct, and Mr. Toberoff did exactly what any responsible lawyer would
  do in a similar situation: Upon learning of the existence of a responsive document that had not
  previously been logged and as to which there is a reasonable claim of privilege, he logged it.

  Even more importantly, once the privilege issue was resolved in DC’s favor, the document was
  promptly produced. Moreover, while your letter spends six pages castigating KBK and Mr.
  Toberoff based on two words, “billionaire investor” in the November 2, 2002 letter for which
  DC fails to provide the relevant context, the letter as a whole does not remotely support DC’s
  claims in this litigation or in your letter. To the contrary, it highlights why they are so baseless.

  As just one example, you have completely ignored that in this November 2, 2002 letter, eight
  years before you brought your tortious interference claim, Ms. Larson stated in no uncertain
  terms that it was DC’s “revolting” conduct that sunk DC’s relationship with her. EOMS 00215.
  This is fully consistent with the other evidence in the case, notably Joanne Siegel’s May 9, 2002
  letter to Time-Warner, which was sent well before the August, 2002 Ari Emanuel offer that DC
  falsely claims interfered with its relationship. Ms. Larson also describes her and her mother’s
  growing dissatisfaction with their prior counsel, also well before the August 2002 offer, and
  makes clear that this dissatisfaction had nothing whatsoever to do with Mr. Toberoff (“Toward
  the end of 2001, there was a shift. They [Gang, Tyre] started pressuring us to lower our
  expectations and to take an offer we did not want. They increasingly seemed to be siding with
  DC against our interests…Between February and May of this year [2002] we became so
  dissatisfied with their representation and the revolting offer from DC that we asked for a meeting
  with Kevin [Marks] on May 22nd planning to fire them then and there.”). EOMS 00215. Ms.
  Larson also makes plain that later in October 2002 she retained “Toberoff, the attorney, [who]
  has a successful track record of representing creator-writers and their heirs who have been
  screwed by the studios” (), and that she did not become aware of Marc Toberoff “until August
  2002.” EOMS 00216.

  The July 2003 letter from Ms. Larson to Michael Siegel further supports defendants, as long
  before DC brought its baseless claims, Ms. Larson describes:

             •    Warner/DC’s “hardball tactics” and the “bad and unreasonable deal” she and her
                  mother rejected due to DC’s “bogus [February, 2002] offer filled with
                  unacceptable land mines.” LSL00482
             •    That Warner/DC’s lawyers are “particularly heartless and that it is their common
                  practice to use every ounce of their leverage to grind people in negotiations.”
                  LSL00483
             •    That Warner/DC “want[s] to make an example of [the Siegels] so that other
                  creators and their heirs won’t go after their rights by Termination or otherwise.”
                  Id.



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             •      That “Marc Toberoff has no plans to produce a Superman movie.” Id.

  Despite all this, you harp on the words “billionaire investor” in the November 2002 letter as
  evidence of some “independent wrongful act” by Mr. Toberoff. Yet, as you yourself already
  know and quote on page 6 of your diatribe, Ms. Larson has already unequivocally testified that
  Mr. Toberoff never used the term “billionaire investor” and that she heard that term not from Mr.
  Toberoff, but from Michael Siegel.

             Q. Mr. Toberoff had told you that he knew billionaire investors; correct?

         A. No, he never used that term.
         Q. Well, he used terms similar, like he knew very wealthy investors and people in the
         entertainment industry who had money and would buy properties; correct?
         A. No….
  Deposition of Laura Siegel Larson, July 23, 2011, Docket No. 305-24 at 1020:2-9.

  This testimony is consistent with the sworn testimony of every other percipient witness in this
  matter, including the disinterested third party, attorney Kevin Marks. Mr. Toberoff never told
  Mr. Marks, Joanne Siegel or Laura Siegel Larson that he had a “billionaire” investor to purchase
  the Siegel’s Superman interests. Rather, all relevant witnesses have repeatedly confirmed under
  oath that in August 2002 Ari Emanuel made an offer to purchase the Siegel’s interests for $15
  million plus a “back end” to be negotiated. That offer – which was made months after Joanne
  Siegel and Laura Siegel Larson had unequivocally rejected DC’s February 1, 2002 proposal, and
  began seeking new counsel – was passed along by Marks in mid-August 2002 to Joanne Siegel
  and Laura Siegel Larson, but they ultimately rejected it. No “billionaire” made an offer for
  Superman rights, and no mention was made, by Mr. Toberoff, Mr. Emanuel or Mr. Marks to Ms.
  Larson or Joanne Siegel of a “billionaire” investor.

  The fact that Michael Siegel, who was “very confused,” used the term “billionaire investor” to
  Ms. Larson and that she used the same term in response to placate him, simply is not persuasive
  evidence – in the face of universal sworn denials – that the term came from Mr. Toberoff. Nor
  of course does it justify the unprofessional personal attacks on Mr. Toberoff or his counsel that
  DC hurls while completely ignoring the context in which the November 2, 2002 letter was
  written.

  Accordingly, let us repeat once again: Mr. Toberoff never made any representations about a
  “billionaire” investor. Defendants have been absolutely clear about this all along, and have
  accurately portrayed the facts. Their counsel’s representations to the Court are entirely
  consistent with this reality and the record. By contrast, DC’s false invective, skewed with
  scurrilous attacks and bogus character assassination calls into question the ethical and
  professional standards of you and your firm.




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                  d.      Your other examples of purported “discovery misconduct” are equally
  false distortions of the record.

                 DC has previously complained about the supposed withholding of Michael
                  Siegel’s May 13, 2003 and used it as a basis to argue that onerous discovery
                  obligations should be placed on Mr. Toberoff. Docket 231 at 19; Docket No. 225
                  at 17:5-10. Judge Wright has already rejected this effort. Docket No. 248.
                  Moreover, DC’s claims of improper conduct are simply wrong. Defendants made
                  no inaccurate representations about the letter. Magistrate Judge Zarefsky ordered
                  defendants to either produce the letter or verify to DC that it did not exist. Docket
                  No. 209 at 12. Defendants did not claim the letter did not exist, and timely
                  produced it in accordance with the order. Docket 231 at 19.

                 With regard to Laura Siegel Larson’s “July 2003” letter, you misstate an
                  extensive record in an effort to sow confusion about issues that have long since
                  been resolved. There are at least three potential “July 2003” letters at issue,
                  which you deliberately confuse. First, there is a July 11, 2003 letter from Laura
                  Siegel Larson to Michael Siegel, that was expressly found in the Siegel litigation
                  to have been duly logged as privileged, and protected from disclosure by both
                  Magistrate Judge Zarefsky and by Judge Larson in the underlying Siegel
                  litigation. Docket No. 225 at 15-16. That letter was later disclosed to the USAO
                  in connection with its investigation of the theft of Mr. Toberoff’s legal files, and,
                  eventually, as a result of the Ninth Circuit’s writ decision, timely produced to you.

                  Second, there is a purported July 5, 2003 letter from Michael Siegel to Laura
                  Siegel Larson that is mentioned in the anonymous “Timeline.” That letter, as
                  defendants have repeatedly informed you, does not exist and, as far as defendants
                  can tell from a search of the relevant records, has never existed. Although there is
                  a reference to a “July 5” letter in the Timeline, no such letter has ever been
                  identified in the files.

                  Third, there were drafts of the July 11, 2003, letter exchanged between Mr.
                  Toberoff and Ms. Larson on or around July 5, 2003 – all of which were, until the
                  Ninth Circuit’s writ decision, clearly privileged attorney-client communications,
                  and all of which have now been produced to you as a result of the Ninth Circuit’s
                  decision. Defendants’ representations concerning these letters have been entirely
                  consistent, as reflected in nearly five years of pleadings on this issue. Your false
                  and irresponsible accusation that “defendants . . . lied to the courts about [the]
                  contents” of the July 11, 2003 letter is, unsurprisingly, not accompanied by any
                  citation to the record or a single example of an inaccurate representation. The
                  only party/counsel that has attempted to mislead the Court here is DC and your
                  firm with its manipulative efforts to confuse and conflate the different letters at
                  issue. Docket No. 15-16.



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                  Moreover, the July 11, 2003 letter fatally undermines the allegations of DC’s
                  2010 Complaint and the fabricated claims about Mr. Toberoff’s purported
                  interference that your firm contains to press. For example, the July 11, 2003 letter
                  unambiguously confirms that Warner/DC disrupted their own negotiations by
                  their egregious February 2002 proposal – “It was a bogus offer filled with
                  unacceptable land mines…As a result of Time Warner’s hardball tactics, we
                  feared that we would have trouble collecting any future money from them…You
                  and Don Bulson stated that you couldn’t believe how bad the document was that
                  they had written…We believe their lawyers are particularly heartless and that it is
                  their common practice to use every ounce of their leverage to grind people in
                  negotiations” – just like Joanne Siegel’s May 9, 2002 letter –that was in your
                  possession long before filing DC’s frivolous complaint. LSL 00482-483. Ms.
                  Larson also confirms “We fired Kevin Marks and Bruce Ramer because they were
                  insisting we take a bad [DC Comics] deal” and that Mr. Emanuel’s offer to
                  purchase the Siegel interest was not the cause of the failed settlement between the
                  Siegel heirs and Warner/DC. LSL 00483. Ms. Larson further confirms that “We
                  went to Marc to talk about him representing the Siegels. Marc did not pursue us.”
                  “Marc did not call my mom nor me. My mom called the Shuster family to see
                  what the Shusters were doing. The family gave Marc’s number to my mom and
                  she called him…We felt that Marc grasped our situation very well and was
                  sympathetic to author’s rights.” Id.

                 Similarly without merit is your contention that Defendants’ privilege log was
                  designed to “conceal[] privilege waivers and prevent[] discovery of essential
                  evidence.” The Court has, despite constant motion practice, repeatedly rejected
                  DC’s challenge to defendants’ privilege logs and upheld them as consistent with
                  Ninth Circuit standards. Your specific reference to the August 9, 2002 letter from
                  Kevin Marks, and your claim that “defendants prevented DC from challenging
                  their assertion of ‘Atty/Client’ privilege over the Marks memo” based upon it
                  being cc’ed to Michael Siegel’s attorney, Don Bulson, is incorrect, as the August
                  9, 2002 memo was properly logged, showing Don Bulson as a recipient of the
                  memo, in the privilege log produced in this case in 2010. Docket 162-6 at 422,
                  no. 623. DC had more than ample opportunity to challenge the privilege over this
                  document based upon its provision to Mr. Bulson.

                  As to the two log entries you point to regarding USAO communications (nos.
                  3158 and 3159), these two documents were one sentence emails scheduling a
                  meeting between Mr. Toberoff and the USAO, and DC was long ago informed
                  that Mr. Toberoff had briefly met with the USAO to discuss the theft of legal files
                  from is firm.. As you know, these scheduling emails contain absolutely nothing
                  of any substance. Accusing defendants of attempting to conceal these utterly




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                  insignificant documents is an example of your tactic of making overblown claims
                  of misconduct in response to any discrepancy, no matter how inconsequential.
                  Given the thousands of entries in defendants’ privilege logs, it is inevitable that
                  there will be inadvertent errors. This is a far cry from your irresponsible
                  allegations of a “pattern of discovery misconduct” and “deception,” and in no way
                  supports the extraordinary appointment of a special master.

                 DC’s repeated assertion that the USAO documents somehow conflict with
                  representations made to the Ninth Circuit are just as false as they were when DC
                  first raised them in its improper Rule 28(j) letter to the Court. Docket No. 42-1.
                  As we pointed out then, the USAO documents merely confirm that Mr. Toberoff’s
                  clients authorized the limited disclosure of the stolen privileged documents to the
                  USAO pursuant to the secrecy surrounding a grand jury subpoena and an express
                  confidentiality/common interest agreement specifically intended to preserve their
                  privilege. See Docket No. 43. Far from voluntarily waiving privilege, the
                  documents demonstrate that both Mr. Toberoff and his clients took affirmative
                  steps to protect the attorney-client privilege and that there was no intent to waive
                  privilege. At oral argument, Judge Kozinski (accurately) pointed out that there
                  was nothing in the record concerning the consent of Mr. Toberoff’s clients to
                  disclosure to the USAO. Mr. Toberoff’s counsel, Richard Kendall accurately
                  stated that there was no evidence of such consent in the record, but that the issue
                  of consent was irrelevant to the Ninth Circuit’s determination. This accurate
                  representation to the Ninth Circuit of both the facts and the law is the opposite of
                  a “misrepresentation.” Once again, it is DC, not defendants, that is falsely
                  portraying the facts and the record.

                 Your contention that the stolen documents disprove and/or contradict the fact that
                  Mr. Toberoff represented the Siegels as a lawyer from the outset of their
                  relationship is a red herring, and a tired one at that. This issue has been
                  repeatedly addressed and refuted in defendants’ prior filings. First, in 2006, the
                  Siegels and Mr. Toberoff voluntarily produced the 2002 IP Worldwide
                  Agreement between them in the Siegel case and in this case, Mr. Toberoff’s 2004
                  litigation retainer agreement was produced. The IP Worldwide Agreement
                  expressly notes Mr. Toberoff’s legal services with respect to transactional matters,
                  while also noting that legal services with respect to contemplated litigation would
                  be rendered pursuant to a negotiated litigation retainer. IPWW 00003-00005.
                  There is therefore nothing revelatory about the fact that the stolen documents
                  reflect the negotiation of this retainer agreement in 2004, as the actual 2004
                  retainer agreement was long ago produced to DC. Moreover, as repeatedly
                  explained to you, neither a retainer nor formal agreement is required to establish
                  the attorney-client relationship. Brandlin v. Belcher, 67 Cal. App. 3d 997,
                  1001(1977); see also People ex rel. Dept. of Corporations v. SpeeDee Oil Change




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                    Systems,Inc., 20 Cal. 4th 1135, 1147 (1999) (“‘When a party seeking legal advice
                    consults an attorney at law and secures that advice, the relation of attorney and
                    client is established prima facie.’”) (citation omitted). Whether Mr. Toberoff and
                    the Siegels had a formal retainer regarding litigation or whether its terms were
                    highly negotiated by the Siegels at a later date is irrelevant to the issue of Mr.
                    Toberoff’s attorney-client relationship with them as of October, 2002.
                  e.             We reject, once again, your baseless attempts to interfere with the
      attorney-client relationship between KBK and its client, Mr. Toberoff, or to impose an
      allocation of work as between KBK and Mr. Toberoff’s law firm. As we have frequently
      explained, and as you and the Court have been well aware since at least 2010, Mr. Toberoff’s
      law firm is conducting a substantial portion of his defense in this matter, as is his right. Mr.
      Toberoff and/or other attorneys at his firm have appeared on multiple occasions in
      connection with discovery motions before the Court, and have met and conferred with your
      firm concerning discovery matters in this litigation on dozens of occasions, without any
      objection by DC. You have cited to no legal authority whatsoever suggesting that this
      division of labor between our two law firms is inappropriate or improper. Both law firms are
      well aware of their respective obligations. If you have a motion you intend to bring on some
      issue concerning the division of labor between the two firms, please identify it and the legal
      basis for such a motion.

                  f.             Your repeated statements about moving for a special master are
      also not well taken. Under Fed. R. Civ. P. 53(a)(1)(B)(i), the appointment of a special master
      is not appropriate absent “some exceptional condition.” Here, no such condition exists. As
      detailed throughout this letter, your charges of discovery misconduct are made up of nothing
      but factual misrepresentations, distortions, and hyperbole. Both the Court and Magistrate
      have routinely ruled as such, consistently denying the bulk (80%) of your discovery motions.
      See, e.g., Docket Nos. 439; 309; 262; 252; 248; 239; 209. That DC has adopted a strategy of
      radically multiplying the proceedings with repeated duplicative motions is not a basis to now
      allow it to engage in judge-shopping in an effort to find a new decision-maker, less diligent
      than Magistrate Judge Zarefsky and without the nearly eight years of background that
      Magistrate Judge Zarefsky has in handling both this case and the related Siegel litigations
      since 2004.. The Court’s exasperated and somewhat sarcastic reaction to the plaintiff in
      Goins v. Hitchcock I.S.D., 191 F. Supp. 2d 860, 867 (S.D. Tex. 2002) is just as appropriate to
      DC in this case:


             “[Plaintiff seeks] copious amount of information from defendants, some of which
             appears privileged or otherwise non-discoverable. Moreover, at least one [of] the
             requested documents does not even exist. Nevertheless, Plaintiff seeks the
             appointment of a Special Master because Defendants have supposedly failed to
             cooperate!”




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  As in Goins, it is not the defendants who have failed to cooperate in this case; rather, it is DC and
  its counsel, both of whom continue to foster an unprofessional, uncooperative, and ultimately
  counter-productive discovery process. If a special master were appointed in this case, under
  these circumstances, there would be no limit to the cases in which one could be appointed. Id.
  (noting “if this Court appointed a Special Master each and every time that a party objected to the
  manner in which another party was responding to its discovery requests, Special Masters would
  become the rule – not the exception”). We will therefore oppose any effort to appoint a special
  master.

  You state further: “Mr. Toberoff and the Kendall Brill firm may also need to be sanctioned. . . .”
  In light of the above refutation of your outrageous letter, the only sanctions that may be
  appropriate are those we will seek on behalf of our clients against DC Comics and your firm in
  the event you move forward with the motion described in your letter.

                   d.     Page 723 of Renner Otto Bills

  Page 723 was not produced because it was not responsive to DC’s request, as narrowed by DC,
  in the meet and confer process, to billing entries which show contacts between Mr. Toberoff and
  Mr. Bulson. Defendants do not object to producing page 723, redacted along the lines of the
  redactions ordered by Magistrate Judge Zarefsky’s on June 21, 2012.

  Sincerely,



  Laura W. Brill

  LWB:np
  cc:        Richard Kendall
             Marc Toberoff




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                                                  ID #:31584
C{ Kendall Brill Klieger                                                                                  writer's direct:
                                                                                                          310.272.7900 telephone
                                                                                                          310.272.7936 facsimile
                                                                                                          rkendall@kbkfirm.com




     July 20, 2012



     VIA EMAIL AND U.S. MAIL

     Matthew T. Kline, Esq.
     O'Melveny and Myers, LLP
     1999 Avenue of the Stars, 7th Floor
     Los Angeles, California 90067-6035
     mkline@omm. corn

     Re:       DC Comics v. Pacific Pictures Corp., et al., No. CV-10-3633 (ODW) (RZx)

     Dear Matt:

     This letter follows up on our meet and confer session held at your office on Tuesday, July 17.

     During that session, among other issues, you stated that the primary discovery concern of
     plaintiff DC Comics (DC) is with two "buckets" of information—(a) the validity of Defendants'
     privilege logs that have been submitted in this matter, and (b) documents (notably, an October 2,
     2002 letter) which are referenced in other documents, but which Defendants have not found in
     their files after searching for them. By this letter, we offer a proposal for resolving DC's
     concerns.

     Defendants disagree strongly with DC's contention that there has been any material error (other
     than a very small number of inadvertent errors of no consequence that are common in complex
     litigation) concerning Defendants' privilege logs. In fact, both the form and content of the logs
     have been repeatedly upheld both in this action and in the Siegel case, over the course of active
     litigation spanning nearly eight years. We also believe, as stated in prior correspondence to you,
     that your other accusations of discovery misconduct in this litigation by Toberoff & Associates
     are without basis, and nothing in this offer of compromise should be deemed to suggest
     otherwise.

     Nonetheless, Defendants hope to resolve your concerns, put this matter behind us definitively,
     and to move on to litigating the merits of the underlying dispute. Accordingly, Defendants offer
     the following proposal.

     First, counsel from Kendall Brill & Klieger LLP ("KBK") will independently review each
     document created prior to October 8, 2004 (the date the Siegel litigation commenced) that is
     listed on the privilege logs submitted in this action. If, in the independent judgment of KBK,
     privilege does not apply to any logged document, that document will be produced promptly to
     you.


   Kendall Brill & Klieger LLP
                                                       EXHIBIT 4
   10100 Santa Monica Blvd. Suite 1725 Los Angeles, CA 90067 telephone 310.556.2700 facsimile 310.556.2705 www.kbkfirm.com
                                                          57
KendallCase
       Brill &2:10-cv-03633-ODW-RZ
               Klieger LLP                  Document 500-3 Filed 10/10/12              Page 38 of 165 Page
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         Matthew T. Kline, Esq.
         July 20, 2012
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         Second, KBK will prepare amended privilege logs. If DC Comics agrees to provide subject-
         matter descriptions in the privilege logs it is to submit in this action, Defendants will also
         provide subject-matter descriptions on their privilege logs, even though the Court ruled that it
         need not do so. See Docket No. 209 at 13. Regardless of whether or not the subject matter
         descriptions are included, if any logged entry fails to list any recipient of a privileged document,
         the logs will be appropriately amended.

         Third, KBK will conduct a reasonable, independent search concerning documents in the second
         "bucket": that is, documents identified by DC that are referred to in other communications but
         which have not been located and produced, such as the October 2, 2002 letter,' and KBK will
         confirm to DC the records searched and the results of this search. If any such documents are
         found following this search, they will promptly be produced or, if privileged, appropriately
         logged. To date, the October 2, 2002 letter is the only such document identified by DC.
         However, if there are other such documents sought by DC, please let us know at once, and we
         will look for them as well.

         Finally, if, in conducting this independent review, KBK discovers information suggesting that
         any other responsive documents exist that have not been produced or logged, such documents
         will be promptly produced to you.

         We anticipate that we could complete the foregoing within 30 days from the date you agree to it.
         Given this proposal, there should be no reason at this time for motion practice relating to the
         appointment of a special master concerning Defendants' logs, particularly given that the Court
         has already rejected DC's call for a special master, and such appointment is certainly not
         appropriate before KBK has completed its independent review. See Fed. R. Civ. P. 53(a)
         (authorizing appointment of master only in "exceptional" circumstances"); La Buy v. Howes
         Leather Co., 352 U.S. 249, 258 (1957); Upjohn Co. v. Hygieia Biological Laboratories, 151
         F.R.D. 355, 360 (E.D. Cal. 1993). If after our extensive review of the documents you still
         desire a special master, we can discuss the issue at that time and, if we cannot resolve our
         differences, both sides will have the options of engaging in motion practice.




                  To be clear, the Toberoff firm has already conducted such a search for the October 2,
         2002 letter, and has not identified a copy of that letter, but KBK will independently search for
         this document as well.




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         Matthew T. Kline, Esq.
         July 20, 2012
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         The foregoing is not a complete statement of Defendants' position, and all rights and remedies
         are expressly reserved.

         Very truly yours,



         Richard B. Kendall

         RBK:dfm

         cc:      Marc Toberoff




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C-( Kendall Brill I ieger




                                              Matthew T. Kline, Esq.
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                                                                                    Requested By        CALENDAR,LITIGATION

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  Case Number             CV-10-3633
                                                                                    Office Floor
  Client Number           10905900
                                                                                    Room Number

  Matter Number           00321
                                                                                    Number of Documents "1.000


   Client Name                :WARNER BROTHERS

   Matter Name                DC Comics v Pacific Pictures Corp. - CV-10-3633

   Email Legal Team 1


   Email Legal Team 2


   Number of Pages including coversheet                                                                X Document sent to Calendar


   Document Type           :FOLLOW UP LETTER



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                                             ID #:31590




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  NEW YORK




                                                                                            OUR FILE NUMBER
  August 7, 2012                                                                                   905900-321

  VIA EMAIL                                                                              WRITER’S DIRECT DIAL
                                                                                              (310) 246-6840
  Richard Kendall
                                                                                      WRITER’S E-MAIL ADDRESS
  Kendall Brill & Klieger LLP
                                                                                       mkline@omm.com
  10110 Santa Monica Blvd., Suite 1725
  Los Angeles, California 90067

                    Re:     DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Dick:

          We write in response to your July 20 letter and your firm’s offer to review a limited
  number of your clients’ files and re-log and produce documents, if DC promises not to file its
  special-master motion with the District Court. While we appreciate that your firm has taken a
  small step in the right direction, there are several shortcomings in the proposal, chief among
  them: (1) your firm’s and your clients’ failure to acknowledge the seriousness of the discovery
  problems at issue (or the significant cost and delay caused by defendants’ actions); (2) your
  firm’s and your clients’ failure meaningfully to address many of the issues we raised during our
  lengthy in-person meet-and-confer on these issues; and (3) your firm’s and your clients’
  assertion that appointment of a special master is unnecessary. Also unacceptable is your firm’s
  offer to do work required of it by law as a quid pro quo to avoid DC’s motion. In short, based on
  the present record, DC is not prepared to accept your offer, and will file its motion shortly, unless
  there is a significant change in defendants’ position.

  I.         TOBEROFF’S DISCOVERY MISCONDUCT MUST BE ACKNOWLEDGED.

             Your July 20 letter begins by staking out the following factual and legal position:

                Defendants disagree strongly with DC’s contention that there has been any
                material error (other than a very small number of inadvertent errors of no
                consequence that are common in complex litigation) concerning
                Defendants’ privilege logs. In fact, both the form and content of the logs
                have been repeatedly upheld both in this action and in the Siegel case, over
                the course of active litigation spanning nearly eight years. We also believe,
                as stated in prior correspondence to you, that your other accusations of
                discovery misconduct in this litigation by Toberoff & Associates are




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             without basis, and nothing in this offer of compromise should be deemed to
             suggest otherwise.

          Each claim you make above is in error, improperly minimizes fundamental discovery
  misconduct that cannot be swept away, cf. Hester v. Vision Airlines, Inc., 2012 WL 2914108, at
  *5-7 (9th Cir. July 18, 2012), and pays no heed either to the significant prejudice DC has
  suffered or the needless costs defendants have imposed on the courts. We discussed many
  examples of your clients’ discovery misconduct at our recent in-person meeting, and while you
  claimed to be unaware of many of the issues we discussed, your letter does nothing to address
  the points we raised or the further diligence you said your firm would conduct in response.

           A. Toberoff’s Conduct Was Intentional And The Heaviest Sanctions Are Warranted.
  Toberoff’s pattern of obstructing the discovery process has prejudiced DC’s ability to litigate its
  claims in this case.1 Just last month, the Ninth Circuit issued an opinion re-affirming the
  propriety of the most grave sanctions (default) where a party withholds relevant evidence,
  redacts information that is not legitimately privileged, and obfuscates efforts to uncover it.
  Hester, 2012 WL 2914108, at *5-7. In Hester, plaintiffs alleged that their employer was
  wrongfully retaining hazard pay, and issued interrogatories and requests for production asking
  for “all communications and documents that relate to hazard pay.” Id. at *2. Defendant refused
  to cooperate with plaintiff’s requests by first asserting the documents did not exist, and later
  making an incomplete production that only included select pages of some documents, and
  heavily redacted copies of others. Id. at *2-3. The district court found that defendant
  “intentionally delayed production of documents, misrepresented its current and past
  production … and otherwise engaged in bad faith conduct.” Id. at *5. As a sanction, the court
  struck defendant’s answer. Id. The Ninth Circuit affirmed and recommended other possible
  sanctions. Id. at *9; accord, e.g., Connecticut Gen., 482 F.3d at 1097 (defendant’s “pattern of
  deception and discovery abuse …. so damage[d] the integrity of the discovery process that there
  [could] never be assurance of proceeding on the true facts”); Valley Eng’rs, 158 F.3d at 1054-58
  (terminating sanctions warranted where party suppressed smoking-gun document by denying it
  existed and through false privilege claims; plaintiffs “probably would never have seen [it], had
  [their] lawyer not been sharp enough to spot what was not there”; defendant’s “discovery
  violations ma[de] it impossible for [the] court to be confident that the parties [would] ever have
  access to the true facts”).


      1
        See FED. R. CIV. P. 37; Conn. Gen. Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d
  1091, 1097 (9th Cir. 2007); In re Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217,
  1236-1237 (9th Cir. 2006); Computer Task Grp., Inc. v. Brotby, 364 F.3d 1112 (9th Cir. 2004);
  Valley Eng’rs v. Electric Eng’g Co., 158 F.3d 1051, 1057-1058 (9th Cir. 1998); Anheuser-Busch,
  Inc. v. Natural Beverage Distribs., 69 F.3d 337, 349 (9th Cir. 1995); Adriana Intl. Corp. v. Lewis
  & Co., 913 F.2d 1406, 1412 (9th Cir. 1990); N. Am. Watch Corp. v. Princess Ermine Jewels, 786
  F.2d 1447, 1450-1451 (9th Cir. 1986); G-K Props. v. Redevelopment Agency of San Jose, 577
  F.2d 645, 647 (9th Cir. 1978); Rates Tech., Inc. v. Mediatrix Telecom, Inc., 2012 WL 3036481,
  at *4 (Jul. 26, 2012).



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          Toberoff’s pattern of withholding non-privileged documents, redacting non-privileged
  information, falsely claiming that requested documents do not exist, and knowingly manipulating
  his privilege logs is equally improper. So, too, is his and his counsel’s refusal fully and finally to
  remedy the situation. As we will show the Court, Toberoff’s “willful halting [of] the discovery
  process” has prejudiced DC’s ability to litigate its claims, Barbieri v. Rio Suites Hotel & Casino,
  45 Fed. Appx. 652, 653 (9th Cir. 2002); wasted the courts’ limited resources, G-K Props., 577
  F.2d at 647; and “damage[d] the integrity of the discovery process,” Conn. Gen. Life Ins., 482
  F.3d at 1097. Many documents central to DC’s case have been produced only after DC has
  “spot[ted] what was not there,” Valley Engr’s, 158 F.3d at 1058—and then had to fight through
  false denials that such documents did not exist, purposefully opaque privilege logs, and costly
  motion practice. The Ninth Circuit not only permits sanctions in such circumstances, it
  “encourage[s]” them, G-K Props., 577 F.2d at 647, and both sanctions and a special master are
  needed to get to the full depths of Toberoff’s misconduct.

          Discussed below are a few examples (not exhaustive) showing that Toberoff’s actions
  have been “deliberate,” “material,” and prejudicial, despite your claims in your July 20 letter to
  the contrary, and Toberoff’s recent denials, see Docket No. 466, which your firm notably did not
  sign off on our join.

          1. The May 13, 2003, Letter. The Toberoff Timeline identifies a May 13, 2003, letter
  from Michael Siegel to Laura Siegel Larson that had never been produced or logged in this case
  or in Siegel—despite its being directly responsive to document requests in both cases. The
  Timeline describes the May 2003 letter as documenting Michael’s many concerns about
  Toberoff’s misconduct, including his efforts to secure the Superman copyrights for himself.

          After defendants failed to produce the document by the court-ordered date for defendants
  to make their document production in December 2010, DC requested during a meet-and-confer
  that month that Toberoff confirm whether the May 2003 letter existed and, if so, to produce it.
  Toberoff refused to confirm the letter’s existence, instead stating only that DC should not rely on
  the Timeline. Given Toberoff’s non-answer, DC sent a follow-up letter on December 29
  concerning documents identified in the Timeline that defendants had never produced or logged,
  including (1) the May 2003 letter; (2) a December 16, 2002, letter from Toberoff to the Siegel
  heirs; (3) a July 5, 2003, letter from Michael to Laura; and (4) a September-October 2003 letter
  regarding Ari Emanuel’s fee for representing the Siegel heirs. Toberoff responded in a letter a
  few days later that “the ranting anonymous ‘Timeline’ [is] inaccurate and untrustworthy,” he
  claimed that the December 2002 and September-October 2003 letters did not exist, and he
  evaded DC’s questions as to the May 2003 and July 5 letters. Docket Nos. 162-9, 162-10.

          DC pressed Toberoff again, requesting on January 5 that defendants produce several
  documents, including specifically the May 2003 letter from Michael to Laura. Docket No. 162-
  11. Your claims that Toberoff did not intentionally obstruct discovery (stated in your July 20
  letter and elsewhere) are belied by Toberoff’s letter of January 8, 2011, in which he stated:

          As to your claims that we have not produce documents alluded to in the ranting,
          anonymous Timeline, we have repeatedly stated that the inadmissible Timeline is



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          extremely untrustworthy. To the extent that relevant documents exist, they have
          either been produced or designated as privileged.

          Nonetheless, in the interest of clarity: …

                   •   There are no documents related to an offer by a “billionaire investor”
                       to purchase the Siegels’ Superman rights, because no such offer was
                       ever conveyed, and the sworn testimony of the relevant witnesses is
                       consistent on this point. The Timeline itself, states that this supposed
                       offer was made at the August 2002 meeting between Kevin Marks, Ari
                       Emanuel, and [Mr. Toberoff]. Docket No. 98 at 4:21-6:3. As Kevin
                       Marks testified, “[a]t no time during that conversation did either Mr.
                       Toberoff or Mr. Emanuel say anything about a ‘billionaire investor.’
                       The world ‘billionaire’ was never used in the conversation by any of
                       its participants.” Docket No. 98-3 at 1:16-2:7.

          DC’s overzealous quest to find non-existent documents based on frivolous
          allegations in an anonymous incoherent “hit piece” is unworthy of DC and its
          counsel.

  Docket No. 162-12 at 589 (emphases added).

           a. While you, Mr. Daum, and Toberoff (in our in-person meeting) and Ms. Brill (in her
  letter that preceded it) all tried to downplay Toberoff’s failure to produce the May 2003 letter in
  late 2010 or early 2011, every one of the defenses offered is without merit. During our meeting,
  Toberoff argued that DC’s discovery requests were blunderbuss and he innocently did not locate
  the May 2003 letter during his searches. But as you and he know, DC’s December 2010 and
  January 2011 letters—which we discussed during our meeting—asked Toberoff to confirm the
  existence of the May 2003 letter based on a search of the documents in defendants’ possession,
  which would include the Timeline documents. Docket No. 162-9 at 574-78; 162-11 at 583-86.
  The letters confirm we also specifically raised the letter during our lengthy meet-and-confer call.

          Mr. Daum argued that any failure to find the document was inadvertent, but when we
  pressed him on the any factual basis he had to make this claim, he conceded that he and your
  firm played no role in trying to discern why Toberoff had not produced the document in 2010 or
  2011, much less any role in searching for the document in 2010. In any event, Mr. Daum’s
  suggestion that Toberoff innocently could not locate the May 2003 letter cannot be taken
  seriously: the May 2003 letter appears no fewer than four times among the Toberoff Timeline
  documents at Q0032-33, Q0139-40, Q0317-18, Q0590-91. Both Toberoff and your firm had to
  have reviewed this document on numerous occasions in making the representations you did in
  numerous briefs to the Court in 2010 about the accuracy of the Timeline and DC’s reliance on
  the allegations contained therein.

        We pressed Toberoff in December 2010 and January 2011 to look among the Timeline
  documents for the May 2003 letter, and his response was: the Timeline is “untrustworthy” and



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  “to the extent relevant documents exist, they have either been produced or designated as
  privileged.” Docket No. 162-12 at 589. These were direct, knowing misrepresentations and not
  inadvertent errors, as you now describe them. Nowhere among any of defendants’ logs in Siegel
  or this case was or is the May 2003 letter from Michael to Laura ever listed. And as of January
  2011, never had it been produced.

          Your letter notably makes no mention of any of these facts or any follow-up investigation
  your firm has done into why Toberoff did not produce the May 2003 letter in 2010 or early 2011.
  Nor does your letter grapple with the fact that Toberoff made numerous affirmative
  misstatements to DC and the Court about the Timeline, the May 2003 letter, and otherwise,
  including the following, false statement in Toberoff’s January 8, 2011, letter that: “There are no
  documents related to an offer by a ‘billionaire investor’ to purchase the Siegels’ Superman rights,
  because no such offer was ever conveyed….” Docket No. 162-12 at 589.

          As both Toberoff and your firm well knew in 2010 and 2011, the May 2003 letter existed
  among the Toberoff Timeline documents, it had never been produced or logged, and that letter
  expressly mentioned the “billionaire” investor. See Docket No. 225-4 at 3 (“Marc [Toberoff]
  had a mysterious billionaire who wanted to invest in the Superman copyright. When you signed
  with Marc the billionaire invested elsewhere.”). As Toberoff and your firm also knew,
  defendants were under a court order, issued in December 2010, to produce all responsive, non-
  privileged documents—having waived all other objections to DC’s document requests—and yet
  they failed to do either with respect to the May 2003 letter. Docket No. 133. Nor did your firm
  ever produce or log the document among the productions made for the Toberoff defendants, and
  even though Toberoff and your firm have possessed the May 2003 letter since at least mid-2010,
  in possessing the Toberoff Timeline documents.

          At our recent in-person meeting, you said that said Toberoff’s January 8 letter—and the
  representations he made therein—were a revelation to you, and you wanted to look into them.
  Yet, your July 20 letter only makes further blanket denials of misconduct and does nothing to
  grapple with Toberoff’s January 8 statements, or your firm’s or defendants’ failure to produce
  this non-privileged, obviously responsive, relevant document, which directly belied statements
  your firm was making in court filings.

          b. Your July 20 letter argues no harm, no foul—going so far as to say Toberoff’s
  suppression of this evidence was “of no consequence.” But as we explained at our in-person
  meeting, defendants’ and their counsels’ efforts to minimize the impropriety, cost, and impact of
  the discovery misconduct at issue here is not well-taken. Defendants and their counsel have
  knowingly caused DC to spend hundreds of thousands of dollars and to waste months of precious
  time to obtain documents like the May 2003 letter, which defendants were under court order to
  produce in December 2010. And as we will discuss below, Toberoff’s misconduct—which your
  firm has permitted—has allowed defendants to present a skewed evidentiary record to the courts,
  including in the SLAPP appeal papers your firm recently filed and has done nothing to correct.
  These record issues, akin to those raised in Rule 28(j) letter after the oral argument in the Pacific
  Pictures case are troubling, to say the least.




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          And the prejudice DC has suffered under cannot be undersold. Toberoff did not turn over
  the May 2003 letter in December 2010, as he was required. Rather, he rather represented to DC
  in January 2011, when DC pressed on why the May 2003 document had not been produced:
  “DC’s overzealous quest to find non-existent documents based on frivolous allegations in an
  anonymous incoherent ‘hit piece’ is unworthy of DC and its counsel.” Docket No. 162-12 at
  589. In his court filings (with which your firm was served), he did not disclose that the May
  2003 letter was among the Timeline documents. Instead, he chastised DC for relying on the
  Timeline as proof that the letter existed, insisting the Timeline was “unreliable” and “grossly
  inaccurate.” Docket No. 160 at 5, 71-72. Nowhere did Toberoff disclose that the May 2003
  letter was among the Timeline documents, or that he had never specifically logged the letter.
  Worse, he took deliberate steps to hid the letter’s existence. And, in fact, by their own later
  admission, defendants conceded they had never claimed any privilege over the May 2003 letter,
  but only other communications that DC sought. Docket No. 412 at 10.

          Toberoff’s deceptions were not “inadvertent errors … common in complex litigation,” as
  your July 20 letter asserts. They were sanctionable acts of deliberately misleading DC and the
  courts. E.g., Hester, 2012 WL 2914108, at *5-7. Fortunately, DC spotted the gap in defendants’
  production, pressed the issue despite Toberoff’s bellicose claims that DC’s suspicions were
  “unworthy” of counsel, and Judge Zarefsky ultimately granted DC’s motion and ordered
  defendants to either (a) produce the May 2003 letter, or (b) provide a verified response that it did
  not exist. Docket No. 209 at 12. Only then did Toberoff produce the May 2003 letter.

          Mr. Daum’s recent suggestion—based on no evidence submitted by Toberoff in 2011 or
  now—that Toberoff only found the May 2003 letter after Judge Zarefsky issued his order is
  incredible. It also directly belied by the fact that the document appears no fewer than four times
  among the Toberoff Timeline documents that DC asked Toberoff to search in December 2010
  and January 2011, and with which your firm has long been intimately familiar. It is also belied
  by the fact that Toberoff had to review all of the Timeline documents in preparing his court-
  ordered declaration in May 2007—and yet he not only failed to produce this document then, he
  later denied its existence. And it is belied by the fact that both your firm and Toberoff must have
  reviewed the Timeline documents before producing them to the U.S. Attorney’s Office in
  September 2010—and yet neither he nor your firm volunteered to produce the document when
  DC served its motion on all parties and counsel seeking it. Toberoff (and your firm) also had to
  review the logs (and logged documents) in producing privilege logs for all defendants in late
  December 2010 and early 2011. If you have any basis to support Mr. Daum’s claim of an
  innocent discovery of this document after Judge Zarefsky’s order—based on an actual
  investigation into actual facts—please provide it without delay. Otherwise, we can only assume
  you have no facts to support your claim that the failure to produce this document was an
  “inadvertent error.” That Mr. Daum made this statement—with no basis to support it, and when
  the plain evidence so clearly contradicts it—causes us even deeper concern.

          Still another reason we know no inadvertent error occurred are the steps Toberoff took
  after producing the document to cover his tracks. Not only did he refuse to produce the
  document in December 2010, as required by court order, he also refused to produce all Q-Bates




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  stamped versions of the May 2003 letter when DC requested it. Docket Nos. 160 at 71-72; 296-1
  at 4-6; 296-8 at 76; 296-9 at 77-79. Producing the Q-Bates stamped versions of the documents
  would have shown (a) that non-privileged, non-produced documents existed among the Timeline
  documents, and (b) that Toberoff’s privilege logs, as discussed further below, were a sham. Yet
  he successfully refused to produce the Q-Bates stamp version, calling DC’s claimed need to
  obtain the documents baseless. He also objected successfully to orders that would have
  compelled him to produce all Michael-Laura Siegel-related correspondence, and that would have
  compelled him to update and re-scrub his privilege logs. Docket Nos. 160 at 68-71; 209 at 11-
  12. As we would learn, and is discussed below, the May 2003 letter was not the only document
  Toberoff suppressed. Many more existed, and many more were buried among the Timeline
  documents and false privilege entries that neither Toberoff nor your firm did anything to correct.

          c. The production of May 2003 letter—and the recent production of the Toberoff
  Timeline documents—also show what a sham defendants’ privilege logs have been, and why the
  modest corrective action you propose falls well short. Defendants’ production of the Timeline
  documents in May 2012 show that four versions of the May 2003 letter existed among the
  Timeline documents, and that Toberoff repeatedly misled DC and the courts with false,
  overbroad privilege log entries that claim no privilege over letters like the May 2003 letter, but
  instead lump and hide them behind other specific logged documents. This is not an isolated
  mistake; this intentionally deceptive and sanctionable practice repeats itself time and again. To
  take one example (among many), a copy of the May 2003 letter included among the Timeline
  documents bears Bates stamps Q0139-40. In his court-ordered May 2007 declaration in Siegel,
  Toberoff said that these pages corresponded with Siegel Supplemental Privilege Log Entry 79:



          As shown below, Entry No. 79 only identifies a July 5, 2003, transmittal from Laura to
  Toberoff—and makes utterly no mention of a May 2003 letter from Michael to Laura. Indeed,
  the log entry makes no mention of a May 2003 communication. It makes no mention of Michael
  Siegel. And it makes no mention of a letter—just a July “Facsimile” from Laura to Toberoff.




          You cannot claim this a simple mistake, or that Toberoff’s failure to address and correct
  this issue in late 2010 or early 2011 was an innocent error. DC pressed Toberoff repeatedly to
  identify and produce the May 2003 letter. DC also pressed Toberoff to look at and for July 2003
  correspondence involving Laura Siegel—including on July 5, 2003, specifically. Docket No.
  162-9 at 577 (“We raised that there are certain communications listed on the Toberoff Timeline
  documents that neither appear on defendants’ logs nor have been produced. We provided the
  following document as an example, a May 13, 2003 letter from Michael Siegel to Laura Siegel
  Larson discussed in the last paragraph of page 3 on the Timeline, … [and a] July 5, 2003 letter
  from Laura Siegel Larson to Michael Siegel discussed on page 4… You said that DC should not
  rely on the accuracy of the Timeline, but took under advisement our request that you verify




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  whether such documents exist—and, if so, to either produce them, or list them on defendants’
  privilege logs.”). So not only did Toberoff have the Timeline documents to go through and find
  the May 2003 letter among them—and to produce all versions of it—he had DC asking him to
  look at documents from July 2003 for Michael-Laura Siegel correspondence. This included the
  July 5 letter at log entry No. 79. Again, rather than producing the May 2003 letter—which
  Toberoff never asserted was privileged, Docket No. 412 at 10—he lied and dissembled. He and
  your firm said the Timeline was a ranting “hit piece” that could not be believed. He said DC had
  all the documents to which it was entitled and that his logs needed no correcting and did nothing
  to obscure the existence of relevant, responsive, or non-privileged documents. And he and your
  firm said that DC’s “billionaire investor” claim was a “mockery.”2

          Not only did Toberoff repeatedly and deliberately lie in his logs, he did not correct his
  misstatements (a) when Judge Zarefsky ordered him in 2007 to go through all the Timeline
  documents once again; or (b) when DC repeatedly challenged the logs in this case. While
  Toberoff claimed in our meeting the other day that a paralegal went through the underlying
  documents to create his 2007 declaration, that is not what his declaration states, and it is not what
  Judge Zarefsky ordered him to do. Cf. May 21, 2007, Toberoff Decl. at 1 (Toberoff declaring:
  “Pursuant to the Order, I have accounted for each of the Documents….”) (emphasis added).
  Worse still, DC raised repeated complaints with Toberoff’s logs and filed motions seeking to
  require defendants to update them to ensure that non-privileged documents were not being
  hidden behind opaque, incomplete, and false log entries. Docket Nos. 160 at 40-44; 162-8 at
  571-73; 162-9 at 574-78; 162-11 at 583-86; 205 at 3, 18-19; 207-10 at 472-75; 207-12 at 488;
  225 at 13-20; 243 at 10-12; 253 at 6-10; 274 at 7-8. Time and again, Toberoff rejected DC’s
  claims of impropriety, arguing that his logs were fully proper and that he was hiding nothing.
  Docket Nos. 160 at 66-68, 74-78; 162-10 at 579-82; 162-12 at 587-90; 207-11 at 481-82; 207-13
  at 494; 210 at 12-13, 15-16; 231 at 16-22; 269 at 11-15. The production of the May 2003 letter
  and the recent production of the Toberoff Timeline documents—with full Q-Bates stamping
  finally exposed—show just how badly Toberoff misled DC and the courts in claiming his logs
  were proper and did not need to be updated in any way.

          Toberoff’s knowing, deliberate, and repeated suppression of the May 2003 letter is reason
  alone to justify terminating sanctions in this case. See Valley Eng’rs, 158 F.3d at 1054-58; supra
  at 2-3. But there are many other acts in which defendants have engaged to justify this relief and
  that show that Toberoff’s failure to produce the May 2003 letter was far from an innocent error.
  As shown below, Toberoff played the same games in hiding Laura’s July 2003 response to
  Michael—first suggesting it did not exist, and then being caught hiding the document behind yet
  another fax-cover-sheet privilege log entry, listing only Laura and himself as recipients.



      2
        How your firm could make such representations about the accuracy of the Timeline and
  DC’s allegations when you possessed and had reviewed the Timeline documents is an issue that
  must be fully explored. So, too, is your firm’s failure to fulfill its duty of candor when Toberoff
  falsely told DC and the courts the documents it sought did not exist.



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          d. Finally, as for your repeated claims that Toberoff’s failure to produce this and other
  smoking-gun documents were not “material,” your own briefs and letters in this case, as do
  Toberoff’s, refute this. As you know, before defendants produced the May 2003 letter, they and
  your firm argued repeatedly and vociferously that DC’s and the Timeline’s “mysterious
  billionaire” investor claim, Docket Nos. 181 at 23-24; 201 at 3-7; 205 at 17-20; 215 at 8-10; 225-
  4 at 3, was a “mockery,” “contrary to all the evidence,” and “based entirely on the
  untrustworthy, inadmissible Timeline,” e.g., Docket No. 196 at 1-5, 10. Yet Michael’s May
  2003 letter supports this claim and corroborates the Timeline:

          Marc had a mysterious billionaire who wanted to invest in the Superman
          copyright, put 15 million dollars up front plus participation. When you signed
          with Marc the billionaire invested elsewhere. Marc has his own production
          company, he was going to team with Emanuel and make a [Superman] movie.
          This has not happened. Docket No. 225-4 at 3 (emphases added).

  The May 2003 letter also contradicts Toberoff’s representation in his January 8 letter to DC that
  “[t]here are no documents related to an offer by a ‘billionaire investor’ to purchase the Siegels’
  Superman rights.” Docket No. 162-12 at 589. As shown below, DC has obtained—at great
  expense, and only after overcoming significant deception and stonewalling—still other
  documents that corroborate its “billionaire investor” claim, including from Larson herself. While
  Toberoff, Larson, and you may all now try to explain key evidence like the May 2003 letter
  away, those explanations are for the jury—and not for defendants and their counsel to use as a
  basis improperly to withhold discovery. Such skewing of the facts, especially when defendants
  and their counsel were taking such strident positions in their briefs about such issues, require the
  stiffest and fullest sanctions.

           2. July 2003 Letter And Drafts. As noted above, Toberoff’s pattern of burying smoking-
  gun documents behind fax cover sheets to him was repeated when it came to Laura’s July 2003
  response to Michael’s May 2003 letter. Like the May 2003 letter, the Timeline identifies a July
  5, 2003, letter from Laura to Michael that had never been produced or logged in this case or in
  Siegel. DC requested that defendants (1) confirm whether the July 5 letter existed and, if so, to
  produce it; and (2) to review Entry Nos. 715 and/or 716 to the Siegel Privilege Log in this case—
  both listed as facsimiles from Laura to Marc—and confirm whether the logged documents
  included a July 11, 2003, letter from Laura to Michael, which DC believed could be the non-
  privileged July 2003 letter referenced in the Timeline. Docket Nos. 162-9 at 576-577; 162-11 at
  583-84. In any event, Toberoff was under court order, as of December 2010, to produce or log
  responsive documents—and he did neither for the July 2003 letter that would only finally emerge
  in late 2011, and pursuant to court order issued by Judge Wright.

          a. Ms. Brill’s claim in her recent letter that three potential “July 2003” letters are at issue
  and that Toberoff made no misrepresentations as to any one is false. She ignores Toberoff’s and
  your firm’s obligation to produce or log the document in late 2010 and/or early 2011—neither of
  which ever occurred.




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          As for Ms. Brill’s three asserted categories, the first is the July 11 letter. Despite DC’s
  simple and straightforward requests, and the court’s December 2010 order mandating the
  production or logging of responsive documents, Toberoff refused to review Log Entry Nos. 715
  and 716 or to confirm DC’s understanding that the July 11 letter from Laura to Michael was
  included as an attachment to the fax cover sheet but not separately logged. Docket Nos. 162-10
  at 580-82; 162-12 at 588-89. Toberoff asserted that privilege as to the documents identified at
  Entry Nos. 715 and 716 had been repeatedly upheld by the courts in this case and in Siegel, but
  would not state whether the July 11 letter existed, or whether his logs accurately depicted what
  documents were hidden behind them. Docket Nos. 160 at 66-68; 231 at 19-20. Based on
  Toberoff’s representations that DC was not entitled to the documents, Judge Zarefsky and the
  District Court rejected DC’s motions to obtain the July 11 correspondence from Laura to
  Michael, though Judge Zarefsky did note that Toberoff’s responses about the document were
  “cryptic.” Docket Nos. 209, 248.

          During Larson’s July 22, 2011, deposition, she testified that she responded to Michael’s
  May 2003 letter, that Toberoff made factual edits to the letter (via faxes to her), that she believed
  she sent the response in July 2003, and that she gave Toberoff a copy of the final letter. Docket
  No. 316-5 at 314:12-15, 316:11-12, 323:11-14, 325:22-327:22, 328:3-330:3. Despite these clear
  admissions, Toberoff again refused to produce a copy of the letter; confirm whether defendants’
  possessed a copy; address whether it was defendants’ position that the letter was privileged, and,
  if so, why; or confirm whether the letter appears on defendants’ logs, and, if so, at what entry
  number. Docket No. 361-2 at 216-18.

           It was not until DC filed its second motion to compel production of the July 11 letter in
  September 2011, that Toberoff finally conceded defendants did not separately log the July 11
  letter, as the law requires them to do. Toberoff conceded the July 11 letter appeared at Siegel
  Privilege Log Entry No. 82 in the Siegel case. Docket Nos. 316 at 21-24; 317 at 1-5. Again,
  Log Entry No. 82 does not identify Laura’s July 11 letter; nor does any other entry. Entry No. 82
  logs a “Facsimile” from “Laura Siegel” to “Marc Toberoff.” It says nothing about a letter from
  Laura to Michael, and does not specify the alleged “common interest” privilege claim that
  defendants now newly asserted:




  Docket No. 317-2 at 8.

           Clearly, none of the rulings in Siegel—which Toberoff argued precluded DC from
  obtaining the July 11 letter—conceivably could have dealt with the discoverability of the July 11
  letter, since its existence was only confirmed by Toberoff in September 2011. Toberoff’s
  suppression of Laura’s letter behind a false privilege entry was not an “inadvertent” mistake as




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  you claim. Toberoff used this same calculated, illegal devise to hide evidence in burying the
  May 2003 letter. Both your firm and Toberoff knew this critically important letter existed in the
  Timeline documents, was directly responsive to DC’s requests, related closely to DC’s claims in
  this case (and arguments defendants were making to the contrary, including whether DC had a
  “deal” with the Siegel family in 2001, with which Toberoff interfered). DC asked Toberoff to
  review the Timeline documents for this July 2003 letter. And Toberoff—despite knowing the
  exact location of the July 11 letter, knowing he had never separately logged it, and knowing it
  was responsive to DC’s requests—dissembled to both DC and the courts about its existence, all
  while your firm looked on in silence. As for the privilege claim that was asserted in Log Entry
  No. 82, it did not reach or even embrace the Michael to Laura letter—only attorney-client
  privilege was asserted, and yet where common-interest privilege had been claimed over Michael-
  Laura communications, that specific claim, not an attorney-client privilege claim, had been
  made. E.g., Docket No. 162-6 at 416-17 (Entry Nos. 495, 507-09, 512, 516-19). Toberoff’s
  representations to the courts that his privilege claims to this document had been upheld was,
  thus, false—and, at best—horribly misleading. Courts in the Ninth Circuit do not permit such
  games. Supra at 2-3.

           b. The second “July 2003” letter at issue, according to Ms. Brill’s letter, is the July 5
  letter identified in the Timeline that defendants had never produced or logged. Toberoff refused
  to confirm whether the July 5 letter existed and instead, like the May 2003 letter, chastised DC
  for relying on the “inadmissible” and “untrustworthy” Timeline and represented that “[t]o the
  extent that relevant documents exist, they have either been produced or designated as
  privileged.” Docket No. 162-12 at 589. When DC moved to compel, Toberoff for the first time
  claimed that defendants were “unable to identify a document that matched” the description of the
  July 5 letter—a representation Judge Zarefsky found meant “the document does not in fact exist
  so far as Defendants know.” Docket Nos. 160 at 71-72 & n.2; 209 at 11-12 & n.2. DC requested
  that defendants conduct a diligent review of all files in their possession, custody, or control
  (including any files obtained from Michael or Don Bulson, Michael’s attorney) for any
  unproduced documents from June or July 2003, since the July 5 letter could be misdated in the
  Timeline or be found in a different form, such as a draft letter. Docket Nos. 253 at 9; 253-17.
  Toberoff continued to claim the July 5 letter, in whatever form, did not exist. Docket No. 269 at
  12-13.

          Defendants’ recent production of the Timeline documents refutes Marc’s claims
  that he could not “match” any documents in defendants’ possession, custody, or control
  to the July 5 letter: the July 5 letter appears no fewer than nine times among the Timeline
  documents at Q0141-45, Q0147-51, Q0153-57, Q0319-23, Q0389-93, Q0478-82, Q0592-
  96, Q0661-65, and Q0750-54. As DC suggested to defendants, the July 5 letter appears
  to be a draft of Laura’s July 11 letter. Toberoff’s clear misrepresentation is recklessly
  repeated in Ms. Brill’s recent letter and reinforces why DC is saying you cannot rely on
  his representations or the review he has purportedly conducted of defendants’ documents.

         c. The third category of “July 2003” letters identified by Ms. Brill are the drafts
  that DC learned about during Laura’s July 2011 deposition, which defendants had never




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  logged or produced in this case or in Siegel. Docket No. 316-5 at 314:12-15, 316:11-12,
  323:11-14, 325:22-327:22, 328:3-330:3. Ms. Brill claims without citation to anything
  that defendants representations about these drafts have been “entirely consistent, as
  reflected in nearly five years of pleadings on this issue.” This means nothing, other than
  that Toberoff consistently has made entirely false misrepresentations about this evidence.
  When DC requested that defendants produce all drafts of the July 11 letter, Toberoff
  represented that the drafts had been logged and upheld as privileged in this case and in
  Siegel. Like the May 2003 and July 11 letters, however, defendants never separately
  logged the drafts, as they were obligated to do. And as discussed below, defendants’
  recent production of the Timeline documents (yet again) shows that the drafts were
  hidden behind fax cover sheets, instead of being separately logged. No court could have
  ruled on the discoverability of the July 11 drafts since their existence was not confirmed
  until May 2012. Toberoff knew this, but he continued to make contrary representations
  to DC and the courts, with no acts of intervention by your firm.

           d. Defendants’ production of the July 11, 2003, letter fully revealed that
  defendants had lied to the courts about its contents—and the veracity of the Timeline.
  Among many other important revelations, the document confirms that Kevin Marks, the
  Siegels’ prior attorney, who negotiated the October 2001 settlement between DC and the
  heirs, told Toberoff and the Siegels that the Siegels “had a deal with DC”—which
  directly refuted arguments Toberoff and defendants and their counsel had made in this
  case. Docket No. 362-2 at 286-90.

           Again, failing to produce this document or to log it properly, so that any privilege
  claim over it could have been litigated years ago, was not an “inadvertent error[] of no
  consequence,” as your July 20 letter asserts. Laura’s admissions in the letter to her
  brother go to core issues in the Siegel case—and the letter should have been produced
  years ago, when she, Michael, and Marks could have been deposed using the document.
  But now Michael is dead, summary judgment was entered in Siegel without access to this
  evidence, and a Rule 54 motion was granted in Siegel (again without access to this
  evidence)—all to DC’s great prejudice. Equally harmful, Toberoff and his counsel have
  had the audacity in this case to make arguments directly contrary to the letter, knowing
  the letter was suppressed and being kept from DC. And only further adding to the harm
  defendants suppressed the letter long enough to keep DC from using it in its briefs on
  defendants’ SLAPP motion (both in the district court and before the Ninth Circuit), and
  in Larson’s deposition.

          Indeed, only after a year of delay and Judge Wright’s rejection of Toberoff’s belated and
  baseless claim of privilege in the July 11 letter did defendants finally produce it in November
  2011. While Ms. Brill and Toberoff now argues (wrongly) that the letter somehow actually
  supports defendants’ defenses in this case, such self-serving claims have never been a basis to
  suppress evidence, nor are they an after-the-fact excuse for having done so. Supra at 2-3
  (collecting cases).




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          e. The production of the Timeline documents, including the Q-Bates versions of the July
  11, July 5, and July 11 draft letters, confirm how deliberately misleading defendants’ privilege
  logs have been. A copy of the July 11 letter included in the Timeline documents bears Bates
  stamps Q0484-88. In his court-ordered May 21, 2007, declaration in Siegel, Toberoff said that
  these pages corresponded with Siegel Supplemental Privilege Log Entry Nos. 82 and 83:



  Entry Nos. 82 and 83 identify two July 11, 2003, transmittals from Laura to Toberoff—and
  makes no mention of a July 11 letter from Laura to Michael:




  Listing the document in this manner allowed Toberoff to suppress the July 11 letter for years by
  hiding it behind an allegedly privileged facsimile from Laura.

          f. DC spent tens of thousands of dollars—sending numerous letters, participating in
  several meet-and-confers, filing five sets of briefs, and appearing at oral arguments on the issue
  of the July 2003 letter—over a period of ten months. Your blithe assurances that DC has not
  been harmed by defendants’ and their counsels’ actions are not well taken. This is especially
  true give defendants’ and their counsels’ recent efforts to keep record evidence from the Ninth
  Circuit that directly refutes key factual positions they are taking before that Court.

           3. November 2, 2002, Letter. When DC received the May 2003 letter, it disclosed yet
  another communication between Michael and Laura that defendants had never produced, logged,
  or disclosed in this case or the Siegel case—a November 2, 2002, letter from Laura to Michael.
  DC requested that defendants produce the November 2 letter immediately after learning of its
  existence in April 2011. Docket No. 267-3 at 8. Toberoff represented that defendants could not
  “locate” the November 2 letter. Docket Nos. 267-2 ¶¶ 4-5; 267-7 at 18. DC pressed defendants
  to conduct a diligent search of all files in their possession, including Michael’s files, which were
  in Toberoff’s possession since 2006 when he handled the production of documents and
  preparation of privilege logs for both Bulson and Melvin Banchek, Michael’s estate
  administrator. Docket No. 267-1 at 9. Toberoff again said the letter could not be found, and
  Judge Zarefsky denied DC’s motion to compel it based on Toberoff’s representation that he
  “perform[ed] a diligent search of [defendants’] record, all of [defendants’] records.” Docket No.
  288 at 38:23-39:1; see also Docket No. 267-16 ¶ 4 (“After DC asked for a November 2, 2002
  letter from Laura Siegel to Michael Siegel, I caused my office to re-check our relevant case
  files.”).

         a. While you and Toberoff (in our in-person meeting) and Ms. Brill (in her recent letter)
  suggested that Toberoff did not obtain a copy of the November 2 letter until 2011, the facts show




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  otherwise. As you know, in late 2011—after all SLAPP briefing had been closed, and after DC
  had to send four letters and hold multiple meet-and-confers on the subject—defendants finally
  produced a privilege log for the electronic archive of Michael’s files that we only months earlier
  learned that the Renner Otto firm possessed. Among the new entries on the Bulson Archive Log
  that appear nowhere in the Michael Siegel-related logs in Siegel—which Toberoff prepared—
  was the November 2, 2002, letter from Laura to Michael. Docket No. 362-2 at 313 (Entry 399).

          Toberoff refused to produce the November 2 letter to DC, claiming he had not logged the
  document six years earlier because it was not part of Michael’s files he received in 2006, and
  claiming that the document was subject to attorney-client and common-interest privilege.
  Docket No. 412 at 7-11. Both these claims were specious. Judge Zarefsky rejected Toberoff’s
  privilege claims after an in camera review, Docket No. 451 at 5, and Renner Otto confirmed:

          I appreciate you making us aware of Mr. Toberoff’s 5/7/12 filing. I’ve spoken to
          Don Bulson and consulted the “Renner Otto [electronic] archive” referenced in
          [Toberoff’s] brief. To the best of my knowledge, the “Renner Otto archive” was
          the product of scanning Mr. Siegel’s paper files before they were forwarded to the
          attorneys for Mr. Siegel’s estate, and the documents in the “Renner Otto archive”
          and the paper file should be the same.

  Docket No. 427-2 at 4 (Renner Otto partner J. Ryland) (emphasis added); see also Docket No.
  362-2 at 319 (Renner Otto told DC that the electronic archive is an exact replica of the
  documents returned to defendants).

          At our recent meeting, and in the days after, you, Toberoff, and one of his associates have
  speculated—based on no hard evidence or facts—that somehow the November 2 letter, which is
  devastating for defendants, did not make it into the hard copy file that Toberoff received in 2006.
  Your July 20 letter says and does nothing to justify this speculation. As the facts all show, and
  as Judge Wright recently ruled in ordering Toberoff to produce another document from the
  Bulson log based on DC’s arguments of waiver, Docket No. 457, Toberoff possessed the
  November 2002 letter in 2006, and he chose first neither to produce it or log it in Siegel, next
  neither to produce it or log it in this case, and finally to lie about whether he possessed the
  document in briefing and oral argument before the Court. Toberoff’s recent motion for
  reconsideration on this issue, Docket No. 466, may assert that he engaged in no misconduct, but
  his words and actions in the Siegel case, including handling the document production for
  Mr. Banchek, all refute his current arguments. Again, notably, your firm did not join that recent
  brief that Toberoff filed.

          b. Defendants’ suggestion that the November 2 letter somehow supports defendants’
  positions in this case, and thus DC was not harmed by its suppression, are equally without merit.
  The November 2 letter not only directly contradicts factual assertions made by defendants in
  their briefing in this case, it directly supports DC’s claim that Toberoff used false promises of a
  “mysterious billionaire” investor to induce the Siegels to end their business relationship with DC
  and to do business with him instead. Docket No. 225-4 at 3; see also Docket Nos. 181 at 23-24;
  201 at 3-7; 205 at 17-20; 215 at 8-10. In the long-suppressed November 2, 2002, letter, Laura



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  herself writes: “My mother and I have had extensive meetings with Toberoff and Emanuel in the
  past few weeks. We learned that due to the delays and the misinformation Kevin had given them
  that there was a deal with DC, the billionaire investor who was offering $15 million up front plus
  participation thought it was a hopeless situation and invested his money elsewhere.” (Emphases
  added.) This (empty) $15 million offer by an alleged billionaire investor (who Toberoff’s
  discovery responses in this case show never existed) matches exactly the $15 million offer Kevin
  Marks said that Toberoff and Emanuel made to the Siegels in 2002. Docket No. 427-3 at 333-
  34. While Kevin Marks, in a narrowly crafted declaration, denied that Toberoff invoked the
  “billionaire investor” with him, this November 2002 letter from Larson is stunning,
  contemporaneous proof that Toberoff invoked this fake investor with her and her family. Laura’s
  recent denial that Toberoff invoked the “billionaire investor” with her, Docket No. 466, is
  directly belied by her own words in 2002, and casts her credibility, in general, in even greater
  doubt.

          Despite the November 2002 letter, which Toberoff has had in his possession since 2006
  (and Laura herself knows she wrote), defendants filed one brief after another in this case saying
  there was no proof—none—of DC’s billionaire-investor claims. You said this in your SLAPP
  briefs. Ms. Brill said this to us. And Toberoff said on January 8, 2011: “There are no
  documents related to an offer by a “billionaire investor” to purchase the Siegels’ Superman
  rights, because no such offer was ever conveyed…. DC’s overzealous quest to find non-existent
  documents based on frivolous allegations in an anonymous incoherent ‘hit piece’ is unworthy of
  DC and its counsel.” Docket No. 162-12 at 589. The prejudice here is palpable—your SLAPP
  brief on file with the Ninth Circuit right now disputes DC’s billionaire investor claim. Appeal
  No. 11-56934, Docket No. 8 at 53-54. And you have resisted any efforts to get evidence like the
  November 2002 letter before the Court. Id., Docket Nos. 25, 26. Defendants’ discovery
  misconduct has not only deprived the courts of key evidence, but it flouts Toberoff’s and his
  counsels’ duty of candor to the courts to make such arguments when you know such evidence
  was withheld. Indeed, Toberoff was well aware of this document well before the district court
  denied defendants’ SLAPP motion, and well before defendants’ filed their SLAPP appeal. Even
  under his false submission, Docket Ni. 466, he received the electronic archive from Bulson last
  year—and before Judge Wright ruled on the SLAPP motion, and before you and he filed your
  SLAPP briefs in the Ninth Circuit.

           c. Again, Ms. Brill’s and Toberoff’s efforts to argue how the document should be
  interpreted—and to (preview the false testimony Laura will proffer (were Toberoff not refusing
  to allow her to be deposed again)—do nothing to justify defendants’ discovery misconduct.
  Your claim now that Laura was using the term “billionaire investor” to “placate” Michael, who
  was “very confused,” is not only implausible on its face, but should have been the subjects of
  Laura’s depositions in Siegel and this case—which defendants prevented by not producing these
  documents, and now are seeking to prevent further by not allowing her to be examined about this
  document or her recent declaration.

         4. November 17, 2001, Email and the Renner Otto Bills. Toberoff’s production in late
  2011 of the Bulson Privilege Log listed for the first time another critical document: a November




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  17, 2001, email from Toberoff to Michael. That email showed that Toberoff had contacted the
  Siegel family well before he claimed to have done so in SLAPP briefs you filed. Docket No.
  145-1 at 23-24. Like the November 2, 2002, letter, Toberoff claimed the November 17, 2001,
  email had not previously been logged because it was not a part of Michael’s hard copy file
  returned to Toberoff in 2006. Docket No. 412. DC showed in its motion before the District
  Court that this claim was false, Docket No. 455, and Judge Wright ordered defendants to produce
  the November 17 email. Docket No. 457.

         Toberoff also forced us to incur needless costs to obtain Renner Otto’s bills—which also
  show that he contacted Michael Siegel well before he claimed. A Renner Otto billing entry from
  November 17, 2001—which took us months of effort and yet another motion, Docket No. 394 at
  10-13—confirm that Toberoff spoke to Bulson in November 2001.




  Docket No. 455-2 at 5. And as before, defendants’ recent efforts to explain away these harmful
  documents miss the point. Such explanations are no excuse for failing to produce responsive
  evidence.

          5. Other Defects In Toberoff’s and Defendants’ Privilege Logs. DC has successfully
  shown, again and again, that defendants’ privilege logs have been used to hide key, non-
  privileged documents by excluding important identifying information. And as the Ninth Circuit
  noted, Toberoff has also abused his position as a lawyer to assert privilege over business
  communications. In re Pacific Pictures Corp., 679 F.3d 1121, 1124, 1129, 1127 n.4 (9th Cir.
  2012).

         Yet another stark example of Toberoff manipulating the contents of his privilege logs to
  hide key facts—and to harm DC—is his failure to list Ari Emanuel as a recipient of
  communications with the U.S. Attorney’s Office. You claim that the failure to list Emanuel was
  inadvertent—and, in any event, inconsequential because these were “scheduling emails” that
  contain “absolutely nothing of any substance.”

           To begin, as Mr. Daum acknowledged during our meet-and-confer, this was not a one-
  time oversight or mistake. Both times Emanuel’s name should have appeared—on two separate
  entries, Docket Nos. 163-17 at 1038 (Entry Nos. 3158, 3159); 427-11 at 1137-41—Toberoff
  omitted Emanuel’s name. This is exactly the same pattern and practice of omitting damaging
  details that one sees when you look at Toberoff’s log entries for the May and July 2003 letters
  discussed above (buried and never listed), the November 2002 letter and November 2001 email
  (never listed), and other documents.




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          As for the notion that Emanuel’s inclusion in these discussions was unimportant, that is a
  farce. You represented to the Ninth Circuit that defendants and the USAO formed a common-
  interest agreement, documented by a letter you sent the USAO. Appeal No. 11-71844, Docket
  No. 1-1 at 9-11, 26-29. That letter never mentioned Emanuel, Docket No. 212 at 12-13, and had
  we obtained real privilege logs from defendants that showed that Toberoff had included Emanuel
  (not his or your client, and not part of your defense team) as part of the discussions with the
  USAO, we could have shown only how much more baseless defendants’ common-interest claims
  were.

           6. Toberoff’s Privilege Claims Made In Bad Faith. In Siegel, DC sought to discover
  communications between Michael, Bulson, Toberoff, and Laura relating to Toberoff’s efforts to
  secure Michael’s rights for the mysterious “investor” he claimed to represent. Toberoff asserted
  a common interest privilege over all communications with Michael—whether they resided in the
  files of the Siegels, their agents, or with Bulson. DC challenged this broad assertion of privilege.
  The district court in Ohio conducted an in camera review of 15 communications and ordered
  defendants to produce all 15 after rejecting Toberoff’s position that these documents were
  “clearly protected under the doctrine of the ‘common interest’” and were “classic privileged
  subject matter.” Docket No. 161-4 at 26, 27. The district court found:

          After reviewing all of the 15 documents, and the claimed joint interest privilege
          which has been asserted, the court finds that none of the 15 documents are subject
          to the attorney/client privilege based on the joint interest exception. First, the
          court finds that none of the 15 communications … are for the purpose of giving
          legal advice. Second, the court finds [that 13] communications … are not made in
          regard to the joint and common legal or defense strategy relative to ongoing or
          upcoming litigation. Finally, the court finds that the interest of Michael Siegel, as
          reflected in the 13 communications, is separate and apart from those of Joanne
          and Laura Siegel. These documents relate to the offers back and forth between
          Mike [sic] Toberoff, on behalf of an investor who wishes to purchase Michael
          Siegel’s interest and Bulson on behalf of Michael Siegel. Docket No. 161-5 at
          30-31 (emphasis added).

          Toberoff had no basis to assert privilege over these 15 documents, much less to claim that
  they were “clearly” protected and “classic” privileged material. We urge you, read each of these
  documents and please tell us if you can truly claim that Toberoff’s privilege claims are within
  bounds of reason. Each discusses a business deal over which attorney-client privilege does not
  remotely extend. For example, Bulson wrote to Toberoff in a June 18, 2003, letter: “I have
  discussed with Michael the offer you passed on from a potential investor who is interest in
  purchasing Michael’s interest in the Superman copyright. The amount offered is not acceptable
  to Michael.” Docket No. 161-8 at 57. Toberoff responded on August 6 stating he had a “high-
  end accountant get quotes for an annuity paying out the sums as set forth in Michael Siegels’
  long-awaited June 18, 2003, counter-offer regarding buy-out.” Toberoff went on to write that
  Michael’s counter-offer was “well over twice (230%) of the last Warner Bros. offer and nearly
  five times the investor’s original offer which I believe was based in large part on the last WB




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  offer, rejected by the Siege’s [sic].” Id. at 61. Toberoff then walked through all the reasons why
  Michael should accept his unnamed investor’s offer, and why Michael’s claims to the contrary
  were without merit. Id. at 61-62.

          Is it really your position that the objection to producing such documents was made in
  good faith? Or that the common-interest privilege claims Toberoff belatedly made over the
  November 2002 or July 2003 letters were made in good faith—and not intended to delay and
  deny DC discovery?3 As we will discuss below, your present positions on these questions (i.e.,
  that Toberoff did nothing wrong) make your compromise offer (i.e., let your firm, rather than a
  special master, make similar privilege calls in its sole discretion), an illusory one.

  II.       YOUR FIRM’S “COMPROMISE” PROPOSAL FALLS WELL SHORT.

          Your compromise proposal includes three parts—each of which is somewhat hard to
  follow, and none of which meets or satisfies DC’s concerns.

            A. Part 1. Your July 20 letter begins:

            First, counsel from [KBK] will independently review each document created
            prior to October 8, 2004 (the date the Siegel litigation commenced) that is listed
            on the privilege logs submitted in this action. If, in the independent judgment of
            KBK, privilege does not apply to any logged document, that document will be
            produced promptly to DC. (Emphases added.)

  There are three significant problems with this proposal.

          First, it confines itself to documents “listed on the privilege logs submitted in this
  action.” As shown above, none of the May 2003, July 2003, November 2002, or November
  2001 correspondence was ever “listed” on logs. The May and July 2003 documents were hidden
  behind other entries. The November 2002 and November 2001 documents appeared nowhere—
  they were not even buried behind other entries—until after (a) we uncovered that the Renner
  Otto firm kept an electronic copy of the Michael Siegel documents; and (b) Renner Otto itself
  agreed to create new logs (at DC’s expense) that listed each and every document in its
  possession. You have given us no express assurances that your review would include documents
  like the May and July 2003 letters (which were buried, but not “listed” on logs) and you have
  come up with no protocol to make sure documents like the November 2001 and November 2002
  correspondence do not exist. Again, it is your duty as counsel in this case to make sure that your

        3
        For example, Toberoff asserted the November 2 letter from Laura to Michael was protected
  by a common-interest privilege, Docket No. 412 at 7-11, chastised DC for engaging in “self-
  serving speculation” about its contents, and asserted that the letter concerned “legal and
  settlement strategies vis-à-vis DC/Warner that is squarely within the common interest privilege,”
  id. at 10. Judge Zarefsky rejected those claims, and for good reason: the November 2 letter is
  yet again Laura trying to get Michael to do business with Toberoff—the very same non-
  privileged subject matter rejected by the Ohio court.



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  clients are fulfilling their discovery obligations. (Our previous letters on these issues make that
  plain.) We will not make trades that alleviate your firm of this duty—which is only heightened
  in this case, given the extensive misconduct in which your clients have engaged.

          Second, the October 2004 cut-off you propose is unworkable. Toberoff has shown a
  propensity to bury privileged documents in time-periods other than those listed on the face of his
  logs, supra, and the October 2004 cut-off excludes several critical categories of documents—
  among them, communications involving David Michaels starting in 2006; with Michael before
  his death in 2006; regarding the 2008 Consent Agreement and related conflict disclosures and
  waivers; and regarding the USAO-related issues from 2010.

          Third, with all respect, we cannot rely on KBK’s “independent judgment” about what is
  privileged or not, given the positions you have taken so far in this case—and particularly in
  defending (often blindly, and based on no hard facts) Toberoff’s conduct. See supra Part I.

          B. Part 2. The next part of your proposal is:

          Second, KBK will prepare amended privilege logs. If DC Comics agrees to
          provide subject-matter descriptions in the privilege logs it is to submit in this
          action, Defendants will also provide subject-matter descriptions on their privilege
          logs, even though the Court ruled that it need not do so. See Docket No. 209 at
          13. Regardless of whether or not the subject matter descriptions are included, if
          any logged entry fails to list any recipient of a privileged document, the logs will
          be appropriately amended. (Emphasis added.)

  There are four significant problems with this proposal.

         First, you again focus on amending “logged entries”—not amending the logs to include
  any and all documents whether previously logged or not, and providing full and complete
  bibliographic information for each. This may be a drafting issue with your recent letter, but
  given the way defendants have improperly parsed words to deny DC documents in the past, we
  can permit no ambiguity.

          Second, DC’s discovery responses are not remotely an issue here—and as was revealed
  by your comments at our recent meeting, and by your letter, you are not even aware of the
  substance of DC’s discovery responses. Each already provides a “subject matter” line-item
  entry; defendants provide none, and never have.

          We understand from our meeting that Marc seeks further log entries from DC flagging
  any communications regarding the Toberoff Timeline. Defendants already possess Wayne
  Smith’s declaration in Siegel setting forth the precise circumstances of DC’s receipt and handling
  of the Timeline documents, and Judge Zarefsky’s ruling finding that Mr. Smith acted
  appropriately and professionally. Case No. CV 04-8400, Docket Nos. 108; 177 at 19:3-7.
  Moreover, to put this issue to rest, there are no documents or communications that relate to the
  Timeline that predate June 28, 2006.



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          If defendants want to finalize the privilege logging stipulation that we completed only in
  part in 2010, we are happy to do so. To be clear, however, defendants cannot use that stipulation
  as a chit to avoid the full relief DC now seeks from defendants, in the form of a full document
  production, fully redone privilege logs, and special master both to police that process and to
  make recommendations about the appropriate sanctions to impose on defendants given the grave
  prejudice they have cause.

           Third, defendants and their counsel are already under a legal obligation to amend their
  logs, and every day they fail to do so, the need for and propriety of the fullest sanctions becomes
  all the more appropriate. That the court in Siegel—without any close examination of the logs, the
  documents contained therein, or the many examples of discovery abuse exposed in this case—
  held that defendants’ privilege logs were consistent with the Ninth Circuit default standards is
  irrelevant. As you know, the Siegel court issued its rulings before the Ninth Circuit called
  Toberoff out for failing to produce non-privileged business documents that he falsely claimed
  were privileged. Pacific Pictures, 679 F.3d at 1129, 1127 n.4. Moreover, the Rutter section on
  which defendants and the Siegel court relied says that more details are needed, including that
  “[a]ny attachment to an allegedly privileged document should be listed separately from the
  document to which it is attached.” W. SCHWARZER, ET AL., RUTTER GROUP PRACTICE GUIDE:
  FED. CIV. PROC. BEFORE TRIAL § 11:1921 (2012) (“Rutter”). Finally, the record plainly shows
  that Toberoff has violated this rule (and other rules) time and again—the May and July 2003
  letters, and July 5, 2003, draft letters are all examples of this, as are the Emanuel log entries.

           Fourth, “if any logged entry fails to list any recipient of a privileged document, the logs
  will be appropriately amended.” It is unclear what you mean by “appropriately amended.” And
  Toberoff’s misconduct in preparing defendants’ privilege logs is, as you know, not limited to his
  failure to list all recipients. He has also failed to log certain documents at all, and has
  improperly grouped multiple documents together and listed them as one. At a bare minimum,
  any log would need to comport with the Rutter Guide format set forth at, e.g., Rutter §§ 11:1914-
  21 (e.g., “Listing each e-mail separately is crucial where different e-mails in the strand
  potentially raise different privilege grounds.”; “Any attachment to an allegedly privileged
  document should be listed separately from the document to which it is attached.”).

          C. Part 3. You lastly say:

          Third, KBK will conduct a reasonable, independent search concerning documents
          in the second “bucket”: that is, documents identified by DC that are referred to in
          other communications but which have not been located and produced, such as the
          October 2, 2002 letter, and KBK will confirm to DC the records searched and the
          results of this search. If any such documents are found following this search, they
          will promptly be produced or, if privileged, appropriately logged. To date, the
          October 2, 2002 letter is the only such document identified by DC. However, if
          there are other such documents sought by DC, please let us know at once, and we
          will look for them as well.

  There are a number of problems with this proposal as well.



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          First, it ignores the “third bucket” of documents that we discussed at our meeting, as does
  the thrust of your letter. This third bucket is defendants’ Superman-related files in general. It is
  comprised of documents over which defendants or their agents have possession, custody, or
  control, and have not produced or logged, no matter the reason—be it claims the documents are
  not responsive to DC’s requests in this case and/or in Siegel, Toberoff wanted to suppress them,
  etc. Your firm has never conducted a review of these materials, yet, as you know, Toberoff has
  withheld documents in the past on a number of improper grounds. This includes the Don
  Bulson-related materials. It also includes his withholding clearly relevant documents as non-
  responsive, based on intentionally narrow interpretations of DC’s requests. One example of
  this—and one that caused us to have to re-open the deposition of a witness—was Jean Peavy’s
  will. Docket Nos. 360, 377.

          While you say that KBK will conduct a search for further responsive documents, you
  qualify this by saying it will do only if KBK finds in its review “information suggesting that any
  other responsive documents exist.” Both your firm’s normal legal obligations that apply in any
  case, as well as all of the misconduct that has occurred here, is more than enough to “suggest[]
  that any other responsive documents exist.” KBK must review all documents in defendants’
  possession, custody, and control in conducting this review, to ensure documents are not
  omitted—including files held by Toberoff, his entertainment companies, and the documents
  Toberoff has obtained from third parties. This includes, among other sources, the boxes of
  documents Laura found after Joanne’s death and gave to Toberoff; the file cabinet or safe where
  Mark Peary keeps “important documents, including the 2008 Consent Agreement”; and the
  “boxes of divorce, copyright and financial paperwork” referenced in Laura’s November 2 letter.
  This must be a comprehensive review and cannot in any way rely on Toberoff’s representations
  regarding his purported prior searches for documents.

         Second, there are a number of documents that your firm can and should be looking for
  and producing. This includes the:

          •   October 2, 2002, Michael letter to Laura: The November 2, 2002, letter disclosed yet
              another document defendants had never produced or log in this case or in Siegel—an
              October 2, 2002, letter from Michael to Laura. Toberoff claims defendants do not
              possess the October 2 letter, but similar claims have consistently proven to be false.
              KBK must conduct an independent search for this document and cannot rely on
              Toberoff’s representations. As you start your search, we note from Don Bulson’s
              billing entries (only recently produced) that on September 4, 2002, Bulson was
              working on a “draft letter.” See below:




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              Toberoff redacted the subject matter of the letter on which Bulson was working and
              all work that Bulson did that followed on September 20, 2002. This very well could
              be a draft of the October 2, 2002, letter, and if Bulson helped work on it, it very well
              exists in his files—either in draft or final form. We assume defendants have no
              objection to the Renner Otto firm searching for and producing this October 2002
              letter if they can find it, or even drafts if the final does not exist. Please let us know
              immediately. We also note that the Bulson privilege log finally produced in 2011
              mentions communications between Michael and Bulson during this September-
              October 2002 time period, including two communications on October 1.




              So, too, do later billing entries, which mention Bulson reviewing a “Letter from
              Laura” on September 29, 2002, and doing fully redacted work on October 1, 2002,
              the day before the October 2 letter was sent. Bulson also had a long meeting with
              Michael on October 5.



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          •   2008 Consent Agreement and Drafts: KBK can and must review the 2008 consent
              agreement and any drafts. The only basis for defendants not producing the 2008
              consent agreement was Toberoff’s self-serving and unsubstantiated claim to Judge
              Larson that the entire document was privileged (which must be contrasted with
              Toberoff’s recent claims that he was not a party to the agreement at all). Judge
              Larson accepted this representation at face value, neither he nor Judge Zarefsky ever
              review the document in camera, and Judge Zarefsky held he was bound by Judge
              Larson’s ruling absent new facts. Those new facts have emerged. Larson and Peary
              have openly discussed certain contents of the consent agreement in depositions since
              Judge Zarefsky’s ruling, and their testimony confirms that the consent agreement—at
              least in part—documents business agreements about when and how the Siegel and
              Shuster family can deal with DC. Docket Nos. 163-11 at 722:2-10; 160 at 25-26, 50-
              52; 147-1 at 2. Since Judge Zarefsky’s ruling, Toberoff’s claims of privilege have
              also proven to be highly unreliable at best, supra Part I, and the Ninth Circuit
              specifically recognized that he was suppressing non-privileged business documents
              claiming they were privileged, Pacific Pictures, 679 F.3d at 1129. The emergence of
              documents like the May and July 2003 letters, and November 2002 letter all confirm
              this is the case—as do the Ohio court’s rulings.

              KBK must review the consent agreement and either produce the document (redacted
              if necessary) or represent to DC or a special master that in its view as well the
              document is privileged in its entirety—meaning, that no part of the 2008 consent
              agreement contains business terms or agreements between the Siegels, Shusters,
              and/or Toberoff or his entertainment companies.



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          •   Documents identified in Timeline that Have Never Been Produced or Logged: DC
              requested in December 2010 that defendants produce two additional documents
              identified in the Timeline: (1) a December 16, 2002, letter from Marc and
              Mr. Emanuel to Joanne and Laura; and (2) a September-October 2003 letter with
              Mr. Emanuel. Docket No. 162-9 at 577 n.1. Marc claimed defendants were unable to
              identify a document that “matched” either of these descriptions. Docket No. 162-10
              at 581-82. It has been shown over and over that the Timeline accurately describes
              documents. While Toberoff has played games about what documents “match” or not,
              we need a reasonable and diligent search for all documents described in the Timeline.
              This means looking both at the date of the documents, as well as their contents to see
              if they fairly match.

          •   Conflict Disclosures, Waivers, and Similar Documents Addressing the Conflict of
              interest between Toberoff and the Siegel and/or Shuster heirs: Defendants have
              represented that Toberoff disclosed potential and actual conflicts of interest to the
              Siegels and the Shusters at various times in their relationships and the heirs executed
              conflict waivers. This includes at the time of entering into the Pacific Pictures
              agreements, the IP Worldwide agreements, and the 2008 consent agreement.
              Defendants have never produced these documents and refuse to identify where they
              are listed (if at all) on their logs. This is a whole category of documents that needs
              carefully to be reviewed to ensure Toberoff is not hiding business communications
              among them. And as you know, the terms of retention are not privileged and must be
              produced—even if documents need to be redacted to do that.

          •   Drafts of the Pacific Pictures Agreements with the Shusters (2001 & 2003): No drafts
              have ever been produced to DC nor has Toberoff identified where such drafts appear
              on defendants’ privilege logs, if at all.

          •   Drafts of the IP Worldwide agreements with the Siegels: No drafts have ever been
              produced to DC nor has Toberoff identified where such drafts appear on defendants’
              privilege logs, if at all.

          •   Siegel Retainer Agreement: Defendants produced to DC a heavily redacted copy of
              the Siegels’ October 2004 retainer agreement with Marc (LSL00213-20). Toberoff
              claims the redactions relate to the provision of legal advice. Yet, Laura testified at
              her deposition that the initial retainer agreement was amended shortly after it was
              executed to reflect that Mr. Emanuel’s role had come to an end with the filing of the
              Siegel litigation. Docket No. 305-24 at 807:16-814:7. There is no basis to redact this
              purely business-related information.

              In addition, the Siegel agreement is similar to the boilerplate form in Rutter. See
              PAUL W. VAPNEK ET AL., CALIFORNIA PRACTICE GUIDE: PROFESSIONAL
              RESPONSIBILITY FORM 5:C (2010). Assuming that the redacted portions generally
              correspondence to the boilerplate Rutter form, the redactions would appear to be




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              overbroad. To the extent the redacted material includes provisions between the
              Siegels and Shusters, as well as their counsel, setting forth arrangements or
              agreements regarding settlement, such material should not have been redacted—such
              contractual arrangements are not privileged and are directly relevant to DC’s claims
              in this case. See Docket No. 160 at 11:27-12:18; Calvert v. Stoner, 33 Cal.2d 97, 103
              (1948) (agreement preventing settlement without attorney consent void); Nehad v.
              Mukasey, 535 F.3d 962, 970 (9th Cir. 2008) (“Only the client … may decide whether
              to make or accept an offer of settlement.”).

              It is incumbent upon KBK to review the Siegel agreement and verify the propriety of
              Toberoff’s privilege claims. If the redacted contents do not reflect legal “advice
              given,” but rather contractual arrangements, limitations on settlement, or other non-
              privileged material, such material must be produced to DC.

          •   Shuster Retainer Agreement: Defendants similarly produced a heavily redacted copy
              of the Shusters’ 2004 retainer agreement with Marc (dated “As of November 23,
              2001) (MWP00054-57). For the same reasons, it is incumbent upon KBK to review
              the Shuster agreement and verify the propriety of Toberoff’s privilege claims.

          •   Communications with David Michaels: Toberoff identified for the first time in
              interrogatory responses and privilege logs provided to DC in January 2011, that
              Mr. Michaels communicated with the Siegels in late 2005 in an attempt to “steal”
              them as clients from Toberoff. Toberoff refused to produce the documents, claiming
              the communications were privileged despite that Mr. Michaels was no longer
              employed by Toberoff & Associates when the communications were sent and
              defendants accused Mr. Michaels of “disparaging” Marc in his communications.
              Toberoff represented that the communications were made in connection with Mr.
              Michaels’ potential representation of the Siegels, and discussed their case. Judge
              Zarefsky denied DC’s motion to compel the Michaels-Siegel communications based
              on Toberoff’s representations concerning the privileged nature of the documents.
              Docket No. 262 at 4. As we have seen, Toberoff’s representations cannot be trusted
              and you and/or the special master should review them, like the documents above and
              below.

          •   May 13, 2003, letter: When Toberoff produced the May 13 letter to DC, he redacted
              unidentified portions of it without explaining what had been redacted or why. The
              Court’s order did not invite defendants to redact the May 13 letter and defendants
              waived any privilege that might otherwise have existed by not listing the document
              (in whole or as redacted) on a privilege log. E.g., Burlington N. & Santa Fe Ry. Co.
              v. U.S. Dist. Ct., 408 F.3d 1142, 1149-50 (9th Cir. 2005); Vieste, LLC v. Hill
              Redwood Dev., 2010 WL 4807058, at *9 (N.D. Cal. Nov. 18, 2010).

              When DC asked Toberoff to clarify the scope and basis for defendants’ redactions, he
              would say only that the redacted material consisted or marginalia and underlining by




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              an unnamed attorney. This does not meet defendants’ burden of proving the elements
              of a privilege claim, given, as they claim , they do not know who made the redacted
              notations, or when, or why. See U.S. v. Ruehle, 583 F.3d 600, 608 (9th Cir. 2009)
              (“The party asserting the privilege bears the burden of proving each essential
              element.”); Martin, 278 F.3d at 999-1000 (laying out elements); Williams v. Adams,
              2009 WL 1220311, at *7 (E.D. Cal. May 4, 2009).

              KBK must review the unredacted copy of the May 13 letter and verify the redactions
              made by Marc are appropriate.

          •   Agreements with Mr. Emanuel: Defendants keep stating that Mr. Emanuel has no
              continuing financial interest in any recovery by the Siegel and/or Shuster heirs
              pursuant to their Superman and/or Superboy termination notices. What defendants
              refuse to answer is whether Mr. Emanuel retains an interest in monies received by
              Toberoff or his entertainment companies from this case, representation of the Siegel
              and/or Shuster heirs, or any contingent interest Toberoff has in Superman and/or
              Superboy rights.

              Defendants’ recent disclosure that Mr. Emanuel was involved in the grand jury
              investigation of the Timeline author suggests he continues to retain an interest in
              Superman and/or this litigation. DC is entitled to discover what that financial interest
              is and the business arrangement between Mr. Emanuel and Toberoff.

                                            *       *       *

          Given the severity of defendants’ discovery misconduct—and your refusal to directly
  acknowledge or remedy it—DC will have to ask the Court for significant relief. This includes
  appointing a special master to make sure all responsive documents are produced without delay,
  defendants’ privilege logs are full and complete, legitimate privilege claims can be fully and
  fairly ventilated, and that the Court can remedy the significant prejudice defendants have caused.

          Your claim that the Court has rejected DC’s call for a special master is erroneous—DC
  has never moved to appoint a special master, and in any event, defendants’ discovery misconduct
  plainly satisfies the “exceptional circumstances” required to appoint one. FED. R. CIV. P. 53(a).

          As we have noted, and you have yet to agree to, the Renner Otto firm should also be
  asked to prepare a complete log of the electronic archive of Michael Siegel’s file that lists all
  bibliographic information for each document in the file. DC has agreed to pay the reasonable
  costs for this work, and we can only hope you agree Renner Otto can proceed, since you made no
  objection in your July 20 letter.

            Finally, if your firm makes a significant move in its position shortly, we will consider not
  filing the motion. Your July 20 letter and proposal is unacceptable, however, mainly because of
  its first premise—that no material, intentional, or prejudicial misconduct has occurred here. That
  position is neither sustainable under the facts of this case, nor the relevant case law.



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                                                  Very truly yours,
                                                   /s/ Matthew T. Kline
                                                  Matthew T. Kline
                                                  of O’MELVENY & MYERS LLP

  cc:     Daniel M. Petrocelli, Esq.
          Marc Toberoff, Esq.
          Defense Counsel

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                                                 ID #:31621
                                                                                                         writer’s direct:
                                                                                                         310.272.7900 telephone
                                                                                                         310.272.7936 facsimile
                                                                                                         rkendall@kbkfirm.com




  August 24, 2012



  Via E-Mail

  Matthew Kline, Esq.
  O’Melveny and Myers LLP
  1999 Avenue of the Stars, 7th Floor
  Los Angeles, CA 90067

  Re:       DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

  Dear Matt:

  I write in response to your August 7, 2012 letter regarding DC’s contemplated motion to appoint
  a special master to review defendants’ privilege logs and underlying documents, and our firm’s
  offer to review the same.

  First, let me be clear about the role of Kendall Brill & Klieger ("KBK") to date in this litigation.
  As you know, KBK does not represent the Siegel or Shuster heirs, who are clients of Mr.
  Toberoff. KBK represents Mr. Toberoff and his entities with respect to the claims DC has
  brought against them in this action. In that regard, and as we have repeatedly discussed,
  defendants have divided the responsibilities of co-counsel in this matter. While KBK has been
  involved in briefing key substantive motions and appellate issues, KBK did not handle document
  production or the preparation of privilege logs. While we note your recent position that Mr.
  Toberoff is not entitled to engage KBK as his counsel to perform specific tasks while retaining
  responsibility for discovery, we have advised you in previous correspondence that we do not
  agree with your analysis of the law.

   Second, as we have also discussed, Mr. Toberoff has agreed, on a going-forward basis, if it will
   help to resolve or at least narrow the discovery disputes between the parties, to broaden the scope
   of KBK’s role in the case. Mr. Toberoff has agreed to engage KBK to review, for the first time,
   all of defendants’ assertions of privilege in this matter, and to prepare revised and updated
   privilege logs concerning the same to the extent, in our independent judgment, such revisions are
   appropriate. However, defendants are not willing to undertake the expense of paying for KBK’s
   time in reviewing the discovery produced to date in this litigation, and KBK is not willing to
   undertake this responsibility, if DC is determined to demand the appointment of a special master
   regardless of the substantial efforts to be made by defendants in general, and KBK in particular,
   to address and alleviate DC’s purported concerns and to resolve any remaining discovery issues.




 Kendall Brill & Kileger LLP
                                                      EXHIBIT 7
  10100 Santa Monica Blvd. Suite 1725 Los Angeles, CA 90067 telephone 310.5562700 facsimile 310.556.2705 www.kblcfirrn.com
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           Third, your letter consists of more than 20 pages of repeated incendiary accusations against Mr.
           Toberoff, all of which you have made before. Each of these accusations has been ventilated at
           length in correspondence between the parties, and the majority of these accusations have been
           the subject of extensive motion practice before the Court and multiple Court rulings, many of
           which, I note, were decided in defendants’ favor. There is no need in this letter to rehash these
           accusations, Mr. Toberoff’s responses, your (and your predecessor counsel’s) extensive
           correspondence with Mr. Toberoff concerning discovery issues since 2006, or the many prior
           court orders upholding Mr. Toberoff’s positions and, occasionally, DC’s positions.

           Rather, the purpose of this letter is to address the concerns you raised regarding my detailed July
           20 proposal to resolve any remaining disputes. Each of your concerns can be readily and
           entirely addressed, as shown below. In short, Mr. Toberoff will authorize KBK to perform a
           complete review designed to give you and the Court full confidence that all responsive non-
           privileged documents have been produced, and that defendants in this case have prepared and
           produced accurate and complete privilege logs.’

           At the completion of KBK’ s review, defendants are willing to agree to a streamlined and
           expedited review of any remaining issues concerning defendants’ assertions of privilege. Such
           an expedited review could be made by Magistrate Judge Zarefsky, who has years of experience
           with discovery in this matter or, if necessary and appropriate once the issues are clear, a special
           master. The goal of involving KBK in this process would be to once and for all provide the
           basis for fully resolving any remaining issues concerning discovery and privilege logs in this
           matter.

           I.        THE KBK REVIEW PROPOSAL AND DC’S RESPONSE

                     A.     Part I

           Part I of our proposal offered the following:

                     First, counsel from Kendall, Brill & Klieger LLP ("KBK") will independently review
                     each document created prior to October 8, 2004 (the date the Siegel litigation
                     commenced) that is listed on the privilege logs submitted in this action. If, in the
                     independent judgment of KBK, privilege does not apply to any logged document, that
                     document will be produced promptly to DC.

            DC raised two concerns about this proposal.

                    1.      DC complained that the proposal was limited to documents "listed on the
            privilege logs submitted in this action" (8/7 Letter at 18). However, this was not the intent of

            1
             References to the term "privilege" or "privileged" in this letter refers to attorney-client
            privilege, work product protection, common interest privilege and other discovery protections or
            immunities.



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         KBK’s proposal. Rather, KBK is offering to review all documents (whether or not specifically
         identified on a privilege log) that defendants have withheld on the basis of privilege in this case
         during the relevant time period. This would include both defendants’ privilege logs as well as
         the Renner Otto logs.

         As part of this review, KBK will review for privilege all attachments (if any) to all documents
         listed as entries on the logs. To the extent such attachments have not been separately listed on
         any privilege log, KBK will separately log any such attachment, or if non-privileged, KBK will
         produce such attachment.

         This directly addresses DC’s stated concern - if any document dated during the relevant time
         period has been withheld from production on privilege grounds, whether as an original document
         or as an attachment, KBK will duly review it for privilege, and either produce such a document,
         or (if necessary) update the privilege logs concerning it.

         Furthermore, if such review reveals any evidence suggesting that any additional responsive
         documents exist that have not been produced, KBK will conduct a diligent search to identify
         such responsive documents, and will endeavor to produce them promptly.

                 2.      DC’s second stated concern is that the "October 2004 cut-off excludes" (1)
         communications with David Michaels, (2) certain communications with Michael Siegel, (3)
         communications regarding the 2008 "consent agreement," and (4) communications with the
         USAO from 2010. 8/7 Letter at 19. KBK will agree to review all logs, and correspondence flies
         related thereto, insofar as they concern any such communications. That should entirely resolve
         DC’s stated concern.

                   B.     Part 2

         Part 2 of our compromise proposal offered the following:

                   Second, KBK will prepare amended privilege logs. If DC Comics agrees to provide
                   subject-matter descriptions in the privilege logs it is to submit in this action, Defendants
                   will also provide subject-matter descriptions on their privilege logs, even though the
                   Court ruled that it need not do so. Sec Docket No. 209 at 13. Regardless of whether or
                   not the subject matter descriptions are included, if any logged entry fails to list any
                   recipient of a privileged document, the logs will be appropriately amended.

         DC raised three concerns about this proposal.

                 1.      DC again raised the issue of documents not listed on privilege logs. That has
         been addressed above in Section I.A. 1. Again, all documents as described above and held on the
         basis of privilege will be reviewed, and will be separately logged; if any non-privileged
         responsive documents are found that have not been produced, such documents would, of course,
         be produced.




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                  2.     DC asserts that the "substance of DC’s discovery responses ... already provides a
          ’subject matter’ line-item entry" (8/7 Letter at 19). We understand, however, that DC has failed
          to provide any privilege logs in this case. Regardless, defendants will agree to provide subject-
          matter descriptions on their privilege logs consistent with the subject matter descriptions on the
          logs provided by DC in Siegel. Accordingly, the amended logs will provide subject-matter
          descriptions consistent with DC’s own practices. This should entirely resolve this issue.

                  3.      DC argued that (a) each part of a "chain" of e-mail communications should be
          listed separately and (b) attachments to communications should be listed separately. This issue
          has been the subject of extensive motion practice in the matter. See, e.g., Docket Nos. 209, 252.
          Nonetheless, KBK will agree to provide amended logs in a format consistent with the Rutter
          guide, § § 11:1914-21, cited by DC. To be clear, defendants will log each part of a "chain" of
          email communications separately, and will separately log any attachment to a document, such as
          an attachment to a fax.

                    C.     Part 3
          Part 3 of our proposal offered the following:

                    Third, KBK will conduct a reasonable, independent search concerning documents in the
                    second "bucket": that is, documents identified by DC that are referred to in other
                    communications but which have not been located and produced, such as the October 2,
                    2002 letter, and KBK will confirm to DC the records searched and the results of this
                    search. If any such documents are found following this search, they will promptly be
                    produced or, if privileged, appropriately logged. To date, the October 2, 2002 letter is the
                    only such document identified by DC. However, if there are other such documents sought
                    by DC, please let us know at once, and we will look for them as well.

          DC raised two basic concerns about this proposal.

                   1.      DC demanded that KBK conduct a review not only of documents that have been
          specifically put at issue, but also review "defendants’ Superman-related files in general." 8/7
          Letter at 21. Defendants’ "Superman-related files in general" consists of millions of pages of
          documents, the overwhelming majority of which are litigation documents, drafted, served or
          filed directly in connection with this litigation or the Siegel litigation. There is no basis for
          reviewing all such documents; nor is it appropriate to re-create defendants’ entire document
          production from scratch, spanning nearly eight years of litigation. As set forth above, if there is
          any evidence whatsoever that any responsive, non-privileged documents exist that have not been
          duly produced, KBK will conduct a diligent search for such documents, and if located will
          produce or duly log them, and will describe its search to DC.

                   2.      DC raised concerns about assorted documents, most of which were already
           addressed and resolved by motion practice in this litigation. Nonetheless, KBK, without
           assenting to a re-opening of Judge Larson’s, Judge Zarefsky’s, or Judge Wright’s discovery



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         rulings, or conceding any of DC’s arguments on these subjects, will agree to search for these
         documents, as set forth below.

         October 2, 2002 Letter from Michael Siegel to Laura Siegel Larson: KBK will search for the
         October 2 letter, including in Renner Otto’s electronic archive of Michael Siegel’s files, based on
         DC’s representations in its current letter. If any such letter is found, and it is not privileged, it
         will produced.

         Renner Otto Billing Entries: DC seems to object to redactions to billing entries (8/7 Letter at
         16), but given that those were set by the Court after in camera review (Docket No. 451), and that
         DC did not seek review of that order, there is no basis for DC’s objection. Nonetheless, KBK
         will independently review these redactions.

         2008 Consent Agreement and Drafts: DC’s motion to compel on this issue was denied, as was
         DC’s motion for review. Docket Nos. 209, 252. KBK is nonetheless willing to independently
         review the 2008 Consent Agreement and drafts thereof that were communicated to the parties
         thereto (if any) for privilege.

         Documents Identified in the "Timeline": KBK will conduct a diligent search for the purported
         December 16, 2002 letter and the purported September-October 2003 letter, and, if such
         documents are identified and are non-privileged, they will be produced.

         Conflict Waivers: DC’s motion to compel on this issue was again, denied. See Docket No. 209,
         252. Nonetheless, KBK is willing to search for and independently review for privilege conflict
         disclosures, waivers, and other documents addressing potential conflicts between Mr. Toberoff
         and the Siegel and Shuster heirs.

         Siegel and Shuster Retainers: DC’s motion to compel on this issue was also denied. See Docket
         Nos. 267, 285. Nonetheless, KBK is willing to independently review the redactions made to the
         Siegels’ and the Shusters’ retainer agreements with Mr. Toberoff.

         Communications with David Michaels: DC’s motion to compel on this issue was likewise
         denied. See Docket Nos. 205, 262. Nonetheless, KBK is willing to search for and independently
         review for privilege the communications between David Michaels and the Siegels.

         Redactions to the May 13, 2003 letter: DC’s motion to compel on this issue was also denied.
         See Docket No. 267, 285. KBK is nonetheless willing to review for privilege the redactions
         made to the May 13 letter when it was produced to DC.

         Agreements with Mr. Emanuel: KBK is willing to search for and review for privilege
         agreements between Mr. Emanuel and Mr. Toberoff, his "entertainment companies," the Siegels
         and the Shusters, which relate to the Siegels, the Shusters, Superman and/or Superboy, if any
         exist that have not been produced.




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         To be clear, if it is necessary to amend the privilege logs to reflect claims of privilege based on
         the above-mentioned review, the logs will be amended. If responsive, non-privileged documents
         are identified, they will be produced promptly. The above, in addition to the proposal in my July
         20, 2012 letter, directly addresses and remedies each and every one of DC’s specific concerns as
         stated in your letter of August 7, 2012. If, following KBK’s review, DC does not agree with any
         remaining assertion of privilege, defendants will agree to an expedited procedure for resolving
         any such issues. Accordingly, KBK’s proposal, if accepted, offers a way to expeditiously and
         finally resolve DC’s remaining discovery concerns.

                   D.   Purported Concerns With KBK’s Review

         Beyond the specific concerns DC has raised, DC states that it "cannot rely on KBK’s
         ’independent judgment" about privilege determinations. That statement is utterly without
         basis. 2 DC has no grounds whatsoever for drawing conclusions as to KBK’s "independent
         judgment" concerning matters of privilege. As we have advised you on multiple occasions,
         KBK has made no independent determination of privilege in this matter, and has performed no
         work whatsoever to date related to Defendants’ privilege logs.

         You suggest that there is something improper in two of the arguments that our firm has made:
         first, that the Timeline is unreliable and second, that there is no basis in the evidence for DC’s
         claim (in its Complaint) that Mr. Toberoff purportedly conveyed a fraudulent offer from an
         unknown "billionaire" investor to Laura Siegel Larson and her mother concerning Superman
         rights, and no evidence that any such offer could have caused Laura and her mother to cease its
         negotiations with DC in 2002. However, both of these statements are not only accurate, but
         have been conclusively demonstrated by the evidence. The Timeline is clearly unreliableit
         describes events that did not occur, misinterprets events that did happen, and is based on hearsay,
         innuendo and outright fabrications. The Timeline also refers to documents that apparently (a) do
         not exist (e.g., supposed communications or agreements with Ari Emanuel) or (b) do not exist as
         described (e.g., there is no "July 5 letter" from Laura to Michael, although there is a July 5 draft
         of a letter sent at a later date that was logged).



         2
          It is ironic that your firm, of all firms, would claim (with no facts to support the accusation) that
         our firm cannot be trusted to discharge its discovery obligations to the court and opposing
         counsel. As you noted during our recent meet and confer, my partner, Robert Klieger, was
         forced to seek extraordinary discovery sanctions against your firm and its client based on
         egregious discovery misconduct committed by a team of partners and associates in your own
         Entertainment and Media Litigation practice group. As you recall, the Court determined in that
         matter that your practice group’s representations to the Court about discovery matters were
         "seriously misleading and obfuscatory." See Win gnut Films v. Katja Motion Pictures Group, CV
         05-1516-RSWL SHX, 2007 WL 2758571, at 10,11 and passim (C.D. Cal. 2007). Ihave
          enclosed a highlighted copy of that decision for your reference.




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           As to the references to the "billionaire" investor, the claim that Toberoff made a fraudulent offer
           to Laura and her mother from a purported "billionaire" investor (as opposed to the genuine $15
           million offer from Ari Emanuel, about which DC has known for years), and that this offer caused
           Laura and Joanne Siegel to break off negotiations with DC in 2002, is simply not supported by
           the evidence. Indeed, the November 2, 2002 and July 11, 2003 letters, which you quote out of
           context, make it abundantly clear that (a) Toberoff had nothing whatsoever to do with the
           decision of Laura and Joanne Siegel to reject DC’s settlement, and (b) there was no offer aside
           from the $15 million offer which DC has long known about and which all the relevant witnesses
           have testified to. To be clear, what Laura Siegel wrote was the following:

                     We were shocked by the change of attitude we saw in Bruce Ramer and Kevin
                     Marks from the time we retained them to recent months. In the beginning they
                     appeared to be very much on our side, determined to get justice for us and they
                     vowed to work hard for us in negotiations versus DC and AOL Time Warner.
                     Toward the end of 2001, there was a shift.

                     They started pressuring us to lower our expectations and to take an offer we did
                     not want. They increasingly seemed to be siding with DC against our interests.
                     We never made any outright acceptance of the DC deal. Kevin tried to scare us by
                     saying if we didn’t take DC’s "final offer" they’d probably sue us.

                     Between February and May of this year we became so dissatisfied with their
                     representation and the revolting offer from DC that we asked for a meeting with
                     Kevin on May 22 planning to fire them then and there. In the meeting, we
                     decided to give Kevin one last chance. He wanted to redraft DC’s February 1
                     proposal along the lines of the last discussion he had had with John Schulman.
                     We gave Kevin conditional permission to do just that but it was not to be sent out
                     if we did not approve of it. As you know it was unacceptable and we fired Gang,
                     Tyre, Ramer & Brown and notified DC, etc. that negotiations were over.

                     That terrible letter from Kevin in which he threatened to testify against us if called
                     into court was the last straw. We are glad to be rid of them.

                     It came as quite a surprise to my mother and me that everyone but us--Arthur
                     Levine, Kevin Marks, you, and Don Bulson--knew about the interest of Marc
                     Toberoff and Ari Emmanuel in the properties as far back as 2001 and no one ever
                     mentioned it to us until Kevin’s letter of August, 2002. It was very interesting to
                     hear from you that you and Don Bulson were contacted in Nov., 2001. It’s a
                     shame that Kevin kept them from contacting us and that he did not inform us of
                     them or their offer until August 2002.

                     My mother and I have had extensive meetings with Toberoff and Emmanuel in
                     the past few weeks. We learned that due to the delays and the misinformation
                     Kevin had given them that there was a deal with DC, the billionaire investor who
                     was offering $15 million up front plus participation thought it was a hopeless


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                     situation and invested his money elsewhere. We were very impressed with
                     Toberoff and Emmanuel, however, and have signed them as our new
                     representatives.

           November 2, 2002 letter at 1-2.

                     We went to Marc to talk about him representing the Siegels. Marc did not pursue
                     us:

                     - We fired Kevin Marks and Bruce Ramer because they were insisting we take a
                       bad TW/DC deal. You’ll remember that you, Don Bulson, and we were
                       shocked when Kevin Marks said that if asked to, he would testify against us in
                       court.

                     - Neither Kevin Marks or Don Bulson informed us that Marc Toberoff had
                       contacted Marks and you about the Superman rights until months after it had
                       taken place.

                     - Kevin Marks had turned away Marc saying we had a deal with DC when we did
                       not.

                     - Marc did not call my mom nor me.

                     - My mom called the Shuster family to see what the Shusters were doing.

                     - The [Shuster] family gave Marc’s number to my mom and she called him after
                       we had fired Ramer and Marks.

           July 11, 2003 letter at 1-2.

           I quote these letters at length to be clear: the very correspondence you point to in your letter as
           somehow having been secreted reveals precisely that DC’s claims are without merit. While DC
           is of course entitled to responsive discovery, including discovery adverse to its claims, it is
           surprising that you have accused KBK (on the basis of these letters) of misrepresenting evidence
           in Court filings when, in fact, the letters conclusively demonstrate the truth of defendants’
           substantive arguments.

            Second, it appears you misunderstood, or are deliberately mischaracterizing, statements made
            during our most recent meet and confer. Your reference at page 6 to "Mr. Daum’s recent
            suggestion ... that Toberoff only found the May 2003 letter after Judge Zarefsky issued his
            [April 11, 2011] order" is not based on any statement by Mr. Daum, and was certainly not a
            representation by Mr. Daum or anyone else that Mr. Toberoff in fact found the May letter after
            Judge Zarefsky issued his order. Rather, Mr. Daum accurately informed you that neither Mr.
            Daum nor KBK had any involvement with the production of the May 2003 letter.




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  Accordingly, KBK has offered to conduct a review that meets each and every one of DC’s
  substantive concerns. DC’s proffered reasons for distrusting KBK’s ability to conduct this
  review are without basis. DC should permit KBK to conduct this review, and agree to
  expeditiously resolve any remaining issues as to privilege thereafter.

  II. DC’S ARGUMENTS AS TO MISCONDUCT AND PREJUDICE HAVE
         PREVIOUSLY BEEN ADDRESSED AND CERTAINLY DO NOT WARRANT
         SANCTIONS

  As noted above, the issues raised in your letter have been addressed exhaustively both in the
  parties’ correspondence, in briefing before the Court and in numerous Court rulings, in which
  KBK has had minimal or no involvement. KBK’s offer to review all of defendants’ privilege
  includes an offer to review independently the issues raised in your letter and to ensure the
  expeditious resolution of any issues that remain open following KBK’ s independent review.
  This proposal provides in essence all you have asked for, causes no prejudice to DC, and
  addresses the claims of prejudice you have made.

  Significantly, none of the cases cited by DC comes close to justifying sanctions in this case,
  much less the "terminating sanctions" that you claim are justified by the late production of a
  single May 2003 letter. 8/7 Letter at 8. Each case cited by DC involved, unlike here, the willful
  and direct violation of multiple court orders on specific subjects. See, e.g., Hester v. Vision
  Airlines, Inc., 2012 U.S. App. LEXIS 14683, *5..6 (9th Cir. July 18, 2012) (party willfully
  violated several court orders to produce specific documents, and "the day after the trial was
  initially scheduled to begin, [] still had not complied with the order to produce the documents");
  Conn, Gen. Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091, 1095-1096 (9th Cir.
  2007) (discovery misconduct continued despite multiple court orders, and for over a year-and-a-
  half after the Court had given an express warning that it would entertain terminating sanctions);
  Valley Eng’rs v. Electric Eng’g Co., 158 F.3d 1051, 1053-1054 (9th Cir. 1998) (multiple years of
  disobedience to court orders). Nothing comparable has occurred in this case.

   Indeed, the core element of case-dispositive sanctions is prejudice to the substantive resolution of
   a matter. The Ninth Circuit has emphasized (in a case cited in your letter) that "[w]hat is most
   critical for case-dispositive sanctions ... is whether the discovery violations ’threaten to interfere
   with the rightful decision of the case." Connecticut Gen. Life Ins. Co. v. New Images of Beverly
   Hills, 482 F.3d 1091, 1097 (9th Cir. 2007). Here, it appears that the document production issues
   raised in your letter have not affected the rightful disposition of the substantive issues in the case.

   As one example, the May 13 letter upon which you base much of your letter was long ago
   produced to DC, was plainly irrelevant to the Siegel matter, and was before the Court in this
   matter when it made its ruling on defendants’ anti-SLAPP motion. Notably, DC did not seek to
   reopen judgment in the Siegel matter pursuant to Fed. R. Civ. P. 60 based on these documents or
   any other purported discovery violation.

   In fact, DC made similar arguments as part of its summary judgment motion in Siegel, in
   claiming that the Siegels had purportedly reached an agreement with DC in 2001, including that


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         Marks had confirmed a "deal" with DC, and that Mr. Toberoff had allegedly made a competing
         offer. See Defendant DC Comics and Warner Bros.’ May 29, 2007 Opposition to Motion for
         Partial Summary Judgment at 22 (referencing the PPC Agreement and Mr. Toberoff s contacts
         with Marks in late 2001), 24-25 (discussing the $15 million offer to purchase the Siegels’
         "Superman" interest, and the Siegels subsequent agreement with IP Worldwide), 68-69 (positing
         theory that the Siegels rejected DC/Warner’s 2001-02 offers due to "a seemingly more lucrative
         offer by their current counsel [Mr. Toberoffl"), 69-74 (concerning Mr. Marks’ testimony and
         DC’s alleged "deal").

          In response, the Siegels focused on the diverging terms of the 2001-02 counteroffers exchanged
         by the parties, and noted that DC’s accusations against Mr. Tobcroff were irrelevant. See
         Plaintiff Laura Siegel Larson and Joanne Siegel’s June 25, 2007 Reply in Support of Motion for
         Partial Summary Judgment at 59 n.31, 60-61. The Siegel court agreed, took note of DC’s
         allegations, including Marks’ testimony that he thought there was a "deal," but found that no
         agreement had been reached by the parties. Siegel v. Warner Bros. Entertainment Inc., 542 F.
         Supp. 2d 1098, 1136-39 (C.D. Cal. 2008).

         The review that KBK proposes to conduct (followed, if necessary, by an expeditious review of
         any remaining discovery issues) would likely put to rest any remaining disputes between the
         parties as to the propriety of defendants’ claims of privilege in this matter.

         If DC is truly interested in advancing the substantive merits of this dispute for resolution, it
         should accept defendants’ generous offer, and allow KBK to conduct a review that will resolve
         DC’s concerns and help the parties move closer to litigating the substantive merits of this case,
         as opposed to unnecessarily contentious discovery battles.

         Defendants reserve all rights.

         Very truly yours,


         Richard Kendall

         RK:dfm




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                                                                                       OUR FILE NUMBER
  August 30, 2012                                                                           905900-321

  VIA EMAIL                                                                         WRITER’S DIRECT DIAL
                                                                                         (310) 246-6840
  Richard Kendall
                                                                                 WRITER’S E-MAIL ADDRESS
  Kendall Brill & Klieger LLP
                                                                                  mkline@omm.com
  10110 Santa Monica Blvd., Suite 1725
  Los Angeles, California 90067

                  Re:   DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Dick:

         We write in response to your August 24 letter. All of your points are disputed, but to
  address the three most salient ones:

          1. We note you do not and cannot defend Marc Toberoff’s and defendants’ years-long
  pattern of discovery misconduct, which is telling. Their intentional obstruction of discovery has
  prejudiced DC’s ability to litigate its claims in this case and the Siegel case by denying DC
  access to key evidence at critical junctures. Defendants’ misconduct justifies the heaviest
  sanctions in this case and ultimately, if need be, in Siegel. This includes terminating sanctions,
  monetary sanctions, and a finding of complete privilege waiver. E.g., Valley Eng’rs v. Electric
  Eng’g Co., 158 F.3d 1051, 1057-1058 (9th Cir. 1998); Gratton v. Great Am. Commc’ns, 178
  F.3d 1373, 1374-74 (11th Cir. 1999); Prescott v. Cnty of Stanislaus, 2012 WL 383387, at *10-11
  (E.D. Cal. Feb. 6, 2012); In re 400 Walnut Assocs., L.P., 2012 WL 2839633, at *14-15 (Bkrtcy.
  E.D. Pa. July 11, 2012); Ritacca v. Abbott Labs., 203 F.R.D. 332, 335 (N.D. Ill. 2001); Get-A-
  Grip, II, Inc. v. Hornell Brewing Co., Inc., 2000 WL 1201385, at *1 (E.D. Pa. Aug. 8, 2000);
  Bankatlantic v. Blyth Eastman Paine Webber, Inc., 127 F.R.D. 224, 235-36 (S.D. Fla. 1989).

          While you say your firm played no role in defendants’ discovery misconduct, our letters
  pointed out examples of the ways in which it did so. This includes sitting silently by as Toberoff
  falsely denied in court whether documents existed and falsely claimed privilege. Your firm was
  in possession of those very same documents and reviewed them in making the repeated claims it
  did about the Toberoff Timeline memo and its enclosures. Cf. infra at 2-3 (collecting cases).

          As for your claims regarding Mr. Daum’s statements, he made two important claims at
  our in-person meeting: (1) that Toberoff did not find the May 2003 document until after
  Magistrate Judge Zarefsky issued his April 2012 order (hence Toberoff had no bad intent); and




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  (2) when I pressed Mr. Daum on how he knew these asserted facts, he conceded that your firm
  had done no independent investigation to confirm the facts he and your colleagues asserted.

           Mr. Daum’s and Toberoff’s claims that Toberoff did not have access to the May 2003
  letter in 2010 and 2011—when Toberoff made his bellicose denials about the existence of the
  letter—were patently false, as defendants and their counsel well knew, given their access to the
  Toberoff Timeline documents. Indeed, as we just learned a few months ago, several copies of
  the May 2003 letter existed among the Timeline documents that both Toberoff and your firm
  possessed and reviewed. And, as you know, it was your firm that personally delivered those
  documents to the USAO in September 2010, and it was your firm that, in disputes with DC,
  claimed the Timeline documents were privileged and need not be produced.

          You fail to address these and other key points, but as you know, Toberoff was under
  court order to produce the May 2003 document in December 2010; neither you nor he can or do
  deny it was responsive; and defendants admitted in later court filings that defendants never
  claimed the May 2003 letter was privileged. Nonetheless, defendants refused to produce the
  May 2003 letter in 2010 or early 2011, violating that 2010 court order. Instead, defendants
  insisted to DC that the May 2003 letter did not exist and, in fact, chastised DC for demanding its
  production. Defendants said all this with your firm’s full complicity. Indeed, your firm sat idly
  by while Toberoff made these false claims—knowing full well that several copies of the May
  2003 letter existed among the Timeline documents that your firm possessed, had reviewed, and
  had delivered to USAO. Worse still, you knew that Toberoff himself had failed to produce this
  document to DC when he made his own initial document production in January 2011. DC raised
  numerous concerns about this production with your firm at the time, and your firm defended the
  production.

           2. Your firm’s proposal that DC “permit” it to address DC’s concerns by conducting a
  review of a limited universe of documents—rather than all documents in your clients’
  possession, custody or control—is incomplete, potentially illusory (if you stick to your overly
  aggressive stances on privilege and responsiveness), comes months too late, and most
  importantly, falls well short of your basic legal duties as counsel in this case. E.g., DC’s June
  13, 2012 Email; DC’s July 2, 2012 Letter; DC’s Aug. 7, 2012 Letter; In re Girardi, 611 F.3d
  1027, 1061-62 (9th Cir. 2010) (“willful ignorance” of the plaintiffs’ co-counsel of record in the
  underlying case not a defense); In re Mitchell, 901 F.2d 1179, 1188 (3d Cir. 1990) (division of
  labor among counsel does not diminish attorney’s personal responsibility for complying with
  court rules); Fund of Funds, Ltd. v. Arthur Anderson & Co., 567 F.2d 225, 234 (2d Cir. 1977)
  (“The principle that a lawyer cannot delegate his fiduciary duties to another in an effort to avoid
  its strictures or to avoid responsibility for the manner in which they are taken is settled law.”);
  Hawkins v. Fulton Cnty., 96 F.R.D. 416, 420-21 (N.D. Ga. 1982) (“[E]ven if another attorney is
  now responsible for all discovery matters, [the defense attorney] is still attorney of record for the
  Defendant and is responsible as such . . . for any failure to provide discovery.”); Cole v. Patricia
  A. Meyer & Assocs., APC, 2012 WL 2106364, at *14 (Cal. Ct. App. June 12, 2012) (while
  California law generally allows co-counsel to divide the duties of conducting a case, an attorney
  cannot avoid liability for misconduct based on a purported division of labor); J.M. Cleminshaw




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  Co. v. City of Norwich, 93 F.R.D. 338 (D. Conn. 1981) (finding attorney liable for failure of co-
  counsel to comply with discovery requests; “[t]he fact that an attorney may have engaged co-
  counsel to assist him in the conduct of a case does not relieve that counsel of record of his duty
  to supervise all aspects of the litigation”).

          The law requires your firm to conduct the review DC has demanded and that your recent
  letter outlines (in part); DC need not “permit” it. DC will not forfeit its legal rights and claims—
  as you demand that it do—in exchange for a promise to fulfill only a small part of your existing
  legal obligations. It certainly will not do so when your compromise proposal does nothing to
  address or remedy the significant prejudice caused DC over the past several years, including
  legal fees DC expended on improper and needless discovery battles Toberoff invited and caused.

          Your no-harm-no-foul arguments also ignore the obvious prejudice DC has suffered and
  the direct and deliberate lies Toberoff told the courts and DC. It also ignores that his deceptions
  violated court orders, and that the violation of a court order, in any event, is not a prerequisite for
  the most serious sanctions, including terminating sanctions.

          3. As we have addressed in other correspondence, defendants persist in making baseless
  claims that DC has provided no privilege logs in this case, when DC has in fact done so, and has
  offered defendants numerous times to meet and confer on (a) what additional information they
  reasonably require; and/or (b) to complete the stipulation defendants once said they wished to
  negotiate on these issues. DC’s offers to meet and confer (made, inter alia, in letters and emails
  dated June 12 and August 7) have been ignored by defendants. Defendants’ failure to meet and
  confer on such issues is full grounds to moot any concerns they raise. E.g., Docket No. 467.

                                             *       *      *

          In short, your proposal is unworkable and comes nowhere close to addressing DC’s
  concerns. DC will file its motion shortly. As for the quid pro quo you demand, your firm should
  conduct the review and production it has offered—without any of the limitations you suggest on
  your search and production, and without any impingement on DC’s rights. It has long been your
  firm’s duty to conduct this review. You cannot blame your failure to do so on sets of conditions
  you wish to impose on DC—the party aggrieved by defendants’ rampant discovery misconduct.

          Again, the remainder of your letter is disputed, and DC reserves all rights.

                                                     Very truly yours,
                                                      /s/ Matthew T. Kline
                                                     Matthew T. Kline
                                                     of O’MELVENY & MYERS LLP

  cc:     Daniel M. Petrocelli, Esq.
          Defense Counsel
  OMM_US:70828350




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( Kendall Brill Klieger                                                                                            writers direct:
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                                                                                                                   rkendall@kbkfirm.com




    September 4, 2012

    Via E-Mail

    Matthew Kline, Esq.
    O’Melveny and Myers LLP
    1999 Avenue of the Stars, 7th Floor
    Los Angeles, CA 90067

    Re:       DC Comics v. Pacific Pictures Corp., et aL, Case No. 10-CV-03633 ODW (RZx)

    Dear Matt:

    This letter responds to your letter of August 30, which in turn responded to my letter of August
    24.

    First, I note that your letter changes the subject. You no longer raise any substantive objection
    whatsoever to the proposal made by this law firm, Kendall Brill & Klieger ("KBK"), to review
    the privilege logs and document productions that Toberoff & Associates have previously
    prepared in this matter, and you have dropped the special master issue. Although that should end
    the matter, DC now apparently intends to make a baseless motion for sanctions regardless of our
    efforts to resolve any discovery issues efficiently. That is improper.

   Avoiding a reasonable attempt to "confer in a good faith effort to eliminate the necessity for
   hearing the motion or to eliminate as many of the disputes as possible," as required by Local
   Rule 37-1, your letter is framed as a baseless attack on KBK. Apparently, your firm and your
   client have decided upon this tactic in the hope that a barrage of inaccurate threats and
   disparagement of opposing counsel will help DC obtain tactical advantage in this litigation, or
   create a conflict between KBK and its client, Mr. Toberoff. Unfortunately, this is not the first
   time that your law firm and your client have pursued such tactics in this litigation, even though
   such conduct directly violates the Federal Rules of Civil Procedure. See Fed. R. Civ, P.
   26(g)(1)(B)(ii)(discovery must "not [be] interposed for any improper purpose, such as to harass,
   cause unnecessary delay, or needlessly increase the cost of litigation.")

   This letter addresses your baseless arguments in support of your threats to bring a sanctions
   motion against KBK. 1 Should DC, on these facts, pursue a groundless and harassing motion for


    A separate letter addressing your August 30 letter with respect to your assertions as to Mr.
   Toberoff and the Toberoff entities, as well as your arguments with respect to terminating
   sanctions, will be forthcoming once we have an opportunity to confer with Mr. Toberoff, who, as




                                                           EXHIBIT 9
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  10100 Santa Monica Blvd. Suite   1725   Los Angeles, CA 90067 telephone 31 0.556.2700 facsimile   310.556.2703   www.khkfirm.com
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          sanctions, KBK and its clients will inform the Court of DC’s practices in this matter, seek
          discovery of your firm’s and client’s improper discovery practices in this and other cases, and
          seek to sanction DC and your firm for its improper motion practice and pattern and practice of
          discovery abuse.

          I.         DC’s Claims of Discovery Abuses By KBK Are Without Basis and Untimely

                     A.    DC Has Not Been Prejudiced Due to the Production of the May and July
                           200 Letters


         Almost the entirety of your allegations against KBK in your August 7 and August 30 letters
         derive from what you claim was the late production of a May 13, 2003 letter and a July 1. 1, 2003
         letter. Both of these letters were correspondence between Michael Siegel and Laura Siegel
         Larson. Although DC is complaining about these letters now, they were long ago produced to
         DCthe May 2003 letter was produced in April 2011, and the July 2003 letter was produced in
         October 2011.

         Any claim of prejudice to DC from the date of production of these letters is specious. In the
         instant Shuster matter, no trial date has been set. DC has had both documents for almost a full
         year, with more than sufficient opportunity to take discovery concerning them. As for the Siegel
         matter, if the late production of these documents were in fact in any way significant, DC could
         have made a motion pursuant to Federal Rule of Civil Procedure 60(b) to reopen the judgment in
         that matter. Judgment in Siegel was entered on May 20, 2011, and DC was in possession of all
         of the relevant documents (that is, both the May 13 and July 11 letters) by no later than October
         2011. DC did not make such a motion, despite having more than ample time to do so. DC’s
         failure to make such a motion demonstrates precisely that these documents were not significant
         to Siegel.

          To the contrary, as I noted in my most recent letter to you, both documents at issue strongly
          support the position of Defendants in this matter. They make clear that DC’s substantive
          allegations in this case and in Siegel about the involvement of Mr. Toberoff and/or a purported
          "deal" with DC are false.

          As to KBK’s clients, it is worth noting that DC served its request for production of documents in
          December 2010, with responses due by January 24, 2011. DC obtained production of the May
          2003 letter less than three months later, on April 11, 2011, and received production of the July
          letter by October 2011 (while, in the interim, Judge Zarefsky had considered, and rejected, each
          of the arguments as to discovery misconduct and improper logging of that document made by


          you know, has just returned from vacation and is preparing today for tomorrow’s hearing on the
          Court’s tentative summary judgment opinion. As with our prior letters, the lack of a full
          response to DC’s barrage of false accusations is not any sort of concession or admission, and
          should not be willfully misinterpreted by DC as one.



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           DC in its most recent letter). Given the state of the litigation, there is no conceivable prejudice
           from a delay of three months in obtaining the May 2003 letter.

           Even more tellingly, DC, again despite having the May 2003 letter for more than a year, and the
           July letter for almost a year, has never to date sought sanctions related to the production of these
           documents, whether from KBK or from Mr. Toberoff. That alone is a decisive indication that
           DC was not in fact harmed by the timing of the production of these letters, and means that DC
           cannot obtain sanctions in connection with their production.. See, e.g., Franklin v. Krueger Int’l,
           Inc., 1997 WL 691424 (S.D.N.Y. Nov. 5, 1997) (8 month delay in bringing motion for
           sanctions barred bringing sanctions motion); Brandt v. Vulcan, Inc., 30 F.3d 752, 757 (7th Cir.
           1994) (two year delay in bringing Rule 37 sanctions motion meant that no sanctions could be
           obtained, regardless of merit). That DC has waited so long to raise the issue undermines any
           claim that sanctions are appropriate or DC’s claims of prejudice genuine. Instead, the delay
           reflects DC’s improper proposes: to harass, to increase the costs of defense, and to distract
           attention from the lack of merit of DC’s claims.

                      B.   DC’s Claims About KBK’s Involvement in the Production of the May and
                           July 2003 Letters Are Without Basis

           As a preliminary matter, the impropriety of your demand for sanctions as to persons other than
           KBK will be addressed in more detail in separate correspondence. As to this firm, as we have
           repeatedly informed you, KBK has not handled document production or the preparation of
           privilege logs in this matter. KBK does not represent the Siegel or Shuster heirs, who are clients
           of Mr. Toberoff. KBK does represent Mr. Toberoff and his entities with respect to the claims
           DC has brought against them in this action. However, based on a division of labor between
           counsel, which reflects Mr. Toberoffs long involvement in the Siegel case, in which many
           discovery disputes were litigated between the parties and addressed by the Court, Mr. Toberoff
           and his firm have taken responsibility for producing documents and privilege logs in response to
           discovery directed towards Mr. Toberoff and those business entities, as well as the document and
           deposition discovery for the clients that Mr. Toberoff represents exclusively.

           This is not new information for you. The chronology of discovery concerning the May and July
           2003 letters (that is, the documents put at issue in your August 7 and August 30, 2012 letters)
           shows the baselessness of your allegations against KBK.

           Prior to late 2010 and early 2011, the production of the May and July 2003 letters had not been
           the subject of discussion between the parties in this litigation. 2 Their production was apparently
           raised in a meet and confer session between your firm and Mr. Toberoff s firm in December
           2010, followed by a motion to compel served by DC on January 28, 2011. KBK did not
           participate in that meet and confer, as your own declaration confirms. See Docket No. 161 at ¶


           2
            The July 11, 2003 letter had been the subject of extensive litigation in Siegel, long before
           KBK’s involvement in this matter..



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         26 (identifying participants in meet and confer, making clear that no KBK attorneys were
         involved).

         Nor were the May or July 2003 letters required to be produced by KBK’s clients at the time of
         that meet and confer process. In document discovery requests served directly on KBK’s client,
         Mr. Toberoff, DC sought documents related to Michael Siegel and Laura Siegel Larson. On
         January 24, 2011, KBK served its objections and responses to those requests, but did not agree to
         produce these documents. 1/24/11 Discovery Responses at 393

         On January 28, 2011, or a mere four days after KBK served objections on behalf of Mr.
         Toberoff, and without ever conferring with KBK, DC served its portion of a discovery joint
         stipulation relating to its motion to compel production from the heirs. DC then filed that motion
         on February 7, 2011 (Docket No. 160).

         The joint stipulation made absolutely clear that the relevant motion to compel did not concern
         KBK or its clients:

                   DC’s motion is solely directed at discovery served on the Heirs, responding
                   defendants Laura Siegel Larson, Joanne Siegel, Mark Warren Peary, and Jean
                   Adele Peavy. It does not relate to any discovery served on Marc Toberoff, Pacific
                   Pictures Corporation, IP Worldwide, LLC or IPW, LLC. As such, the "Toberoff’
                   defendants are not parties to this joint stipulation.

          Docket No. 160 at 3 n.1. The joint stipulation did not concern KBK’s clients, KBK did not have
          responsibility for the joint stipulation, and no attorney for KBK signed the joint stipulation.


            DC’s document request no. 48 to Mr. Toberoff sought "All DOCUMENTS RELATING to any
          COMMUNICATION between or among Laura Siegel Larson and Michael Siegel." Toberoff
          responded and objected to that request as follows: "Toberoff objects to this request on the
          grounds that it is compound, duplicative, overbroad, burdensome and oppressive, as it could be
          reasonably construed to request all documents relating to Superman and/or Superboy. Toberoff
          objects to this request on the grounds that it is compound, overbroad, burdensome and
          oppressive. Toberoff objects to this request on the grounds that the term "RELATING" is vague
          and ambiguous, and lacks sufficient precision to allow him to formulate an appropriate response.
          Toberoff further objects to this request on the grounds that it is indefinite as to time, not
          reasonably limited in scope, and to the extent that it seeks the production of any item, or portion
          thereof, which is not reasonably calculated to lead to the discovery of relevant and admissible
          evidence. Toberoff further objects to this request to the extent that it seeks communications or
          items protected by the attorney-client privilege, the joint interest privilege, the attorney work
          product doctrine and any other privilege or immunity available under law or arising from
          contractual obligation. Subject to and without waiving the foregoing general and specific
          objections, Toberoff is willing to meet and confer with Plaintiff regarding the tailoring of this
          request." 1/24/11 Response at 39.



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         Subsequently, DC sought a further meet and confer concerning KBK’s clients’ discovery
         responses, and sent a letteraddressed to Mr. Toberoff’s firm, not KBKthat did not
         specifically reference the May 13, 2003 letter. In the subsequent meet and confer, in which KBK
         participated, the parties agreed that they would not re-brief or re-argue any of the issues raised in
         DC’s February 2011 motion. Given that agreement, KBK did not re-parse the details of the
         February 7 motion, including the May 13 letter or issues related to privilege logs. DC then failed
         to take further action on the issue as to KBK’s clients until late March 2011, when it served and
         then filed a new motion to compel against the Toberoff defendants that summarily re-
         incorporated the arguments in its February 7, 2011 motion. The response to DC’s new motion,
         served on behalf of this firm’s clients, duly noted this. Docket No. 210 at 1 n.1. On April 11,
         2011, the same day that the Toberoff defendants’ response to DC’s new motion was due, the
         Court ordered production of the May 13, 2003 letter, and that letter was promptly produced by
         Toberoff & Associates on behalf of its own clients. Nothing in this chronology remotely
         supports sanctions with respect to the May 13 letter.

         In its April 11, 2011 Order, the Court also rejected DC’s contentions with respect to the
         production of the July 11, 2003 letter and thus did not order its production. Following the
         production of the May 13 letter, DC sought reconsideration of the Court’s April 11, 2011 order
         and asked for production of the July 11, 2003 letter both before Judge Zarefsky and Judge
         Wright. Those motions for reconsideration/review, like the initial motion, were directed
         exclusively at the Siegel and Shuster heirs, whom KBK does not represent. Neither KBK nor its
         clients joined in the briefing on the motions, and no KBK attorney appeared at the only Court
         hearing concerning these motions, which were denied. Docket No. 252, 285. In those motions,
         DC raised precisely the same issues that you now raise again in your most recent correspondence
         concerning the May 13 letter, and Mr. Toberoff, on behalf of his clients, explained in detail the
         history of the logging of the July 2003 letter on privilege logs served long ago. Judge Zarefsky,
         with full knowledge of the issues raised by DC here and elsewhere concerning the May and July
         letters, again declined to order production of the July letter. Docket No. 285. Subsequently,
         Judge Zarefsky, again with full knowledge of the facts concerning the May 13 letter, denied a
         related motion brought by DC against the Siegel and Shuster heirs for all production copies of
         the May 13 letter. Docket No. 309. On October 24, 2011, Judge Wright, without providing an
         opinion, ordered production of the July 11, 2003 letter. Docket No. 336. Mr. Toberoff’s firm
         then promptly complied with the production order. In light of Judge Zarefsky’s repeated and
         thoughtful denials of DC’s demands for the July 11 letter, there is no reason whatsoever that this
         firm ought to have produced that document in advance of the production by co-defendants in
         response to a motion directed at them.

          From that history, it is simply not possible to concoct some sort of free-form obligation of KBK
          to have independently produced the May or July 2003 letters in early 2011 (as opposed to later in
          2011, when they were in fact produced).

          In fact, (a) while DC’s February 2011 motion was pending, DC agreed not to repeat its
          arguments concerning the May and July letters in a separate motion directed at the Toberoff
          defendants, and the Toberoff defendants agreed to be bound by the outcome of the February 7,



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           2011 motion; (b) DC simultaneously contended that "other independent" disputes concerning
           discovery directed to Mr. Toberoff should move forward; (c) in light of the parties’ agreement,
           KBK did not involve itself in the issues raised by that February 2011 motion; (d) DC knew that
           the February 2011 motion papers were not prepared by or signed by KBK; (e) the issues
           involved the privilege logs and document production of the Siegel and Shuster heirs, and other
           issues not involving KBK’s clients and that had been the subject of extensive litigation before
           KBK had any involvement, and (f) at least until October 2011, the Courts had consistently
           rejected DC’s position, with full knowledge of the facts you have set forth in your letters of
           August 7 and August 30.

           The indiscriminate use of the term "defendants" in your August 30 letter, without attention to the
           clients KBK actually represents or its position in the litigation, and your incendiary claim that
           KBK somehow ignored its own discovery obligations, is blind to the reality of the discovery
           process in this case, and DC’s own discovery motions and DC’s agreement that duplication of
           effort with respect to these issues was unnecessary.

           Moreover, as noted above, as to KBK’s clients there was at most less than a three-month period
           between when DC claims it was entitled to receive the May 13 letter on January 24, 2011, and
           when it in fact received a copy on or about April 11, 2011. A claim that KBK was, despite the
           facts noted above, required to investigate the circumstances of the May 13 letter or its
           production, when those issues were being litigated by other, separately-represented parties, is
           simply without basis.

           As to the July 11, 2003, letter, it was upheld as privileged by Judge Zarefsky despite DC having
           the May 13, 2003, letter, and despite DC providing the Court with the information it now urges
           again in its most recent correspondence about allegedly improper logging. Obviously, KBK was
           under no obligation to produce this document after Judge Zarefsky had upheld it as privileged
           (and, indeed, would have violated its professional responsibility to its client in doing so) before
           Judge Wright ordered it produced in October 2011.

           Your statement of the law, which implies that KBK is somehow responsible for DC’s disputes
           with parties that it does not represent, is false. There is no requirement that an attorney police
           the discovery responses of a joint defendant that attorney does not represent. E.g. Indep. Fire
           Ins. Co. v. Lea, 979 F.2d 377, 379 (5th Cir. 1992) ("we do not think that the basic policies of
           "deterrence and education" behind Rule 11 require an interpretation of the Rule which creates
           such forms of vicarious liability."). Moreover, nothing prohibits co-counsel from dividing
           responsibilities among themselves. E.g., Abrams v. Se. Mun. Bonds Inc., 138 F. Apptx 88, 91
           (10th Cir. 2005) (describing co-counsel agreement establishing "the division of responsibilities"
           between firms); Cole v. Patricia A. Meyer & Associates, APC, No. B227712, 2012 WL 2106364,
           at * 14 (Cal. Ct. App. June 8, 2012) ("California law generally allows an attorney of record to
           associate another attorney and to divide the duties of conducting the case.").

           The cases you cite deal almost entirely with situations that are dramatically distinguishable from
           the one present here. Several of the cited cases involve co-counsel associating with or actually
           signing frivolous or abusive filings. E.g., Cole v. Patricia A. Meyer & Associates, APC, No.


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           B227712, 2012 WL 2106364, at *14 (Cal. Ct. App. June 8,2012); In re Girardi, 611 F.3d 1027,
           1062 (9th Cir. 2010). Another involves counsel-of-record’s total abdication of responsibility,
           leaving only a suspended attorney with full responsibility for the case. In re Mitchell, 901 F.2d
           1179, 1188 (3d Cir. 1990). Fund of Funds, Ltd. v. Arthur Andersen & Co., 567 F.2d 225, 226,
           234 (2d Cir. 1977), involved the "unusual facts" in which a firm unable to bring a lawsuit due to
           conflict of interest assisted another firm in bringing the suit. Still others involve a situation in
           which an attorney of record delegates entire responsibility to a co-counsel, not where (as here)
           the relevant motions were directed to a party unrepresented by co-counsel and co-counsel have
           agreed on a division of responsibility. J M Cleminshaw Co. v. City of Norwich, 93 F.R.D. 338,
           348 (D. Conn. 1981). These cases are far afield from shared responsibility for discovery tasks
           routinely divided among counsel or handled by the client, much less a situation where (as here)
           different attorneys represent different clients with separate discovery obligations.

           Finally, your August 30 letter makes affirmatively false statements about what transpired during
           our in-person meet and confer on this issue. My colleague Mr. Daum did not tell you (and could
           not have told you) that Mr. Toberoff did not "find" the May 13, 2003 letter until after it was
           ordered produced. Mr. Daum, as he advised you, had no knowledge of when Mr. Toberoff
           "found" the May 13 letter, as KBK did not handle the production or involve itself in that issue
           for the reasons described above. Rather, Mr. Daum informed you, accurately, that KBK did not
           know the details of its production, but that KBK suspected (but did not know) that the letter had
           likely, prior to its production, been kept with documents for which a claim of privilege had been
           asserted. I note for the record that your own conduct at this meeting makes you a highly
           unreliable witness, as your intemperate yelling, interrupting, storming out of the meeting, and
           otherwise behaving in a highly unprofessional manner makes you unlikely to be aware of what
           any attorney said. Sadly, the false accusations in your August 30 letter are consistent with the
           unprofessional and accusatory conduct you demonstrated during our meeting.

           II.        DC and O’Melveny and Myers Have Demonstrated a Pattern and Practice of
                      Unprofessional Conduct In This Matter

           The rejection of KBK’s substantive proposal to advance the merits of the dispute, while
           continuing in unfounded accusations, is consistent with what is now (unfortunately) clearly a
           pattern and practice of unprofessional conduct by DC and your firm in its conduct of this matter.

           As you are aware, Judge Zarefsky has repeatedly commented on numerous occasions about the
           improper conduct and lack of professionalism of DC’s counsel. See, e.g., Docket No. 209 at 13
           (ruling for Defendants and noting "[t]he Court does not understand why this portion of the
           dispute could not have been resolved out of court."); No. 323 at 2 (noting that DC’s constant
           motions are "head[ing] in the wrong direction" and that "the direction of the lawsuit needs to be
           forward, not backward"); No. 439 (reminding DC of its "responsibility to make sure that
           discovery is ... proportional to the issues in the lawsuit and does not create undue
           burden or harassment"). Your current threats against this firm fly in the face of these warnings.




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         You and your law firm’s inappropriate and harassing conduct to date, launched while failing to
         observe your own most basic discovery obligations, includes at least the following:

         Filing of discovery motions even when the issues raised in such motions had long ago been
            resolved. See, e.g. Docket No. 44 (motion to "initiate discovery" filed after parties had
            already held Fed. R. Civ. P. 26(f) conference).
         Knowingly false representations to the Court concerning the facts of the case.        See, e.g.,
            Docket No. 455 (false statement that a letter was "provided" to Mr. Toberoff in 2006).
         Failing to produce critical documents for years, and failing to produce revised and complete
            privilege logs in this action. E.g. production in July, 2012 of two critical letters from Jean
            Peavy that should have been produced in 2006.
         Filing obviously improper documents with the Court of Appeals, including a "supplemental
            excerpts of record" that consisted largely of obviously inadmissible documents that had never
            been put before any lower court.
         Highly unprofessional conduct during meet and confer sessions, including but not limited to
            yelling, threats, storming out of meetings, and the like.
         Offensive and harassing correspondence with counsel, even as concerns mundane scheduling
            matters. E.g., emails of August 30, 2010, rejecting extension of a deadline for KBK
             attorneys to observe Jewish high holidays, where scheduling conflict for KBK arose from its
             efforts to accommodate 0MM attorney’s request for an extension: Kline - "It is offensive
            that. . . you would try to recast for ’religious’ reasons your unprofessional and irresponsible
             demand for a quid pro quo," and Petrocelli - "None of this is about anyone’s religious
             observances, and you know it."

         At this point, it is clear that we are not dealing with isolated incidents of unprofessional conduct,
         which might be excusable as merely unfortunate episodes. Rather, we are dealing with tactics
         that are part and parcel of DC Comics’, and your firm’s, overall litigation strategy in this matter. 4

         But engaging in unprofessional conduct, unwarranted attacks on opposing counsel, and frivolous
         discovery practice in order to raise the expense of Mr. Toberoffs defense is unacceptable. It is a
         violation of the Local Rules of this Court and of the standards governing the profession. See
         Central District of California, Civility Guidelines, at 8 ("Before filing a motion with the court,
         we will engage in more than a mere pro forma discussion of its purpose in an effort to resolve the
         issue with opposing counsel"); ("Unless directly and necessarily in issue, we will not disparage
         the intelligence, morals, integrity, or personal behavior of our adversaries before the court, either
         in written submissions or oral presentations"); ("We will not, absent good cause, attribute bad
         motives or improper conduct to other counsel or bring the profession into disrepute by
         unfounded accusations of impropriety"); L.R. 83-8.1 ("It is the policy of the Court to discourage

           Notably, this is not the first time DC’s counsel has been reprimanded for similar practices. See,
         e.g., Slesinger v. Walt Disney Co., 2002 WL 31590870 (Cal. App. Nov. 20, 2002) (noting court
         finding that "a jury could conclude that [a client’s] destruction of. . . files was done willfully or
         that [the client] willfully suppressed evidence.").




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           vexatious litigation and to provide persons who are subjected to vexatious litigation with security
           against the costs of defending against such litigation and appropriate orders to control such
           litigation"); ABA Model Rules of Professional Conduct, Preamble § 5 ("A lawyer should use the
           law’s procedures only for legitimate purposes and not to harass or intimidate others. A lawyer
           should demonstrate respect for the legal system and for those who serve it, including judges,
           other lawyers and public officials"); § 9 (requiring a "professional, courteous, and civil"
           approach to litigation); United States v. Young, 470 U.S. 1, 9 (1985) (opposing counsel "must not
           be permitted to make unfounded and inflammatory attacks on the opposing advocate. The kind
           of advocacy shown by this record has no place in the administration ofjustice and should neither
           be permitted nor rewarded; a trial judge should deal promptly with any breach by either
           counsel.").

           The pattern and practice of improper, harassing, and uncivil behavior must stop. If DC and its
           counsel continue to approach this litigation primarily as a vehicle for imposing costs on its
           adversaries and attacking its opposing counsel, they do so at their peril. 5 I note that any motion
           for discovery sanctions must in the first instance be put to Magistrate Judge Zarefsky, who is
           intimately familiar with discovery in this matter and DC’s related misconduct. See Grimes v.
           City & County of San Francisco, 951 F.2d 236, 240 (9th Cir. 1991).

           Finally, I note that, in the context of this litigation, DC’s motion practice concerning KBK seems
           designed to generate a potential conflict between KBK and its client, Mr. Toberoff, and is
           improper for that reason alone. If you are determined to move forward with a motion against
           KBK, please contact us immediately to discuss timing so that we can responsibly address and
           resolve potential conflict issues that may result.

           Defendants and this firm reserve all rights.

           Very truly yours,
          K i2AJ
          1ichard Kendall

           RK:dfm

           cc: Marc Toberoff




             The lawyers at Warner Bros. and DC Comics who are responsible for the conduct of this
           litigation, including without limitation John Rogovin, Clara Pope, and Wayne Smith, are subject
           to the ethical rules and Civility Guidelines that govern the conduct of lawyers practicing in
           Central District of California. We request that you provide a copy of this correspondence to each
           of them.



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  September 14, 2012                                                                           905900-321

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  10110 Santa Monica Blvd., Suite 1725
  Los Angeles, California 90067

                    Re:     DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Dick:

          We are in receipt of your letter of September 4, 2012. We disagree with every aspect of
  it and object to your false and improper assertions. DC will file its motion.

                                                          Very truly yours,
                                                           /s/ Matthew T. Kline
                                                          Matthew T. Kline
                                                          of O’MELVENY & MYERS LLP

  cc:        Daniel M. Petrocelli, Esq.
             Defense Counsel




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                                            22337 PACIFIC COAST HIGHWAY #348

MARC TOBEROFF*                                    MALIBU, CALIFORNIA 90265                                        TELEPHONE
KEITH G. ADAMS                                                                                                  (310) 246-3333
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* Also admitted in New York
                                                                                                            kgadams@ipwla.com


            October 3, 2012

            Via E-Mail

            Matthew Kline
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Dear Matt:

            I write in response to your August 30, 2012 letter, which rejected the more than reasonable
            proposal sent by Mr. Kendall in a letter dated August 24, 2012.

            As an initial matter, your letter falsely states that Mr. Kendall “do[es] not and cannot defend”
            against the baseless accusations in DC’s August 7, 2012 letter that defendants have engaged in a
            “years-long pattern of discovery misconduct.” Mr. Kendall’s August 24 letter makes quite clear
            that “each of [DC’s] accusations has been ventilated at length in correspondence between the
            parties, and the majority of these accusations have been the subject of extensive motion practice
            before the Court and multiple Court rulings, many of which … were decided in defendants’
            favor.”

            After eight years of litigation between this case and Siegel, and over two years of discovery in
            this case alone, DC is at a loss to support its frivolous tort claims against its opposing counsel, so
            it now attempts to shift the focus of this case from the meritless claims in its complaint to false
            claims of discovery “misconduct.” Your refusal to accept Mr. Kendall’s reasonable proposal,
            which directly and fully addressed each and every purported concern you raised, demonstrates
            that DC and you have never had a sincere interest in resolving real issues, if any, but have
            trumped up and/or exaggerated purported discovery issues as an excuse to file an accusatory
            motion. DC’s transparent motive – exemplified by your massive repetitive letters containing
            page after page of recycled false accusations and irrelevancies, and DC’s drive for a “special
            master” to review every document and privilege log entry in eight years of litigation – is to exert
            leverage by improperly driving up defendants’ litigation costs.

            This is plain as day.




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Notably, all of the supposed “misconduct” charged by DC focuses on irrelevant offers to and
correspondence with Michael Siegel, who did not file a termination notice and did not participate
in Laura and Joanne Siegel’s settlement negotiations with Warner/DC at issue, and therefore is
not once mentioned in DC’s 61-page complaint or amended complaint. Due to this underlying
lack of relevance and the fact that the minimal number of documents at issue were produced to
DC well prior to DC’s filing deadlines, DC’s hyperbolic claims of prejudice, sanctimonious
rhetoric and cries for sanctions ring hollow.

We refute below (yet again) the baseless accusations DC has recycled throughout this case.

       A.      The May 13, 2003 Letter

As DC is aware from the stolen documents it received, the May 2003 letter was inadvertently
mis-logged in the Siegel v. Warner Bros. Entertainment Inc. litigation as part of a fax
transmission from Ms. Larson to Mr. Toberoff. Cf. 8/7 Letter at 7-8 (speculating, with no
evidence that this not a “mistake”).

Motion Practice: DC focuses on meet-and-confer sessions in December 2010-January 2011, but
those concerned a number of purported issues, including the May 2003 letter. DC indicated in
the meet and confer process (as it usually does) that it was moving ahead with a motion to
compel, and offered no basis for compromise. As DC obviously intended to file its motion,
regardless of the May 2003 letter, defendants properly decided to leave this issue, along with
several others, for Magistrate Zarefsky to decide.

Notably, when DC made its motion covering numerous issues, defendants did not oppose
production of the May 2003 letter on privilege grounds, as the letter had not been logged; nor did
defendants deny the letter’s existence. Magistrate Zarefsky denied in large part DC’s motion
(Docket No. 209), but as defendants did not oppose as to the May 2003 letter, he ordered that
defendants either produce the letter or verify that it did not exist. Defendants promptly produced
the May 2003 letter.

Thus, DC’s claims that defendants in January-February 2011 “obstruct[ed] discovery” (8/7 Letter
at 3-5) or made “numerous affirmative misstatements to DC and the Court” (8/7 Letter at 5)
regarding the May 2003 letter are demonstrably false.

As pointed out by Mr. Kendall in his August 24 letter, DC mischaracterizes numerous
straightforward statements at the parties’ July 17, 2012 in-person meeting regarding DC’s false
charges. See, e.g., DC’s 8/7 letter at 4-5 (mischaracterizing Mr. Daum and Mr. Toberoff’s
comments regarding the May 13 letter), 6 (incorrectly referring to “Mr. Daum’s recent
suggestion … that Toberoff only found the May 2003 letter after Judge Zarefsky issued his
[April 11, 2011] order”), 8 (pretending that statements in the January 8, 2011 letter “were a
revelation”), 8 ( pretending “Mr. Toberoff claimed in our meeting the other day that a paralegal
went through the underlying documents.”).




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 “Timeline” Allegations: Contrary to DC’s suggestions, Defendants’ statements as to the
inaccuracy and inadmissibility of the anonymous Timeline, written by a thief, are more than
warranted. First and foremost, the Timeline makes one false accusation after another against Mr.
Toberoff based on hearsay, innuendo and outright fabrications, and after years of discovery by
DC, there is no admissible evidence to support its self-serving conclusions, which contradict the
great weight of admissible evidence. Tellingly, even though DC has long been aware of the
author of the Timeline, which it attached to its complaint, it has studiously avoided taking his
deposition, preferring instead to rely on the Timeline’s anonymous prejudicial rhetoric.

Second, even if the Timeline’s false facts were true, the rambling Timeline does not and cannot
“connect the dots” in support of its anonymous legal conclusions.

Third, the Timeline also purports to describe numerous documents that either (a) do not exist
(e.g., supposed communications or agreements with Ari Emanuel) or (b) do not exist as
described (e.g., there is no “July 5 letter” from Laura to Michael, although there is a July 5 draft
of a letter sent at a later date that was logged). DC’s repeated accusations regarding this
document have never held up. See 8/7 Letter at 6 (“he took deliberate steps to hid [sic] the
letter’s existence”), 8 n.2 (DC’s accusations against KBK based on this non-issue).

Alleged Prejudice: DC certainly cannot claim prejudice in this case based on – at most – a few
months of delay (from December 2010 to April 2011) in receiving the May 2003 letter,
especially since no substantive rulings on the merits were made during that period. The only
pending non-discovery motions during this period were defendants’ motion to dismiss and anti-
SLAPP motion. The May 2003 letter is irrelevant to the motions to dismiss, which necessarily
addressed DC’s pleadings (which, again, nowhere even mention Michael Siegel), and DC was
allowed by the Court to file an “updated” anti-SLAPP opposition that featured thousands of
pages of exhibits, including the May 13 letter, before the Court decided that motion.

Nor can DC claim prejudice because defendants “successfully” opposed DC’s motions to compel
(a) unredacted versions of the May 13 letter (when the redactions were of very minor
marginalia), and (b) “all Michael-Laura Siegel-related correspondence.” 8/7 Letter at 7. Despite
DC’s repeated hyperbole on these issues, DC points to nothing in defendants’ oppositions that
was inaccurate.

Nor was the May 13, 2003 letter remotely relevant to the Siegel litigation. The May 13 letter
concerned an offer on behalf of Ari Emanuel to buy Michael Siegel’s limited Superman interest.
Numerous admissible documents were produced by the Siegels detailing this very negotiation.
Yet, in the hundreds of pages of briefing DC filed with the parties’ cross-motions for summary
judgment in Siegel, DC/Warner never once mentioned this offer to Michael Siegel, or even
Michael Siegel.




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DC’s only theory of prejudice seems to be that, if it had the letter, it could have made the same
baseless tortious interference claim based on its “billionaire” theory in the Siegel litigation.
However, DC brought comparable interference arguments as part of its summary judgment
motion in Siegel, and was entirely unsuccessful as the Court barely even acknowledged DC’s
irrelevant theories. See Siegel v. Warner Bros. Entertainment Inc., 542 F. Supp. 2d 1098, 1136-
39 (C.D. Cal. 2008).

At the absolute most, DC’s “prejudice” consists of having to meet and confer and devote two
pages of its largely unsuccessful 78-page discovery motion to the May 13, 2003 letter.
Considering that litigation almost always involves discovery disputes, and the large numbers of
unsuccessful discovery motions brought by DC in this litigation – many on utterly irrelevant
topics (e.g., Laura Siegel Larson’s divorce proceedings) – that is no prejudice at all.

Finally, DC’s repeated mischaracterization of the parties’ general December 2010 discovery
stipulation, signed by Magistrate Zarefsky, as “having waived all other objections to DC’s
document requests,” does not transform routine discovery disputes in this case into a violation of
this court order, as DC erroneously contends. 8/7 Letter at 5. See, e.g., id. at 5, 9. DC pressed
the very same argument numerous times with Magistrate Judge Zarefksy, to no avail. See, e.g.,
Docket No. 177 at 44; Docket No. 309.

       B.      The July 11, 2003 Letter

The July 11, 2003 letter was properly protected by the common-interest privilege between Laura
Siegel and Michael Siegel, as it describes privileged matters of common legal interest between
them (the statutory termination interest) and an attorney’s advice related to such interest.

DC’s entire three-page argument about the July 11, 2003 letter (8/7 Letter at 9-11) boils down to
the following: Ms. Larson sent a copy of her July 11 letter, via facsimile, to her counsel, Mr.
Toberoff. That facsimile was logged. DC repeatedly brought up the letter in this litigation and
Siegel, and its arguments were consistently rejected by the courts, including Judge Wright, until
Judge Wright, on October 24, 2011, reversed his prior order and Magistrate Judge Zarefsky, and
ordered the release of the document, without opinion. Docket No. 336.

DC’s complaint, in essence, is that: (1) the underlying July 11 letter was not separately logged;
(2) defendants did not separately list the common-interest privilege on their initial logs, even
though the common-interest privilege is an extension of the attorney-client privilege, and (3)
when the issue was properly teed up for the Court, defendants openly directed the Court to that
very log entry when discussing the July 11 letter and discussed why the common-interest
privilege applied. None of this is improper, much less “horribly misleading” (8/7 Letter at 11) as
you claim.

As to a “July 5 letter,” DC’s arguments about the “July 5, 2003” letter amount to claims that
dated drafts of a letter sent by Laura Siegel Larson to her attorney are the equivalent of a “return




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letter to Michael” dated July 5 by her. 8/7 Letter at 11. They are not. DC then cites its
arguments that a “July 5 letter could be misdated in the Timeline, or be found in a different form,
such as a draft letter,” but that “Toberoff continued to claim the July 5 letter, in whatever form,
did not exist.” 8/7 Letter at 11. This is knowingly false. What defendants stated was as follows:

       “July 5, 2003 Letter: DC repeats its original arguments to this Court and its arguments in
       its motion for review rejected by Judge Wright. As previously stated, this purported
       July 5 letter from Laura Siegel to Michael Siegel does not exist as described. DC
       claims this letter exists based solely on a reference in the anonymous Timeline. As
       Defendants previously pointed out, the Timeline describes numerous documents that do
       not exist:

               E.g., a purported (1) September-October 2003 letter with Ari Emanuel; (2)
               December 16, 2002 letter from Marc Toberoff and Ari Emanuel to Joanne Siegel
               and Laura Siegel Larson; and (3) July 5, 2003 letter from Laura Siegel to Michael
               Siegel. As Defendants informed DC, they were unable to identify a document that
               matched either (1), (2) (although there was a December 16, 2002 letter from Marc
               Toberoff to Ari Emanuel, Joanne Siegel, and Laura Siegel Larson that was long
               ago produced to DC) or (3).

       Docket No. 160 at 71-72, n.26. DC previously misrepresented this statement to the
       Court, and was called on it. Now, it oddly dismisses this as a “footnote” and “indirect”
       (Mot. at 8), when Defendants’ statement is perfectly clear. DC’s motion now advocates
       that the Court order a vague search and production that goes far beyond the
       purported July 5 letter and implicates privileged communications. For instance,
       “communications from June or July 2003 involving Michael Siegel, Don Bulson
       [Michael Siegel’s attorney],” etc., or a “draft” of [a] contemplated communication.
       Mot. at 8-9. DC thus argues that the alleged July 5 Letter may be completely different
       from what is described in the Timeline, the sole basis for DC’s original motion. There are
       many duly logged communications from this period. See Docket Nos. 162-7, 162-8, Ex.
       W. DC’s motion for reconsideration on this point is both nonsensical and moot.”

Docket No. 269 at 11-12 (emphases added). Defendants thus accurately stated that the July 5
letter did not exist as described, and expressly referred to privileged communications (e.g., “a
draft”) that were different from the letter as described in the Timeline. DC misrepresents the
record. There was no “misrepresentation” (8/7 Letter at 11) by defendants at any point.

Lastly, DC’s vague arguments about “drafts” of the July 11, 2003 letter (8/7 Letter at 11-13) are
unsupported by any references to the record. The only purported error DC can point to is that
such drafts, which, like the July 11, 2003 letter itself, were faxed from Laura Siegel Larson to
Marc Toberoff, were logged as part of such faxes, but not separately logged as “attachments.”
8/7 Letter at 11-12, 13. Yet, despite DC’s repeated claims, in both this case and Siegel, that
defendants’ logs were insufficient for not separately listing “attachments,” the Courts repeatedly




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upheld defendants’ logs. See, e.g., Docket No. 209. DC’s real complaint seems to be that it lost
numerous discovery motions.

Nor does the July 11, 2003 letter contain any “revelations” (8/7 Letter at 12) as DC pretends.
DC avers that “the document confirms that Kevin Marks … told Toberoff and the Siegels that
the Siegels ‘had a deal with DC.’” Id. Kevin Marks testified to the same thing in the Siegel case
and, on summary judgment in Siegel, DC presented Marks’ testimony to the Court, which
properly dismissed it as irrelevant. DC’s rhetoric that defendants have “ma[d]e arguments
directly contrary to the letter” or that the letter “directly refutes key factual positions” (id. at 12,
13) is unsupported by any evidence.

        C.      November 2, 2002 Letter/November 17, 2001 E-mail

The issues surrounding the November 2, 2002 letter from Michael Siegel to Laura Siegel and the
November 17, 2001 e-mail from Mr. Toberoff to Michael Siegel were extensively examined in
defendants’ recent motion for reconsideration. Docket No. 457. In DC’s motion for review it
argued that privilege had been waived as to the November 2001 email based on the repeated,
knowingly false assertion that “Michael’s lawyers confirmed that they gave Toberoff a copy of
the email six years ago.” Docket No. 455 at 1. Defendants exposed this lie in their motion for
reconsideration proving that (1) Renner Otto never said any such thing and (2) Renner Otto had
sent Michael’s paper files to Melvin Banchek, administrator of Michael’s estate. DC unwittingly
demonstrated in its opposition that it had known all along from the testimony of Michael’s
lawyer, Don Bulson, and other evidence that Renner Otto had not sent Michael’s paper files to
Mr. Toberoff, as DC and its counsel had willfully misrepresented to Judge Wright.

This firm received paper files from Michael’s estate in 2006 that were responsive to DC’s
particular subpoena requests to Renner Otto in the Siegel case. The November 2001 email,
however, was not present in such paper files, as consistently represented and testified to. Despite
DC’s misrepresentations, the chain of custody over Renner Otto’s paper files was twice broken
before any such files were received by this firm. DC has presented no competent evidence
whatsoever that the paper files sent by Renner Otto to Mr. Banchek even contained the
November 2001 email. The only thing DC has ever pointed to is a casual 2012 e-mail sent by
Josh Ryland (a litigator who neither represented Michael nor participated in the creation of
Renner Otto’s electronic archive six years ago) suggesting that the paper files “should be the
same” as their electronic archive. Moreover, there is no evidence that even if the paper files sent
to Mr. Banchek had been “the same” – which we do not know – all such paper files were sent to
Mr. Toberoff’s firm in connection with DC’s subpoena requests in Siegel. DC cannot point to
the Court’s July 16, 2012 order, without opinion (Docket No. 457), that DC solicited by outright
misrepresentations, nor the Court’s more-recent order denying defendants’ motion for
reconsideration without opinion (Docket No. 488) as a finding of any misconduct by defendants.

DC’s hyperbole that the November 17, 2001 e-mail is “critical” (8/7 Letter at 16) is also absurd.
DC’s false assertion that the November 17, 2001 e-mail “showed that Toberoff had contacted the




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Siegel family well before he claimed to have done so in SLAPP briefs you filed” (8/7 Letter at
16) is based on a willful misreading of those briefs, which clearly used the term “Siegel family”
to describe Mr. Toberoff’s clients Laura and Joanne Siegel, not the third party Michael, who was
a bystander. DC has repeatedly engaged in such misleading word games, even where the term
“Siegels” has been expressly defined by defendants as solely referring to Laura and Joanne
Siegel. E.g., Docket No. 455 at 2. This sort of intentionally misleading gamesmanship has
become emblematic of DC’s and its counsel’s appalling litigation tactics in this case.

As DC well knows, Laura and Joanne Siegel served and filed Superman notices of termination,
not Michael. And Laura and Joanne, not Michael, conducted the settlement negotiations with
DC that it claims Mr. Toberoff interfered with. Michael is immaterial to DC’s tortious
interference, and for this reason, Michael Siegel, despite his last name, nowhere appears in DC’s
lengthy complaint. No amount of rhetoric or wordplay changes this reality. DC’s newfound
arguments regarding Michael Siegel are, for the most part, an irrelevant sideshow designed to
mask DC’s inability to support its frivolous claims.

Moreover, the November 17, 2001 email, as held by Magistrate Zarefsky, after reviewing it in
camera, is a clearly privileged communication regarding potential legal representation and
advice as to Michael’s rights (Docket No. 451), undermining DC’s specious tactical theme that
Mr. Toberoff, its opposing litigation counsel for eight years, was acting as a “Hollywood
businessman,” not as an attorney.

       D.      Other Issues

Billionaire Investor: Despite DC’s unrelenting discovery in this case, DC still has nothing to
substantiate its false allegation that Mr. Emanuel made a fraudulent offer to the Siegels, which,
like DC’s “billionaire investor” sideshow, is contrary to the testimony of every relevant witness.
The very documents DC points to as support for its “billionaire” allegations, such as the
November 2, 2002 letter from Laura Siegel Larson to Michael Siegel squarely contradict DC’s
ultimate claim of tortious interference, and demonstrate that DC derailed its own settlement
negotiations with the Siegels long before Mr. Emanuel’s $15 million offer in August 2002,
rendering DC’s “billionaire” allegations immaterial. Notwithstanding this, as Laura set forth in
her recent declaration, Mr. Toberoff made no representations or promises about a “billionaire
investor.” Docket No. 466-2. This is consistent with the sworn testimony of Kevin Marks, the
Siegels’ former counsel to whom the August 2002 offer was conveyed. Docket No. 312-2.

Renner Otto Bills: DC’s claim that it was “forced” to “incur needless costs to obtain Renner
Otto’s bills” is also meritless, as Magistrate Zarefsky, in spite of DC’s erroneous arguments and
after in camera review, upheld many/most of the privilege claims as to Renner Otto’s bills and
specifically approved multiple redactions of such bills so as to preserve privilege. Docket No.
451. As to DC’s claim that such entries “confirm that Toberoff spoke to Bulson in November
2001” (8/17 Letter at 16), that is hardly a “revelation” given that defendants disclosed Mr.




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Toberoff’s communications with Michael Siegel during that same time period in their log of the
Bulson electronic archive.

Failure to List Ari Emanuel: DC also complains about the inadvertent failure to list Mr.
Emanuel as “cc’d” on two short scheduling e-mails with the U.S. Attorney’s Office that are of
no moment. This supposedly “stark example” is de minimis. DC’s contention that it “could have
shown only how much more baseless defendants’ common-interest claims were” is nonsensical
given the inconsequential content of these two e-mails. 8/7 Letter at 16-17.

Other Privilege Claims: DC complains that Mr. Toberoff, in 2006, in the Siegel litigation,
asserted the common interest privilege on behalf of Laura Siegel Larson, regarding certain
communications with Michael Siegel’s attorney, Don Bulson, and that an Ohio Court ultimately
rejected the privilege. DC then rhetorically asked whether privilege was asserted in “good faith.”
8/7 Letter at 17-18. DC points to nothing to show that the privilege assertion was not made in
good faith, or that the documents were inaccurately described to the Ohio Court. DC
misleadingly neglects to mention that the same Ohio Court denied DC’s motion to compel and
upheld Mr. Toberoff’s assertion of the common interest privilege as to the vast majority of the
communications between Laura and Michael. See Docket No. 163, Ex. C.

DC’s August 7, 2012 letter contains numerous further misstatements, non sequiturs, and
erroneous contentions. For example, DC repeatedly complains that KBK did not “join” briefs
(see, e.g., 8/7 Letter at 3, 14) that were directed at defendants that KBK does not represent.

While we have endeavored to correct many of DC’s misstatements, mischaracterizations of the
record and misleading omissions in its overblown 27-page letter, such are too numerous and
convoluted to address all of them. Accordingly, any failure to address any such misstatement or
mischaracterization should not be construed as defendants’ assent.

DC’s pattern and practice of manufacturing overblown discovery disputes is nothing more than a
transparent attempt to drive up litigation costs and shift the focus away from DC’s meritless,
dying claims. DC’s and its counsel’s willfully misleading litigation tactics are highly improper,
and will be brought to the Court’s attention. All of defendants' rights and remedies are reserved.

Very truly yours,


Keith Adams




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Tete~!: Dacl!lmber 2001
                                                                                              0.10                         $27.50




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                                                                  EXHIBIT 13                                              EOMS 00183
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         Case 2:10-cv-03633-ODW-RZ                         Document 500-3 Filed 10/10/12                       Page 118 of 165
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   11/22/2001                                    RBnner, Otto, Boiaaelle, & Sklclr, LLP
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   SIEG.2G0101 :Mr. Mike Siegel (eQntinued)

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  T<:tel: January 2002                                                                      0.35                     $96.25
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         35125 Ser.Acs
                 Tel, conf. with Marc Toberort
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     2tt:V2002 DWB                                                        276.00           0.70      192..60         Billable
         35128 Ser.4ce
               Tel. conf. with Mr. Siegel

     2/23/2002
         36200


    2125/2002 OWB
       352 1 3 Sai'IAce
               Tel. conf. with 6te\e Wob$ter, prepare rcr meeting, meeting With Mike
                 Siegel


 ro:ar. February 2002                                                                     15.60                   $4,37Z.50

 ,Date: Marc!'! 2002
     ~1a12oo2    owe                                                     21~.00            1.50     412.50          Bnlable
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              Tel. c:onf, with Ke..;n Marks

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             Tal. conf. with Ms Siegel

   3122/2002 DWB                                                        276.00            0.70     192.!!0         Billable
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                Tel, conr. with Marc Tobero!f

.,.otal: March 2002                                                                       :3.40                   $ 9JO.OO




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                                 Case 2:10-cv-03633-ODW-RZ                                        Document 500-3 Filed 10/10/12                         Page 119 of 165
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                   SIEG.ZG0 101:Mr, Mike Siegel (continued)

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                                     Email report to M ike Siegel

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            Case 2:10-cv-03633-ODW-RZ                          Document 500-3 Filed 10/10/12                    Page 120 of 165
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   SIEGi.ZG010 1:Mr. Mfl(e Siegel {conllnued)

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        9.'27/ 2002 OWB                                                       21l0,00                 377.00          Billable
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                Case 2:10-cv-03633-ODW-RZ                                 Document 500-3 Filed 10/10/12                                Page 121 of 165
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          Case 2:10-cv-03633-ODW-RZ                           Document 500-3 Filed 10/10/12                        Page 122 of 165
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   SIEC3.ZG0101 :Mr. Mike Siegel (continued)

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         SIEG ZGOt0 1:Mr. Mike Slgg&l (continued)
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                                                            The Keith BuiJdlng
                                                           1!5211!uCIId Avenue
                                                           Clevefand, OH 44116
                                                              (216) 621-'\113


     Invoice submitted to:
     Mr. Mike Siogot
     3605 9end9m. .r Rd
     Olevefaod Helghta OH 44106



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                                                       The Keltn euna1na
                                                       1621 Euclid Awnu9
                                                      Cleveland, OH 44115
                                                         (216) 621-1113


   lnvoiC9 9Ubmitted Jo:
   Mr. Mll<e Siegel
   3605 Bendemeer Rd
   Cleveland Heights OH 44106




                                         For Period Ending July 31, 200'2

    00101; Notices of Tennination of Copyright Transfer In SUPERMAN




                 Professional Services
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                                       Rerflr, Otto, Solaaella, & Sklar, LLP -
                                                       The Keith Bu»dlng
                                                       1621 Euclid Avenue
                                                     Cleveland. OH 44115
                                                        (216) 621·11 13


   lnvoicfl :submitted to:
   Mr. Mike Siegel
   3605 Bendemeer Rd
   Cl~vel:md Hlollght~ OH 44106




                                          For Period Ending November 30, 2002.
    C30101: Notices of Termination of Copyright Transfer In SUPERMAN




                  Professional Services
                                                                                     _ llra£Batft   Amount
    jJI1 112002 gws Review Sieger renQC, place call to Toberoff                             0.40     116.00
                                                                                     $2.(10.00/hr
    11/1912002 OWB Tel. eonf. with Marti: ioberoff                                         1.00     280.00
                                                                                     $290.00/hr
                                                                                           0.30       87.00
                                                                                     S29o.oomr
                  For professional services rendered                                        1.70    $493.00




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                                                         EXHIBIT 13                          EOMS 00196
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      Case 2:10-cv-03633-ODW-RZ
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                                                             Tho Keith Building
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                                                             1621 Euclla Avenue
                                                            Cleveland, OH 44115
                                                               (216) 621 ·1 1 13


      Invoice submiffed to:
      Mr. Mike Siegel
      3605 Bendemoer Rd
      Olev~land H~ights OH 44106




                                             For Period Ending January 31,2003
       G0101; Nollcec of Termlnallon of Copyright Transfer In SUPERMAN




                      Prof~eionel Service~

                                                                                               Hrt!(Rate      Amount
        1115/2003 OWB Review file, corre$pondence with Mr. SJGgsl                                  0.40       116.00
                                                                                             $290.00/hr
        111612003 owe Email to Toberoff. review and replY to email from Mike Sieger                0.35       101.50
        1/22120   •

       1123/2003 OWB Te. conf. wlih Marc Tobaroff                                                   0.60      174.00
                                                                                             $200.00/hr
       1/241200a DWB Tel. conf. with Mere Tcbei'off                                                 0.50      145.00
                                                                                             $290.00/hr
       1/2812003 OWB lAil9al rcasearch, report to Mike Siegel                                       1.00      290.00
                                                                                             $290.0 0/hr
       1129/2003 OWB Tel. eonf. with Mike Siegel                                                    0.60      174.00
                                                                                             $2.90.00Jhr
                      For pf'Qfes~ionel :seNices rendered                                           9.45   $2,740.60




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                                           Re.       r . otto. Boisseue. & Sklar. LLP •
                                                          The KelCh BUI!dlng
                                                         1621 Euclid Avenue
                                                        Cleveland. OH 44115
                                                           {216)621- 1113


    Jnvofc9 svbmitr9d to:
    Mr. Mike Siegel
    3606 Bendemeer Ad
    Cleveland Heights OH 44106




                                           For Period Ending M~rch 31,2003
     <30101; Notices ofTermrnatlon orcopyr1ghtTransrerln SUPERMAN




                   Proressronal Services
                                                                                           Hrs/Rale    Amount
          3/4/2003 owa Tel. oonf. with Mare Toberoff                                           0 .45    130.50
                                                                                          $290.00/hr
                   For professional Gervfces rendered                                           0.45   S130.50




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                                          Re8r. Otto, Boiasene. & Sklar. LLP
                                                           The Kerth Building
                                                          1921 Euclid Avenue
                                                         Cleveland, OH 44115
                                                            (216) 621-1113


        Invoice submittod to:
        Mr. Mike Sieger
        3606 Bendemeer Rd
        Cleveland Hetgnts OH 44106




                                             For Period Ending April 30, 2003
         G0101; Notice-s of Termination of Copyright Transfer In SUPERMAN




                     ProresstonaJ Services
                                                                                                  Hr¥Rate        Amount
            4/412003 DWB Tel. oonf. with Men:J Tobcroff                                              0.35        106.75

        •
                     For profeeslonel services rendered                                                          $70UIO




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                   ay-01 -IZ 07: 47pm          From-                              To-                 Pa1e OZ7
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                                                             The Keith Building
                                                            1621 euclid Avenue
                                                           Cleveland. OH 44115
                                                              (210) 021 -1113


       tnvolce submitted co:
       Mr. Mike Siagal
       3605 Bendemeer Rd
       C lgvgl~nd Height& OH 44106




                                                For Period Ending May 31 , 2003
             G0101 : Notices of Termination ofCopyrightTrat1aferln SUPERMAN




                        Professional Sorvices
                                                                                          Hrs}Bate   Amount

       'tl     6/2/2003 owe Tel. conr. with Marc Toberoff                                     0.30     91.50




                        For proresslonal services rendered                                   1.80    $579.50




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                                                            The Keith Buildin9
                                                           1621 Euclid Avenue
                                                         Cleveland, OH 44116
                                                            (216) 621-1113


        lnvoic9 submitted to:
        Mr. Mll<e Siegel
        3S05 Bendemeer Rd
        creverana Helgnrs OH Jl.ll105




                                              F=or Period Ending June 30. 2003
         C30101; Notices of Termination of Copyright Transfer In SUPERMAN




                      Professional SeiVIces
                                                                                                        Hre/Rate        Amount

           8/3/2003 OWB Tel. oonf. with Toberoff re offer for rights                                             0.40    122.00
                                                                                                         I   f I   lo
          S/1012003
          6/17/2003
          6/1812003

          e/19/2003 owe Tel. conf. with MarcToberoffregardlng propo:set                                          0.40    122.00
                                                                                                     $305.oornr
          6/23/2003 DWB Report to Mr. Siegel                                                               0.30           91.50
                                                                                                     $305.00/hr
                      For professional services rendered                                                   2.90         $684.50




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                                         R&r. Otto. Botssene, & 51Ciar.
                                                           The t<elth Bul!dlng
                                                                                       LL4
                                                         1621 Euclld Avenue
                                                        Cleveland, OH 44115
                                                            (2'16)821 -1111


        Invoice submitted to:
        Mr. Mike Siegel
        3605 Bendemeer Rd
        Cleveland Heights OH 44106




                                            For Period Ending July 31 , 2003
         G01 01: Notice~ of Termination of Copyright Transfer In SUPERMAN




                    Professional Services
                                                                                                Hrs/Rate      Amwot
          7/1412003 owe                                                                              1.40         427.00
                                                                                               $305.00/hr
          7121/2003 DWB                                                                             0.40          122.00
                                                                                               $30,.00/hr
                    For professional servrces rendered .                                            1.80      $549.00




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        Case 2:10-cv-03633-ODW-RZ
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                                           Ro4 tr. Otto, Soiasefle, & Sld:n, LLP
                                                          The Keith Building
                                                                                     e
                                                          1621 Euolid Avenue
                                                      Cleveland, OH 44115
                                                         (216) 621,1113


      Invoice submllted to:
      Mr. Mike Siegel
      3605 Bendemeer Rd
      Cleveland Heights OH 44106




                                           For Perio<l Ending February 2S, 2002
       G0101; Notices of Termination otCopyrtght Transfer in SUPERMAN



                   Professional Services

                                                                                          Hrs/Rare      Amount
        2/1112002 DW8 Tel. conf. with Marc Tnt,.. rr\ff                                        1.45      39&.75
                                                                                         $276.00/hr
        211212002 DWB Tel. cont. with Mr. Siegel                                               0.10      192.SO
       2J2312002
       2/2512002

                   For prole~slonal aervi.cea reodered                                                $4,372.50




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                                      Re~r, Otto, BolsseUe, & Sklar, LLP
                                                      Th~ Keith Building
                                                                                  e
                                                      1621 Euclid Avenue
                                                    Cleveland. OH 44116
                                                        (2115) 521~11 13


    tnvotoe submmea to:
    Mr. Mike Siegel
    3605 Bandemeer Rd
    ClavQh;nd Halghto OH 44106




                                         For Period Ending June 30, 2004
     G01 01; Notices of Termination of Copyright Transferin SUPt:RMAN




                 Profe&eionel Service&
                                                                                         Hrs/Rate         Amount

       6/312004 DWB Ter. cont. wltn Marc Totleroff                                            0.60         189.00
                                                                                        $316.00/hr
       6/612004 DWB Review and reply to emarrs rrom Mr. Sieger and vOice malr message         0.60         189.00
                    from Mr. Toberoff                                                   $315.00/hr
      S/2112004 DWB Review end reply to email, prepare for meeting, meelins with Mr.         3.40        1,071.00
                    Siegel                                                              SJ15.CO/hr
                 For professional services rendered                                          4.SO       $1,449.00




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                                     Re- r , Otto, Boisselle, & Sklar, LLP
                                                       The Kelth Building
                                                      1621 Euclid Avenue
                                                  Clev~nd, OH       44115
                                                        (216} 621-1113


   rnvolce sui'Jmltlearo:
   Mr. Mike Siegel
   3605 Bsndemeer Rd
   Clsveland H-eights OH 44106




                                      For Period Enolt'lg July 31, 2004
    G0101; Notice& of Termination of Copyright TranGfer in SUPERMAN



                 Professional Service&
                                                                                   Hrs/BiUf     Amount

      7/812004 DWB Place caD lo Tobaroff                                                0.10      31.50
                                                                                  $315.00/hr
                 For professional services tendered                                    0.10      $31.50




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                                      R . r, Otto, S olaaelle, & Sklar, LLP
                                                      The Keith Building
                                                                                 e
                                                    1621 Euclid Avanue
                                                   CleVeland. OH 44115
                                                      (218) 621-1113


    Invoice submitted to:
    Mr. Mike Siegel
    3eot5 Benaemeer Ra
    Cleveland Heights OH 44106




                                        For Period Ending September 80, 2004
     G01 01: Notrees or Termtnatton of copyright Transfer In SUPERMAN




                 Professional SQNicos

                                                                                     • tfrs/Bate   Amount

      9/30/2004 DWB Tel. conf. with Marc Toberoft re purchase offer                        O.SO     189.00
                                                                                     $316.00/hr
                 For professional servioes rendered                                        0.60    $159.00




     Received   May·OJ-IZ 07:47pm          From-                           To-               Paae 04Z
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                                                       The K~ith BuUding
                                                      1621 Euclid Avenue
                                                     Clevelend, OH -44116
                                                         (218) 621·1113


    lnvoico submitted to:
    Mr. Mike Siegel
    3606 Bandc:~mGar Rd
    Cleveland Helgtns OH 44100




                                         For Period Ending October 31 . 2004
     G01 01: Notloes of Termination of Copyright Transfer In SUPERMAN




                 Profe:sl5ionz:~l Services

                                                                                       Hrs/Rate    Amouru
      1015/2004 OWB RwiGw file, prop;.re rwport, email to Mike Siogel                      0.90     2ea.so
                                                                                      $315.00/nr
     10/1112004 OWB Tel. conf. with Marc. Toberoff re offer                                OAO      128.00
                                                                                      $315.00/hr
     10/1312004 OWB                                  tel. conrs. With Marc Toberoff        0.80     252.00
                                                                                      $316.00/hr
     1012712004 OWB Tel. coni. with MarcToberoff                                           0.30      94.60
                                                                                      $316.00/hr
     10128/2004 owe Tel. conf. with Mike Siegel                                            0.30      94.50
                                                                                      $316.00/hr
                For professional services rendered                                          2.70   $850.60




     Received   May-01-lZ 07:47pm            From-                             To-            Paae 043
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    Apr . 29 .Case
              2012 2:10-cv-03633-ODW-RZ
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                                                         , Otto. Boiasalla, & Sklar. LLP
                                                               me Kelth BUilding
                                                               1621 EuellcS Avcanua
                                                             CleveLand, OH 4411~
                                                                 (216) 621-1113

                                                               November 14, 2007            lnvoioa #     90477
        Invoice submillad to:
        Mr. Mike Siegel
        9605 Bendemeer Rd
        <;leveJsnCI Heights OH 441 os




                                                 For Period Ending November 30, 2004
         G01 01; Notlce5 of Termln~tlon elf Copyright Transfer In SUPeRMAN




                         Proresslonal Services

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           11/AI./2004

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                         For proresslonal services rent1ered                                            2AO       $756.00




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      Case 2:10-cv-03633-ODW-RZ
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                                                     , Otto, Bofssell&, & Sklar, LLP
                                                         The Keith Building
                                                        1621 Euclid Aven\IC
                                                       crevetand, OH 44116
                                                          (216) 621·1113


    Invoice ISUbmiffoci to:
    Mr. Mike Siegal
    3605 aendemeer Rd
    Cleveland Haight~ OH 44106




                                           For Period Ending Meroh 31,2002
     G0101: Notices of Termination of CopyrightTtansfer in SUPERMAN



                   Professional Services
                                                                                         Hrs/Rate    Amount

        3/612002 owa Tel. conr. wnn Kevin Marks                                               1.50    412.50

      311212002
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      3/1512002                                                                              0 .35
                                                                                        $275.00/hr
      312212002 DWB Tel. conf. with Marc Toberoff                                             0.70    192.oo
                                                                                        $276.00/hr
                   For profeeefonel aervloee rendered                                         3.40   $936.00




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                                                             1621 Euclid Avenue
                                                           Cleveland. OH 44115
                                                              (210) 021-1113
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    lnYDice :wbmltted to:
    Mr. Mike S iegel
    3605 Bendemeer ftd
    Clovaland Height& OH 44106




                                               For Period Endln9 Feb\'\lary 28, 2005
        G01 01 : Notices of Termination of Copyright Transfer In SUPERMAN




                       Professional Services

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         2117/2005 owa Tel. conr. WJtn Marc ToDeroff                                               0 ,50        157.50
                                                                                             $315.00/hr
                       For profoE;sional GGrviQG& rendered                                         0.60        $1o7.5Q




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                                                            The Keith Building
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                                                           16.21 Euclid Avenue
                                                          Cleveland, OH 44115
                                                             {216) 621-1113


         lnvolca ~ubmftted to:
         Mr. Mike Stege\
         3605 aendcmecr Ro
         Cleveland H~ights. 01-1 L1A 1OS




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          G0101; Notices or Termination of copyrtaht Transfer In SUPERMAN




                       ProressJonal Services
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           10/3/2005 KMO Created Motion to Intervene.                                            1.00    100.00
                                                                                           5100.00/hr
           101412005 KMG Created Motion to Intervene.                                           1.00     100.00
                                                                                           $10o.oomr
          10/1212005 KMG Created Motion to Intervene.                                            1.00    100.00
                                                                                           $100.00/hr
     ,    1013112005 owa Tel. oonf. With Marc Toberoff. meeting with Mike Siegel                 1.90   627.00
                                                                                           $330.00/hr
                       For profeaefonal aervlcea rendered                                       4.90    $927.00




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      N 1ck:n ;;~rn <i1             SIEG.l 0102 I 38877
      F•JII Name                    Mr. Mike Siegel
      A.ddrf:H>~>                   3605 Bendemeer Rd
                                    Cle-.eland Heights OH 44106
      Phone 1                                                    Pnone 2
     J.'hone 3                                           Phone .:1
     In Ref To                      L0102; RENNER, OTIO. BOISSELLE & SKLAR vs . ESTATE OF MICH~A l SIEG~L ~ CASE NO.
                                    cv-07 ~208!)6
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           NietcrumQ                 S I5G.2G0100 113840
           Full N,me                 Mr, Mll<e S iegel ·
           Address                   3605 Bendemaar Rd
                                     Cl~land Helgnts OH 44105
          Pnone t                                           Phone 2
          Phon Q 3                                          Phone 4
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                                      Laura Siegel Larson
                                    6400 Pacific Avenue #106
                                    Playa Del Rey, CA 90293

                                          November 2, 2002

 Michael Siegel
 3605 Bendemeer Rd.
 Cleveland Heights, Ohio 44118

 Dear Michael,

         Thank you for your very nice letter of October 2Dd. I truly appreciate your understanding
 of the difficulty of my divorce. You did not mention how your mother is doing. I hope that
 means she has improved and is home with you again.

          This has been a very busy month involving various aspects of the Superman and
 Superboy rights. Enclosed you will find a copy of a letter my mother and I have sent to Lillian
 Laserson, the General Counsel ofDC Comics and Roger Zissu and Carol Simkin ofDC's outside
 law firm, Fross Zelnick Lerhman & Zissu, P.C. Under the terms of the Tolling Agreemen~ these
 letters had to be sent at the conclusion of negotiations with DC so that the Tolling Agreement is
 tenninated as well.

         We were shocked by the change of attitude we saw in Bruce Ramer and Kevin Marks
 from the time we retained them to recent months. In the beginning they appeared to be very
 much on our side, determined to get justice for us and they vowed to work hard for us in
 negotiations versus DC and AOL Time Warner. Toward the end of2001, there was a shift.
 They started pressuring us to lower our expectations and to take an offer we did not want. They
 increasingly seemed to be siding with DC against our interests. We never made any outright
 acceptance of the DC deal. Kevin tried to scare us by saying if we didn't take DC' s "final offer"
 they'd probably sue us.                                            .-.
                                                      . .:.··

         Between February and May of this year we became so dissatisfied with their
 representation and the revolting offer from DC that we asked for a meeting with Kevin on May
 22ad planning to fire them then and there. In the meeting, we decided to give Kevin one last
 chance. He wanted to redraft DC 's February t• proposal along the lines of the last discussion he
 had had with John Schulman. We gave Kevin conditional permission to do just that but it was
 not to be sent out if we did not approve of it As you know it was unacceptable and we fired
 Gang, Tyre, Ramer & Brown and notified DC, etc. that negotiations were over.

        That terrible letter from Kevin in which he threatened to testify against us if called into
 court was the last straw. We are glad to be rid of them.

         It came as quite a surprise to my mother and me that everyone but us--Arthur Levine,
 Kevin Marks, you, and Don Bulson-knew about the interest of Marc Toberoff and Ari
 Emmanuel in the properties as far back as 2001 and no one ever mentioned it to us until Kevin's
 Jetter of August, 2002. It was very interesting to hear from you that you and Don Bulson were
 contacted in Nov., 2001. It's a shame that Kevin kept them from contacting us and that he did




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       Page2
       Nov. 2, 2002

       not inform us of them or their offer until August 2002.

               My mother and I have had extensive meetings with Toberoff and Emmanuel in the past
       few weeks. We learned that due to the delays and the misinformation Kevin had given them that
       there was a deal with DC, the billionaire investor who was offering $15 million up front plus
       participation thought it was a hopeless situation and invested his money elsewhere. We were
       very impressed with Toberoff and Emmanuel, however, and have signed them as our new
       representatives. Not only do they have a first band knowledge of the real value of properties that
: -
       are adapted to TV and film. it is possible that the top talent that Emmanuel's Endeavor Agency
       represents (top stars, directors, producer-writers) could be successfully packaged with Siegel
       properties. They have other ideas as well. In addition, Toberoff, the attorney, has a successful
       track record of representing creator-writers and their heirs who have been screwed by the studios.
       This makes them a good fit with Superman and other Siegel creations. They consider DC's last
       offer to us ridiculous. They are currently putting together a strategy that will be much more
       aggressive than anything that Marks or Ramer ever did. We are hopeful that they will bring
       matters to a satisfying conclusion.

               I now have two new divorce lawyers and my ex is continuing to represent himself. He
       doesn't care how much this costs me or that it's taking money away from the children. The latest
       on that front is that he didn't like a ruling the judge made in my favor by extending the
       restraining order against him. So he's taking it to the Court of Appeals and trying to get it
       dismissed on a technicality. This is, of course, time consuming, upsetting and very expensive.

               I have boxes and boxes of divorce, copyright and financial paperwork everywhere in my
       small place--even all over my bed-including the ~rds of Superman expenses I xeroxed for
       you a long time ago. When my ceilings had to be ripped out and replaced, and I had to pack
       things up and move out for awhile, things got even harder to locate. As soon as I find the papers
       that pertain to you, I'll put them in the mail along with my mother'~

              I hope you will Stay weii a8 the v,:;;ther 'c~ges-and tlud the increa8ing cold·d~n't
      make your arthritis act up. We're all sick here. I've had a throat and sinus infection for three
      weeks now. The antibiotics I've taken haven't worked and I have a lot of pounding headaches.
      I'm also having a flare~up of my Multiple Sclerosis with increased numbness and tingling. I fell
      down three times in the last few days, once onto a pile of carton boxes. I also suffer from chronic
      fatigue and need rest badly. My mom has bronchitis, Michael's asthma has been bothering him
      and James fractured his wrist playing flag football. His cast just came off this week. Here's
      hoping it won't be a bad winter and we'll all be better soon.

              Best wishes for the holidays,



              Laura




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NEWPORT BEACH                                                                           WASHINGTON, D.C.

NEW YORK




                                                                                        OUR FILE NUMBER
August 16, 2012                                                                              905900-321

VIA E-MAIL                                                                           WRITER’S DIRECT DIAL
                                                                                          (310) 246-6840
Marc Toberoff
                                                                                  WRITER’S E-MAIL ADDRESS
Toberoff & Associates, P.C.
                                                                                   mkline@omm.com
22631 Pacific Coast Highway #348
Malibu, CA 90265

Richard Kendall
Kendall Brill & Klieger LLP
10110 Santa Monica Blvd., Suite 1725
Los Angeles, California 90067

                Re:    DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

Dear Counsel:

        The “Privilege Log of Bulson Archive” that defendants produced in this case on
November 29, 2011, claims privilege over 224 documents defendants failed to claim privilege
over in October 2006, when defendants submitted their first privilege log for Don Bulson. The
new privilege log entries on the 2011 “Privilege Log of Bulson Archive” are: Entry Nos. 1-4, 7,
10, 12, 14, 16, 17, 19, 21, 22, 24-26, 28, 30, 32, 33, 35, 37, 39, 40, 42-44, 48, 49, 51, 52, 54, 55,
57, 58, 60, 61, 63, 66-73, 76, 77, 79-82, 85-94, 96, 99, 104, 106, 107, 110, 112-115, 117, 122,
123, 130, 134, 135, 137, 143, 147, 150, 152, 153, 157, 158, 160, 161, 176, 178, 186, 188, 191,
194, 200, 202, 204, 224, 231, 235, 237, 238, 240, 248, 249, 252, 253, 265, 267, 284-286, 289-
292, 295, 299, 303, 305, 308, 314, 318, 321, 324, 325, 329, 332, 336, 340, 347-349, 352, 355,
361, 364-368, 370-372, 375, 376, 385-387, 396-398, 403, 405-406, 413, 428, 439, 442, 447, 458,
459, 471, 474, 484, 485, 499, 509, 512, 517, 520-537, 539, 541, 543, 545, 547, 548, 550-561,
563-566, 568, 570, 573-584.

        Defendants’ failure to log these 224 documents for five years—from 2006 to 2011—
constitutes a waiver of privilege, and all of these documents must be produced. See Docket No.
457; Burlington N. & Santa Fe Ry. Co. v. U.S. Dist. Ct., 408 F.3d 1142, 1149-50 (9th Cir. 2005);
Vieste, LLC v. Hill Redwood Dev., 2010 U.S. Dist. LEXIS 126607, at *27-29 (N.D. Cal. Nov.
18, 2010); Hoot Winc, LLC v. RSM McGladrey Fin. Process Outsourcing, LLC, 2010 U.S. Dist.
LEXIS 57880, at *8-11 (S.D. Cal. June 11, 2010). Your claim that defendants did not previously




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possess the documents above until 2011 has been rejected, Docket No. 457, and is demonstrably
untrue, Docket No. 477.

        Defendants also assert that certain of the new entries in the Bulson Archive Log (1) were
logged multiple times to “track” their repeated appearances in the electronic archive, or (2) were
not responsive to DC’s prior requests in the Siegel case. Docket No. 362-2 at 323. Please
immediately and specifically identify which of the 224 documents above defendants claim fall
into category (1), and please immediately and specifically identify which of the 224 documents
above defendants claim fall into category (2). DC reserves all rights to challenge such claims.

       If defendants refuse to produce the requested documents and information to DC, DC
requests a Rule 37 meet-and-confer to discuss the issues. Please let us know when you are
available.

                                                 Very truly yours,

                                                 /s/ Matthew T. Kline

                                                 Matthew T. Kline
                                                 of O’MELVENY & MYERS LLP

cc:     Daniel M Petrocelli, Esq.
        Defense Counsel




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                                            22337 PACIFIC COAST HIGHWAY #348

MARC TOBEROFF*                                   MALIBU, CALIFORNIA 90265                                      TELEPHONE
KEITH G. ADAMS                                                                                               (310) 246-3333
PABLO D. ARREDONDO*
DAVID HARRIS                                                                                                    FACSIMILE
                                                                                                             (310) 246-3101
* Also admitted in New York
                                                                                                         kgadams@ipwla.com


            August 27, 2012

            Via E-Mail

            Matthew Kline
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Dear Matt:

            I write in response to your August 16, 2012 letter, asserting that defendants have somehow
            waived privilege over 224 documents listed in defendants’ November 29, 2011 privilege log
            corresponding to Renner Otto’s electronic archive received by this firm in summer 2011 on the
            purported ground that such documents were supposedly in defendants’ possession through the
            2006 Bulson paper file and not logged in the 2006 Bulson privilege log, or otherwise.

            1.      As a preliminary matter, it is obvious that many of the purported “224 documents” were
            listed on defendants’ prior logs, as a cursory examination of those logs reveals.

            For example, Entry No. 7 on the 2011 Bulson log describes a July 18, 1997 letter from Himanshu
            Amin to Michael Siegel, which corresponds exactly to (a) Entry No. 1 on the 2006 privilege log,
            furnished in connection with a subpoena to Don Bulson, and (b) Entry No. 43 on the Siegels’
            December 15, 2010 privilege logs.

            It is clear that DC, before sending its August 16 letter, did not even bother to examine or “match
            up” the 2011 Bulson logs to prior logs. As such, DC’s letter fails to identify the documents
            actually at issue and does not comply with Local Rule 37-1.

            2.      Given that DC did not bother to adequately identify the documents at issue, defendants
            are not obliged to do DC’s work for it and “match up” the documents listed in the 2011 Bulson
            privilege log into the categories DC suggests, nor has DC offered a reason why such an exercise
            would be useful.

            Moreover, it appears from DC’s demand that defendants identify documents “logged” multiple
            times that DC conflates the 2011 Bulson privilege log (which attempted to list documents only



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TOBEROFF & ASSOCIATES, P.C.

August 27, 2012
Re:   DC Comics v. Pacific Pictures Corp.
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once) with the “Master List” (which simply listed every document, both privileged and non-
privileged, in the “electronic archive” in the order in which they appeared, including duplicates).

In any event, our November 29, 2011 and December 14, 2011 letters both included detailed
descriptions of actual or potential discrepancies between the 2011 logs and prior logs, including
certain of the entries at issue.

3.      Furthermore, the proper time to have raised this issue was during the recent motion
practice concerning the November 17, 2001 email, which concerned similar issues as those now
argued by DC regarding the 224 documents. DC omitted the larger issue of these 224 documents
(most of which are irrelevant) from its initial motion and motion for review regarding the
November 2001 email because: (a) to do so would have undermined DC’s arguments that the
November 2001 email was supposedly secreted due its contents, rather than because defendants
did not have it in their possession; and (b) so that DC could later leverage a limited decision as to
one document (the November 2001 e-mail) into a decision that covers hundreds of documents.
Such tactics are obviously improper.

4.     Regardless, contrary to your letter, no Court has “rejected” the claim that defendants did
not possess these documents until 2011. As you are aware, Magistrate Zarefsky accepted
defendants’ claims as to when they came into possession of the November 2001 email and
denied DC’s motion on July 16, 2012. Docket No. 452. While Judge Wright overturned
Magistrate Zarefsky’s order without opinion (Docket No. 457), he did so based on DC’s repeated
knowing misrepresentation that Renner Otto had sent all of Michael Siegel’s paper files to Mr.
Toberoff. The July 16 order, which is currently the subject of defendants’ motion for
reconsideration, did not make any factual findings and certainly did not find that defendants
possessed either the November 2001 e-mail or the 224 documents in 2006, as DC claims.

Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.

Very truly yours,


Keith Adams




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NEW YORK




                                                                                    OUR FILE NUMBER
August 28, 2012                                                                          905900-321

VIA E-MAIL                                                                       WRITER’S DIRECT DIAL
                                                                                      (310) 246-6707
Marc Toberoff
                                                                              WRITER’S E-MAIL ADDRESS
Toberoff & Associates, P.C.
                                                                               jtokoro@omm.com
22631 Pacific Coast Highway #348
Malibu, CA 90265

Richard Kendall
Kendall Brill & Klieger LLP
10110 Santa Monica Blvd., Suite 1725
Los Angeles, California 90067

                Re:   DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

Dear Counsel:

        We write in response to your August 27, 2012, letter concerning the over 224 documents
defendants failed to claim privilege over in October 2006, when defendants submitted their first
privilege log for Don Bulson.

        1. Monday, August 27 was the last day by rule for defendants to meet and confer with
DC regarding the issues addressed in our August 16 letter. C.D. L.R. 37-1 (“Unless relieved by
written order of the Court upon good cause shown, counsel for the opposing party shall confer
with counsel for the moving party within ten (10) days after the moving party serves a letter
requesting such conference.”). DC will advise the court of defendants’ failure to do so.

        Your claim that our August 16 letter “does not comply with Local Rule 37-1” because it
does not “identify the documents actually at issue” is not well-taken and again shows defendants’
carelessness for the facts. You state that it is “obvious” that “many” of the over 224 documents
were listed on defendants’ prior logs. The sole “example” defendants identify is Entry No. 7 on
the 2011 Bulson log, which lists a July 18, 1997, letter from “Atty Himanshu Amin” to “Michael
Siegel,” withheld on the grounds of “Attorney/Client, Common Interest Privilege”:




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      You claim that Entry No. 7 “corresponds exactly” with Entry No. 1 on the 2006 Bulson
log. Not true. Entry No. 1 on the 2006 Bulson log lists a July 18, 1997, letter from “Atty
Himanshu Amin” to “Michael Siegel,” withheld on the ground of “Atty/Client”—no assertion of
a “Common Interest Privilege”:




         Indeed, it is obvious from a cursory examination of the two logs that Entry No. 1 on the
2006 Bulson log “corresponds exactly” with Entry No. 6 on the 2011 Bulson log, which DC did
not identify as being one of the over 224 documents defendants did not log in 2006. Entry No. 6
lists a July 18, 1997, letter form “Atty Himanshu Amin” to “Michael Siegel,” withheld on the
ground of “Attorney/Client”:




        Defendants also claim that Entry No. 7 on the 2011 Bulson log corresponds with Entry
No. 43 on the Siegel’s December 2010 logs. Not only is this irrelevant—since DC challenges
defendants’ failure to list the over 224 documents in 2006—it is false. Entry No. 43 on the 2010
Siegel log lists a July 18, 1997, letter from “Atty Himanshu Amin” to “Michael Siegel” withheld
on the ground of “Atty/Client”—again, no assertion of a “Common Interest Privilege” as in
Entry No. 7 on the 2011 Bulson log1:




        What is clear is that before sending defendants’ August 27 letter, defendants did not
bother to examine or “match up” the 2011 Bulson log to prior logs.

        2. DC requested that defendants specifically identify which of the 224 documents fall
into the two categories listed in DC’s August 16 letter in order to assess defendants’ claims of
why certain documents weren’t logged in 2006. Defendants’ refusal to provide this information
does not comply with their meet-and-confer obligations. As to your claim that DC conflates the
2011 Bulson Log with the “Master List,” your December 14, 2011, letter disproves this.
Defendants wrote on December 14, “[A]s also set forth in my November 29, 2011 letter, many of

    1
      DC notes that Entry No. 43 on the 2010 Siegel log does not have a corresponding entry on
the Siegels’ logs in the Siegel action—meaning the document was not logged by the Siegels in
2006 either. That the Siegels logged Entry No. 43 in 2010, prior to receiving the Renner Otto
electronic archive in Fall 2011, again shows that defendants have been in possession of the
document for years and their failure to list it on their privilege log in 2006 constitutes a waiver of
privilege. See, e.g., Burlington N. & Santa Fe Ry. Co. v. U.S. Dist. Ct., 408 F.3d 1142, 1149-50
(9th Cir. 2005).



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the documents [on the December 7, 2011 privilege log] were logged multiple times to ‘track’
their repeated appearances in the electronic archive.” DC again asks defendants specifically to
identify which documents defendants claim, if any, (1) were logged multiple times to “track”
their repeated appearances in the electronic archive, or (2) were not responsive to DC’s prior
requests in the Siegel case.

       3. Defendants’ accusations that DC sought to obtain an improper advantage by not
addressing these 224 documents in its prior motion is without basis and wrong. Defendants
cannot dictate the timing or substance of DC’s motions.

       4. DC addressed defendants’ meritless arguments concerning their failure to log
documents in 2006 in opposing defendants motion for reconsideration of Judge wright’s July 16,
2012, order. See Docket No. 477.

       Absent a change in position by defendants, DC will file its motion. All of DC’s rights are
reserved.

                                                Very truly yours,

                                                /s/ Jason H. Tokoro

                                                Jason H. Tokoro
                                                for O’MELVENY & MYERS LLP

cc:     Daniel M Petrocelli, Esq.
        Matthew T. Kline, Esq.
        Defense Counsel




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PABLO D. ARREDONDO*
DAVID HARRIS                                                                                                    FACSIMILE
                                                                                                             (310) 246-3101
* Also admitted in New York
                                                                                                         kgadams@ipwla.com


            September 7, 2012

            Via E-Mail

            Jason Tokoro
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Dear Jason:

            I write in response to your August 28, 2012 letter, and to follow-up on Mr. Kline’s August 16,
            2012 letter and my August 27, 2012 letter. DC appears to stand by its erroneous position that
            defendants have waived privilege over “224 documents” listed in the 2011 privilege log
            corresponding to documents in the Renner Otto electronic archive.

            Those “224 documents” fall into two basic categories.

            The first category is documents that were in the Renner Otto electronic archive, sent to
            defendants in 2011, that were not in the paper files sent to this firm from the Estate of Michael
            Siegel in 2006 and were not otherwise in defendants’ possession until receipt of the electronic
            archive in 2011. These documents were indeed “new,” and therefore logged for the first time in
            the 2011 privilege log.

            The second category is documents that were previously logged, but which DC pretends are
            “new”/first logged in 2011, based on some erroneous interpretation of defendants’ prior logs. As
            I stated in my August 27 letter, it is obvious that DC did not bother to properly examine or
            “match up” the 2011 electronic archive logs to prior logs, e.g., the 2010 log and subsequent logs
            provided by Laura Siegel Larson in this litigation, or the 2006 logs provided by Ms. Larson and
            third parties in the related Siegel litigation.

            There are numerous entries that DC claimed did not “match up” that are identical in every
            respect, making it obvious that DC did not appropriately cross-check its erroneous list of
            purportedly “new” documents. For example:




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TOBEROFF & ASSOCIATES, P.C.

September 7, 2012
Re:   DC Comics v. Pacific Pictures Corp.
Page: 2 of 2

2011 Bulson Log      2010 Siegel Log     2006 Bulson Log                   Description
   Entry No.           Entry No.            Entry No.
      106                  139                 40             9/9/1999 Letter from Arthur Levine
                                                                    to Don Bulson (A/C, CIP)
       265                  341                 167            7/26/2000 E-mail from Don Bulson
                                                                     to Michael Siegel (A/C)
       321                  510                 218              7/31/2001 Letter from Michael
                                                                   Siegel to Don Bulson (A/C)
       352                  574                 245           2/7/2002 E-mail from Don Bulson to
                                                                       Michael Siegel (A/C)

These examples are just that – examples. Defendants are under no obligation to go through and
unravel every entry erroneously listed by DC, as you demand.

It seems likely that whoever reviewed the entries and generated the list of “224” documents did
not realize that: (a) in the 2006 logs, the recipients of documents were listed first, while the
authors of documents were listed second; and (b) in the 2010 logs and subsequent logs, the
authors of documents were listed first, and the recipients were listed second.

Also within this second category are 2011 log entries that DC complains are “new,” but which
correspond to documents that were, in fact, previously logged with trivial, non-substantial
differences, as set forth in great detail in our November 29, 2011 and December 14, 2011 letters.
For example, DC cites defendants’ listing of “common interest privilege” in addition to
“attorney/client privilege,” although this is consistent with Ninth Circuit law and Magistrate
Judge Zarefsky’s rulings in this case. See Docket No. 378 at 2 (“[T]he circuit ‘has long
recognized that the joint defense privilege is ‘an extension of the attorney-client privilege.’’”).

As set forth in our prior letters on this subject, DC’s “waiver” claim is without merit.

Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.

Very truly yours,


Keith Adams




                                          EXHIBIT 17
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               EXHIBIT 18
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10110 Santa Monica Blvd., Suite 1725
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                  Re:     DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

Dear Counsel:

        We are in receipt of your letter of September 7, 2012, concerning the over 224 documents
defendants failed to claim privilege over in October 2006, when defendants submitted their first
privilege log for Don Bulson. We disagree with every aspect of it, including your refusal to meet
and confer with DC. Absent a change in position by defendants, DC will file its motion and
inform the Court of your choice not to comply with Rule 37.

           All of DC’s rights are reserved.

                                                         Very truly yours,

                                                         /s/ Jason H. Tokoro

                                                         Jason H. Tokoro
                                                         for O’MELVENY & MYERS LLP

cc:        Daniel M Petrocelli, Esq.
           Matthew T. Kline, Esq.
           Defense Counsel




                                               EXHIBIT 18
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